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!.


          Ryan Dillon-Capps
          From:                Ryan Wagner
          Sent:                Thursday, January 4, 2024 12:24 PM
          To:                  Rich Hartman; Glenn Norris; Justin Drummond
          Cc:                  hbutler@milesstockbridge.com
          Subject:             FMLA Notice for Mental Health


          Subject: FMLA Notice for Mental Health

          Dear HR,

         I am writing to inform you that I will be taking leave under the Family and Medical Leave Act (FMLA) for mental
         health reasons.

         This letter is a follow-up to my email on 21 December 2023, in which I informed Glenn Norris, Justin
          Drummond, and Rich Hartman that I needed to take some time off. I asked for time off to recover, I asked for
         help, and I asked for some reprieve because the hostile work environment, excessive hours, and the
         investigation were negatively affecting me physically, emotionally, and mentally. This has not happened , and I
         have been experiencing daily panic attacks that sometimes last hours, severe anxiety, and every part of my life
         has been negatively affected.
         I am re-requesting a thorough investigation into several unusual and concerning discoveries that appear to
         contain accounting irregularities, libel, and fraud. I request that the investigation into the allegations of a hostile
         work environment resume immediately. I also ask that appropriate actions be taken against those responsible
         in accordance with company policies and applicable laws.

         I find it deeply troubling that HR has denied any knowledge of my previous reports nor any knowledge of formal
         reprimands against those responsible for creating a hostile work environment. This contradicts meetings with
         the CEO, myself, and these individuals where they were reprimanded and instructed to stop, and contradicts
         what I was told by the CFO when I asked if the CEO knew about the incidents that occurred after those
         meetings. The CFO said that the CEO had formally reprimanded the COO in 2023. According to the email that
         the CFO inadvertently showed me during a shared screen video call, the head of HR immediately notified the
         COO and CMO that I had filed a formal complaint against them.

         After reporting the missing invoices and payments to Onsite Solutions, we notified them, and they immediately
         submitted hundreds of thousands of dollars worth of invoices. However, I would like to know if these invoices
         can account for the discrepancy extending further back than the last several months. My requests for additional
         team members have been denied every time despite providing detailed information about my team's workload
         being too high and how I was already working excessive hours to prevent my team from experiencing the
         entirety of the excess. After reporting the accounting irregularities and subsequent suspicious emails that
         appeared to contain libel and fraud, my workload began to increase dramatically, the frequency of our
         meetings increased, and the deadlines for these requests decreased to the point that I was being asked to
         provide complete analyses by the next meeting, which was sometimes the next day.

         When the investigation began, I pleaded for us to bring in a digital forensic expert to take over because it
         overlapped the hostile work environment. I was forced to read the emails and conversations of those
         responsible for the hostile work environment between themselves and others. Communications explained why
         I had encountered so much hostility and disdain from people I never or rarely interacted with and why it was
         considered acceptable for a person to start yelling at me randomly. It explained how my interaction with the
         accounts payable manager, to which I was asking her questions about what she needed and wanted, resulted
         in another member of the accounts payable team yelling at me to "just get her what she wants." Since being
         yelled at without cause had become normalized, I responded, "That is the plan and why I am asking her
         questions." It explains all of those things and more because those responsible for the hostile work environment

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    • were engaging in a campaign to turn others against me and portray me as a monster who goes out of their way
      to make the lives of others difficult. As anyone who has spent significant time with me can tell you. this is the
      polar opposite of who I am.

     You do not need me to be involved; I do not need to be forced to relive these events. Shannon Anderson made
     the complaint in August of 2021 and is available to speak to. The emails and communications provide more
     than enough information on everything I have already mentioned and so much more.

    I appreciate your understanding and support during this time. I will contact you as soon as I have more
    information about my return date.

    Thank you,
    Ryan Wagner


    This message may include text created with the help of natural language processing.




     ■ Book time to meet with me

       Ryan Wagner
       Vice President of IT
       Ohana Growth Partners, LLC
                                 office 410-252-8058 xl09
                                 212 W. Padonia Rd
      OH&.NA
        G ro wt h PDr tner&
                                 Timon1um, MD 21093


                                 www .planetfitness.com


       "Culture eats strategy for breakfast"




                                                                            2/ 2



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                                       Megan Robison, LCSWC LLC
                                                   Mental Health Therapist



                                                                                                        January 31 , 2024




               Dear Mr. Hartman,



               I am writing in response to your questions regarding Ryan Wagner's FMLA documentation.

              Ryan has been and will continue meeting with me twice a week. on Monday and Tuesday during
            business hours. He has reported symptoms prior to and after appointments, lasting multiple hours,
            which impact his ability to complete work rerated tasks. He does have the ability to request urgent
            appointmimts in response to severe flare-ups, however these are not currently scheduled.
              The intermittent FMLA teave is specifically for flare-ups as described. Ryan does not require a
            consistently reduced work schedule each week. His work capacity is directly affected by these
            episodic flare-ups, during which he is unabfe to work.
              Due to the nature of Ryan's condition, working in a tradittonal office environment is very challenging.
            Accommodations such as the ability to work from home and flexible working hours are essential for
            Ryan to perform his job functions effectively. His condition severely limits his ability to commute to
            and function in a traditional office setting. Currently his symptoms severely limit his ability to work in
            the office, however his goal is to return to the office. Additionally, Flexible working hours allow Ryan to
            attend appointments, manage symptoms and continue to complete work when able.
            Please contact me with any additional questions or concerns.
           Thank you,




           Megan Robison, LCSW-C
           MD License # 24852




     5105 Thomas Avenue, Baltimore, MD 21236                 I 443-814-9411         meganrobisonlcswc@gmail.com
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       November. 23, .2013

       To whom it mayconcem~

        Tfus ls to Pro~lde documentation about Mr Ryan Wagner's medtu1 cond,tlon Mr;
        Wagner ts a patient uoder my care who J have dtagnosed with Posttraumatlc
        Stress Disorder and Pante o,sorder Wttb Agoraphobia; meotat impa,rments thit
        substaritl arty limit ttle following ma1or ltfe aet,v,ties as compared to mo~t people
        in the ge.neral_popolaUon, coocentratmg \nteracting with others, ma ntain,ng
        social celation_ships, sleep1ng, eatmg. and the operatioo of the digestu,e system
        and bowet Mr. Wagner has' been under my medical care smce May 2013, during
        which time he was evaluated and started oo treatment He receives both
        psychotherapy and"'medtcatfon management treatment Mr Wa~ner's- mental
        impairments are perm~ment~Physical .symptoms of h,s mental impaume.nts,
        including sleep and appetit~ dtsturbances are ep1sothc and recurnng, they impair
        hlS major Ille actlVlties when they are act,ve Mr . Wagner has, In the last fev1
       weeks, ex~nenced an ancrea~e m active symptoms, resultmg m Ryan r-equmng
       .add1t1onaf treatment sessrons and emecgency med,caJ care

       Gwen the nature of his mental unpairment>s.,Mr. Wagner needs reasonable·
      .accommodation emdei the ADA or t he ~ehab1htaUon Act of 1990 and•
       subsequent 2008 amendment . Spe tficaHy, Mr Wagner requires.) fle.<1ble work
       schedule that permits him to attend regularly scheduled treatment sess,ons and
       emergency treatment sessions, and permits h1rn to perform \"1ork from home
       when he experiences symptoms of hls mrntat ,mpa1rmeots

      Should you need additional it1formatmn or que.$ttons, I may be contacted as
      indicated on this letter-header either by telephone or ematl




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    Notice of Eligibility & Rights and Responsibilities
    under the Family and Medical Leave Act
                                                                                             U.S. Departme nt of Labor
                                                                                             Wage .ind Hour Division                                  awHa
                                                                                                                                                      WAGE /INDHOUR DIVISION
    DO NOT SEND TO THE DEPARTMENT OF LABOR.                                                                                               ()7\11 1 t'<11 \l ml ,umber 1}1'.0110,
    PROVIDE TO EMPLOYEE.                                                                                           1-:,,pin:s: (1, .10 2023
    In general, to be eligible to take leave under the Family and Medical Leave Act (FMLA), an employee must ha,·c worked
    for an employer for at least 12 months. meet the hours of service requirement in the 12 months preceding rhc lc::l\ c. ;ind
    work at a site with at lc;ist 50 employees within 75 miles. While use of this form is optional. :1 fu lly completed Form WH-
    38 1 provides employees with the information required by 29 C. F.R. ~~ 82:'i.300(b), (c) which must be pro,·ided "'ithin five
    business days of the employee notifying the employer of the need for FMLA lcm·c. Information about the FM LA may be
    found on the WHO website at www.dol.12ov/agcneics/whd/fmla.
    Date :       0 1   /   0 8 / 2 4




    From: Karen Debus                                                  rJ,mpl<Jl'.,rJ To: Ryan Wagner


    On     I04124
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                               fm1111cld/ 1-y1:1·1, we learned that you need lca,·c rhc~i1111i11.~ 0111     1           4

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    for one of the following reasons: (Selec1 as appmprialc>J

    D The birth of a child, or placement of a child with you for adoption or foster care, and to bond with the newborn or
         newly-placed child
    ■    Your own serious health condition
    D You arc needed to care for your family member due to a serious health condition . Your famil y membe r is your:
                   D Spouse                     □ Parcm             D Child under age IX     □ Child 18 years or ol der and incapable of self-
                                                                                               care because ofa mental or physical disability
    D A qualify ing exigency arising out of the fact that your family member is on covered acti ve duty or has been notified t)f
      an impending call or order to covered acti,·c duty status. Your family member on CO\crcd acri, c clut:-,• is :-,,our:
                   □ Spouse                     D Parcnr            □ Child of any age

    □ You arc needed to care for your fami ly member who is a covered serviccmcmbcr w lfh a serious rnjury or ill ness. You
        arc the serviccmembcr's:
                  □ Spouse                      □ Parent            □ Child                  □ Next of kin

    Spouse means a husband or wife as delincd or recogni1.ed in 1he state where the individual was lllarried. including. in a common la\\'
    marriage or same-sex marriage. The tenns ""child" and ··parent"" include in loco pare111is relationships in ,,hich a person assumes the
    obligations ofa parem to a child. An employee may take FMLA leave to care for an indi vidual who assun1ecl 1hc oblig:11ions ora parent
    to the employee when the employee was a child. An employee lllay also take FMLA lca\C to care for ;1 d1ild for" '10 111 the cn1ployce
    has assumed the obligations of a parent. No lega.l or biological relationship is necessary.

                                                   SECTION r - NOTICE OF ELIGrBILITY
    This :'loiotice is to inform you that you are:

    ■   Eligible for FM LA leave. (See Section IIfor any Additirma/ /11(nr111a1ion Neer/(•d and Seuioil I1/Jor 111/or1111i1tu11 011 1·1111r ll ights
        and Respr111si hilifies.J
    D   Not eligible for FMLA leave because: ( 0 11~1- one renson need he clwckcr!J
                  □ You have not met the FMLA 's 12-month length of sen·icc rcquircmenr. As of the ti rst date of requested lca\C.
                            you will have worked approximately: _ _ ___ towards this rcquiremenr.
                                                                       (lll(l/1(/,S/


                  D You have not met the FMLA 's 1,250 hours of service requirement. As of the first dare of req uested leave. you
                            will ha,·c worked approximately: _ _ _ _ _ _ _ towards ch is requircmcnr.
                                                    ('10111:r ofsen·ice/



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  • Employee Name: _R_y_a_n_W_a_g_n_e_r_________________________ _ ________

              D You arc an airline flight crew employee and you have not mcc the special hours of sen ice cligibilic y n.:q uircmcncs
                for airline flight crew employees as of the first date of requested leave (i.e .. worked or been paid for :11 least 60'½,
                of your applicable monthly guarantee. and worked or been paid for at least 504 ducy hours. )

              □ You do not work at and/or rcpon to a site with 50 or more employees within 75-m ilcs as of the date of your
                  request.

     If you have any questions, please contact: Karen Debus/410-252-8058 x1 17
     at karen .debus@ohanagp.com/212 W. Padonia Rd., Timonium, MD 21093                                                                               i( 0(Jll{lll'I lll/<ll'/11<1{/tJ //J .



                                         SECTION II- ADDITIONAL fNFORl\'IATION NEEDED
    As explained in Section I, you meet the eligibility requirements for taking FM LA leave. Plc:isc re\ ic\, the information
    below 10 determine if additional information is needed in order for us 10 dctem1ine whether your absence qua Ii fies as FM I .A
    leave. Once we obtain any additional infom1ation speci fied below we will inform you. within 5 business days, whcchcr
    your leave will be designated as FMLA leave and count towards the FMLA leave you ha\C :i\·ailablc. If complete and
    sufficient information is not provided in a timely manner, your leave may be denied.
    (Se/eel as appropriale)

     D No additional infom1ation requested. lfno addi tional information requested. go to Section Ill.

    IZl We request that the leave be supported by a certification, as identified below .
         lil Health Care Provider for the Employee                                 Cl Health Care Provider for the Employcc·s Family Member
         ID Qualifying Exigency                                                    [] Serious Illness or Injury (.llilitan- ( ,1rc·ghcr l.c,m•1
         Selected certification form is l!I attached I [] not attached.

        If requested, medical certification must be returned by _0_1_1_2_0_l2_4_ _ __ _ _ _ 011111 dd _1:i:1:i·, r.\/11s1111/0\\' ,,, lcasr 15
        cole/1(/or rla_,:,.fro111 t/11? r/01,, rhe employer requested rlie employee 10 pmntle Cl'rt1/icatum. 1111/es,· 11 " llfll /em ·1hl,• t!c.,pllc' the e111plm·,·,· \
        diliKe111. p,udjaif/, e[fi,rr.,.)

    D We request that you provide reasonable documentation or a statement to esta blish the relationship between you and
        your famil y member. including in loco paremi.,· relationships (as explained on page one ). The in fo rmatio n rcqucsccd
        must be returned to us by _ _ ______ __ (1111111,/d:1:1~Y/. You may choose to provide a simple st~11e111cn t or chc
        relationship or provide documentation such as a child's birth certificate. a court document. or documcncs regardi ng
        foster care or adoption-related acti vities. Official documents submiHcd for this purpose will be returned to you :iftcr
        examination.

    D Other information needed (e.g. documenuuion f or militw :v f amily leave): _______________
        The infom1ation requested must be returned to us by ______ _ _ _ _ rmm ddT1Ty) .

    If you have an y questions. please contact: Karen Debus/41 0-2 52- 80 58 x117                                                     r.\ c1111" •l em1,1,11·cr ,.,.,,,.,,.,·cm,,111·e,
    at karen.debus@ohanagp.com/212 W. Padonia Rd. , Timonium, MD 21093                                                                                   ,c,,,,,.,c, ,,,    10
                                                                                                                                                                              ,.,,"' ",,,'·
                                                                                                                                                                                    1



                                 SECTION ill - NOT[CE OF RfGHTS AND RESPONSIBILITIES
    Part A: FMLA Leave Entitlement

    You have a right under the FMLA to take unpaid, _job-protectcd FMLA lea ve in a 12-mo nth period for cenain famil y and
    medical reasons, including up to 12 weeks of unpaid lca\·e in a 12-month period for the birth of a child or placement of a
    child for adoption or foster care, for leave related to your own or a famil y mcmber·s serious health condition. or for certain
    qualifying exigencies related to the deployment ofa military member to covered active duty. You also ha\ e a right

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  • Employee Name: _R_y_a_n_W_a_g_n_e_r__________________________________

    under the FMLA co take up to 26 weeks of unpaid, job-protected FMLA leave in a single I2-month period to c::ire for ::i
    covered serviccmcmbcr w ith a serious injury or illness (lvliliw,~v ( ·arep,ii'er l.ecn-e).
     The 12-month period for FMLA leave is calculated as: (.\'elect as appmpriateJ

            D    The calendar year (January I '' - December 3 1'')
            □    A fixed leave year based on _______________________ ______
                                              (e.g.. u.fiscal year bcgi1111111g m1./11ly I a11d e11J i11g , 111 .Jm1c iOJ
            ■    The 12-month period measured forward from the date of your first FM LA lc:l\ c usage.

            D    A ·' rolling" 12-month period measured backward from the date of any ft'vl LA le:1\ c usage. rl:ac/1 time a11 e11111!0_1·e,·
                 rakes Fl'vl/,,t !em,e. rhe remaining lean• is //,(' holance of rlw I ] 1reeks fl()f 11sc'd durilll_! the I l
                                                                                                          1110111//.- 1111111<•d1a1<•~1· h,•for, •
                 f/,e FMI.A learn is ro starr.J

    If applicable, the single 12-month period for Militmy ( ·aregiver I.eave started on _______ ____ r,11111 def 11:1:1'/.

    Ynu (II are I □ are not) co11sit!eret! a key employee as defined under the FMLA. Your FMLA lc::i\·c c::innot be denied for
    this reason; however, we may not restore you to employment following FMLr\ leave if such rcstor::ition w ill c::iusc
    substantial and gri evous economic injury to us.
    We (□ have / ■ have not) determined that restoring you to employment at t.hc concl usion of FM L A lc::i\c \\, ill c::iusc
    substantial and grievous economic harm to us. Additional inform::ition will be prO\ idcd scp::11:itcl y concerning your st::irus
    as key employee and restoration.



    Part B: Substitution of Paid Leave - When Paid Leave is Used at the Same Time as FM LA Leave
    You have a ri ght under the FMLA to request that your accrued paid lca\C be substitmed for your F:vl l r\ ICa\·c. This means
    that you can request that your accrued paid leave run concurrently with some or all of your unpaid FM LA lc::i\ e. pro, idcd
    you meet an y applicable requirements of our leave pol icy. Concurrent leave use means the ::ibsencc w ill coun[ against bo[h
    the designated paid leave and unpaid FMLA leave at the same time. If you do not meet the requirements for taking paid
    leave, you remain entitled to take available unpaid FMLA lea ve in the appl icable I 2-month period. EH:n if yo u do not
    request it. the FMLA allows us to require you to use your avai lable sick. vacation. or other paid lca,c during your FMLA
    absence.
    (Check a!/ that app~\'J

    ■ Some or all of your FMLA leave will not be paid. Any unpaid FMLA lca\·e taken wi ll be designated as !-'Ml.A
      leave and counted against the an1ount of FMLA leave you have available 10 use in the appl icable I 2-month peri od.
    D You have requested to use some or all of your available paid leave (<'.g .. .,·,ck. 1·ac,1fl()11. /'!01 during your FMLA
         leave. Any paid leave taken for th is reason will also be designated as FMLA le::ive ::ind counted ::igainst the ::imount of
         FMLA leave you have available to use in the applicable 12-month period.
    ■ We are requiring you to use some or all of your available paid leave rc.g .. sick. 1·arnflm1. / 1 /0J during your FML.-\
      leave. A ny paid leave taken for this reason wi ll also be designated as FM LA leave and counted against the amount of
      FM L A leave you have available to use in the applicab le I2-month period.

    D Other: (e.g.. shorl- or l011f!_-tem1disability. 11·orkers • co111pe11.1•afion. state 111ed1cal /,...m·e !a11. erc. 1
        An y time taken for this reason w ill also be designated as FMLA leave and counted agai nst th e amount of
        FMLA leave you have available to use in the applicable 12-month period.
    The applicabl e conditions for use of paid leave include: _ _ ______ __ _______________

    For more information about conditions applicable to sick/vacation/other paid lca\·e usage plc::ise refer to _ _ _ _ __
    Employee Handbook                                                 available at: Paycom Employee Self Service Portal




    Pagc ) of4                                                                                                       Form \VH -3:-; I . Revised June 2020


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   • Employee Name: _R
                     _y_a_n_W_a_g_n_e_r ____________ _ _ __ __ _ _____________

     Part C: Maintain Health Benefits
     Your health benefits must be maintained during any period of FMLA leave under the same co nditions as if you continued
     to w ork. During any paid portion of FMLA leave, your share of any premiums will be p:iicl by the method norm:illy used
     during any paid leave. During any unpaid portion of FM LA leave. you must colllinuc to make an! norm:11 rnntributions to
     the cost of the health insurance premiums. To make arrangements to continue co make your share of the pn::mium paymcncs
     on your health insurance while you arc on any unpaid FMLA leave, concacc Karen Oebus/410-252-8058                       :it
     karen.debus@ohanagp.com                                                                             -                                -   -

     You have a minimum grace period of(■ 30-days or O                            indicate lon,!!,er 11e nod. 1{ap1il1 ·ah/e) in which to
     make premium payments. If payment is not made cimcly, your group hcalch insurance may be canccllccl, prO\ idcd we not ify
     you in writing at leas t 15 days before the date that your health coverage w ill lapse. or, at our option, we may pay your share
     of the premiums during FMLA leave, and recover these payments from you upon your return co worl-...

     You may be required to reimburse us for o ur share of health insurance premiums paid on your bd1al f during your F:Vt LA
     lea ve if you do not return to work following unpaid FMLA leave for a reason other than: the conti nuation. recurrence. or
     onset of your or your family member's serious health condition which would entitle you to FMLA leave: or the conti nuation.
     recurrence, or onset of a covered scrviccmcmbcr' s serious injury or illness which wou ld entitle you to Ftvl LA lea,·c: or
     other circumstances beyond your control.


    Part D: Other Emplovee Benefits
    Upon your return from FMLA leave, your other employee benefits. such as pensions or life insurance. muse be resumed in
    the same manner and at the same levels as provided when your FM LA leave began. To make arrangcmencs ro continue
    your employee benefits w hile you arc on FMLA leave, colllacc _K_a_r_e_n_D_e_b_u_s_________________
    ac karen.debus@ohanagp.com


     Part E: Return-to-Work Requirements
    You must be reinstated to the same or an equi valent job with the same pay, benefits. and terms and condi cions of employ ment
    on your return from FMLA-protcctcd leave. An equivalcnc position is one rhat is vircuall y idcmical co your former position
    in terms of pay , benefits, and working conditions. At the end of your FMLA leave. all benefics must also be resumed in the
    same manner and at the same level provided w hen che leave began. You do noc have return-co-work righcs under chc F!'vlLA
    if you need leave beyond chc amount of FMLA leave you have avai lable !O use.


    Part F: Other Requirements While on FMLA Leave

    While on leave you ( ■ wi ll be / □ will not be) required to furn ish us wi th periodic rcporcs or your scacus and intellt 10
    return to work every _m
                          _o_n_th__________________________ __________
                                          (Indicate illferva/ c1fperiodic r eports, as appropriate fur the F.\J/_./ lem·c .1111w11n111.

             If the circumstances of your leave change and you are able to return to work earlier than expected.
            you will be required to notify us at least two workdays prior to the date you intend to report for worlc


                        PAPERWORK REDUCTION .-\CT NOTICE .-\ND PUBLIC BLRDE\ STATEME~T
    II is manda!ory for employers to provide employees with notice of their eligibility for F:'vlLA pro1cctio11 and their righ15 and
    responsibilities. 29 U.S.C. § 261 7: 29 C.F. R. § 825.~00(b), (c). II is mandatory for employers 10 retain a copy oft hi~ dis<.:losure in 11ieir
    records for three years. 29 U.S.C. § 26 16: 29 C.F.R. § <'25.500. Persons are not requin:d to respond 10 thi s collection or i11lonna1io11
    unless ii displays a eurre111ly valid 0MB conLiol number. The Deparune111 of Labor csumates that i1 1,ill 1al-.c ;111 a1crag.c or IO 111i11111c~
    for respondents to complete this collection of information. including the time for reviewing instructions. searching C.\iSting. data sources.
    gathering and maintaining the data needed. and complc!ing ,md reviewing. the collection of i11forma1ion . I f you ha1·e any commc111s
    regarding chis burden estimate or any other aspect of thi s collection information. including suggcs1ions for reducing this burden. send
    1hcm to the Administracor. Wage and Hour Division. U.S. Department of Labor. Room S-:-502. 200 Constitution A,cnuc. 1'.\\·..
    Washington, D.C. 202 10.

     DO NOT SEND THE COMPLETED FORM TO THE DEPART\IENT OF L.-\BOR. HIPLOYEE l:'liFORi\lATIO\".

    Page 4 of 4                                                                                                 Form \VH-3~ I . Rc,·isecl June 2020


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      Certification of Health Care Provider for                                            U.S. Department of Lauor
      Employee's Serious Health Condition                                                  Wage and Hour Division
      under the Family and Medical Leave Act
      DO NOT SEND COMPLETED FORM TO TIIE DEPA.RTl\lf.NT OF LABOR.                                                                    <t\tB< on1r11f \l umlx:; l ~t .,,,,
      IU.1 URN TO THE PATIENT.                                                                                                                       I , p 1rc~.   f   ,, :   -~;


      The Family and Medical Leave Act (FMLA) provides tftat an employer may requ ire an employee c;ccking FM LA rro11:cl1un,
      because of a need for leave due to a serious health condition to submit a medical certification issued by !ht: t:mrlii)..:t:·..,
      health care provider. 29 U.S.C. §§ 2613, 261 4(c)(3); 29 C.F.R. § 825.305. The employer must give the emrloycc at lcac;t
      15 calendar days to provide the certification. If the employee fails to provide complete and s utTicicnt medical ct:rti fi c..11ion.
      his or her FMLA leave request may be denied. 29 C.F.R. § 825.3 13. lnfonnation about lhe FMLA may bt: fou nd •~
      WI-ID website at ,, ww.do l.!!ov/agcncicsfo hd/fml a.

                                                                SECTION I - EMPLOYER
      Either the employee or the employer may complete Section I. While use of this form is optional. this fom1 asks the hea lth
      care provider for the infonnation necessary for a complete and sufficient med ical certification, which is sci out al ~9 C. F.R.
      § 825.306. You may not ask the employee to provide more information than allowed under the FMLA regulation!>,
      29 C.F.R. §§ 825.306-825.308. Additionally, you mav not request a certification for FMLJ\ leave to bond ,, ith a health)
      newborn child or a child placed for adoption or foster care.

      Employers must generally maintain records and documents relating to medical information, medical certification s.
      recertifications, or medical histories of employees created fo r FMLA purposes as confidential medical records in sepnra1...-
      files/records from the usual personnel files and in accordance with 29 C.F. R. § I630. I4(c)( I). if the Americans \\ ith
      Disabilities Act applies. and in accordance with 29 C.F.R. § 1635.9, if the Genetic In formation Nondiscrimination Act
      applies.

      (I) Employee name: --''-----:F1-
                          Ryan Wagner·rs""'t'---------Ml-1-dd_l_
                                                               e _ _ _ __ __ La
                                                                             _ st_ __ _ __ _ _ _ _ __ _


      (2) Employer name: Ohana Growth Partners                                                                  Date: 01/08/24                         rmm dd_1·y ;JJ
                                                                                                                   (Li.rt date cem ficatiun rcqu~s1t1d1

      (3) The medical certification must be returned by 01/24/24                                                                                    rmm dJ. _1n :11
               (Must allow at least 15 calertdar daysftonr the dare req·ucsred, wrless il is norfeosible despite the employee ·s diligt.•m. good f a11h effim .r J

      (4) Employee' s job title: Vice President of Informatio n Technology               lob description (El is I □ is no1 1 anachcJ.
          Employee' s regular work schedule: _4_0_+_h_o_u_r_s__,p,...e_r_w_e_e_
                                                                             k _ _ _ __ __ __ __ __ _ __ _ _ _ __
          Statement of the employee' s essential job functions: Work w/e xecutive le adership to de ve lo p and maintain IT
          roadmap and oversee day-to-day operations.
              (The essentialji111ctio11s ofthe employee's positio11 are detem1i11ed willi ~ference to the pcsi11011 the employee held at ,1,., 11me the ,•rnployc,·
                                            notified the employer ofthe need for feaw1 or tire leave startc,l whiche,w is earlier.)


                                                  SECTION II - HEALTH CARE PROVIDER
      Please provide your contact information, complete all relevant parts of this Section, and sign the fo nn. Your rnticn t has
      requested leave under the FMLA. The FMLA allows an employer to require that the employee submit o timely. compkl~.
      and sufficient medical certification to s upport a request for FMLA leave due to the serious health condition oJ'thc ~mploy,.-e.
      For FMLA purposes, a ...serious health condition" mea:ns an illness, injury. impaim1ent. or phys ical or mental condit ion tlw1
      involves inpatient care or continuing treatment by a health care provider. For more infom1ation about the dcli11itinn-, of a
      serious health condition under the FMLA, see the chart on page 4.
      You may. but arc not required to, provide other appropriate medical facts including symptoms. diagnos is. or a11~ regimen
      of continuing treatment such as the use of specialized equipment. Please note that some state or local laws may 1101 nll l\\\
      disclosure of private medical information about the patient's serious health condition. s uch as providing the dingnosis nnd 'or
      course of treatment.




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                                                                                                                                                                                    zsa"
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Employee Name: _R_.y:....a_n_W_a_,g"-n_e_r__________ ____ _ _________________

Health Care Provider's name: (Print) Megan Robison, LCSW-C

Health Care Provider's business address: 1045 Taylor Ave, Surte 21 1, Towson , MD 21286

Type of practice/ Medical specialty: _M
                                      _e_n_t_a_lH_e_al_th_T_h_
                                                             er_a_,_p.:..
                                                                      y_ __ _ __ _____ _ ______ _
Telephone:~ 814-9411                    Fax: (__) _ _ _ __ _ E-mail: meganrobisonlcswc@gma il.com

PART A: Medical Information
Limit your response to the medical condition(s) for which the employee is seeking FMLA leave. Your a n S\\ ers should be
your best estimate based upon your medical knowledge, experience, and examination or the patient. After completing
Part A, complete Part B to provide information about the amount of leave needed. Note: For FMLA purposes.
" incapacity" means the inability to work, attend school, or perform regular daily activities due to the condition. treatment
of the condition, or recovery from the condition. Do not provide information about genetic tesrs, as defined in 29 C.F.R. §
1635.J (f), genetic services, as defined in 29 C.F.R. § 1635.J(e}, or the manifestation ofdisease or disorder in the employee· s
family members, 29 C.F.R. § 1635.J(b).

(I) State the approximate date the condition started or will start: _0_5_/_
                                                                          15_/_1_3_ _ _ _ __ _ _ __ _ _ (mm cid_i )JJ,

(2) Provide your best estimate of how long the condition lasted or will last: _C_h_r_o_n_icJ
                                                                                          _P_e_rm
                                                                                                _ a_n_e_n_t _ _ __ _ _ __

(3) Check the box(es) for the questions below, as applicable. For all box(es) checked, the amount of leave needed must he
    provided in Part B.

        D Inpatient Care: The patient(□ has been / D is expected to be) admitted for an overnight stay in a hospital.
          hospice, or residential medical care facility on the following date(s ): _ _ _ _ _ _ _ __ _ _ __ __

        D Incapacity plus Treatment: (e.g. oufpatfem surgery, strep rl u-aat)
          Due to the condition, the patient (0 has been I □ is expected to be) incapacitated for more 1han three
            consecutive, full calendar days from _ _ _ _ ___ (mmlddo,m,) to _ _ __ __ (m,ndcl,)_1))').

            The patient(□ was I □ will be) seen on the following date(s): _ _ _ __ _ _ _ _ __ __ _ __


            The condition (□ has/ D has not) also resulted in a course of continuing treatment under the supervision of a
            health care provider (e.g. prescriptio11 medicatio11 (other f/ta11 owr-the-couT1ter) or therapy requiring S{J<'cial eq111pme1111

        D Pregnancy: The condition is pregnancy. List the expected delivery dar.e: _ _ __ _ __ 1mm dd_1')~~ 1.

        D Chronic Conditions: (e.g. asthma. migrainelreadaclra) Due to th.e condition, it is medically necessar) for the patient
          to have treatment visits at least twice per year.

        ■ Permanent or Long Term Conditions: (e.g. Abl1eimer    s. cermi11al stages c,fcanC1?rJ Due to the condition. incap:.icit~
            is pennanent or long term and requires the continuing supervision of a health care provider (even if :.icti,·c
            treatment is not being provided).

       ■ Conditions requiring Multiple Treatments: (e,K. cltemotlrerofly tremmems. restorative surger_l'J Due to the condition.
            it is medically necessary for the patient to receive multiple treatments.

       D None of the above: If none of the above condition(s) were checked, (i.e., inpatient care. pregnancy )
         no additional infonnation is needed. Go to page 4 to sign and date the forn1.

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      Employee Name: _R_,y~a_n_ W_a_,g~n_e_r_ _ __ _ _ _ _ __ _ _ _ _ _ _ _ _ __ __ __ __ _ _ __ __
     (4)       If needed, briefly describe other appropriate medical facts related to the co ndition(s) for which the cmpln;, cc ,ccb
               FMLA leave. (e.g .. 11.1e o/nebu/i:er. dialysis) Ryan expenences frequent, intense panic attacks, severe anx1ely and agoraphobia ~hese i:p:srAi:s ~'f:
    particularly triggered by specific workplace stressors, lnducfing dtrecf contact wiln certain colleagues Eptsodes vary m frequency and intensify teadiny to ,ntermllf1;:n·
    incapacitation that prevents him from performing regular daily activities. Ryan Is engaged in psychotherapy, and is being referred for med1ca11on management as pan of h,,
    treatment plan. Due to the unpredictable nature of these episodes, Ryan's ability to work is intermittently impacted, necessitalmg periods of FMLA leave for re(;overy
      PART B: Amount of Leave Needed
      For the medical condition(s) checked in Part A, complete all that apply. Several questions seek a response as 10 rhe frcquenc)
      or duration of a condition, treatment, etc. Your answer should be your best estimate based upon your medical ~nowledge.
      experience, and examination of the patient. Be as specific as you can; terms such as ulifetime,.. '"unknown ... or '"indctcrm inarc ..
      may not be sufficient to detennine FM LA coverage.

      (5)       Due to the condition, the patient (■ had/ ■ will have) planned medical treatmcnt(s) (scheduled medical , is its J
                 le.f.!. psi:c/101/rerapy. prenafal appoimmemsJ on the following date(s l: Twice per week, Mondays and Wednesdays
Ryan has been In ongoil1'g psychotherapy and ustng s!tt!Ss reduclion srrategiss. Oespte tl\ese treatments, fie cwttmes to expata1a: i!jlcodes t!rat ae 011p1Ed1Uatlle dml ~                 1mpairnis
ability lo wOlk. He reports that episodes a"e par1iwlaly exacer1lated by the hosb!e interactions and environment in his \'IOlkj)lace. His symproms allow him to wOllt in a limited capaoty frcro home on
non-<:OnSecutive d~ et ootslcle regvlal"business hoors. Werking fttlmllome b essen!i:!I to mitigate the i m p a c t - o ~ m"Mlta!iol'rlM, to bettei ml!l ,age pa: ,,c elfflo.! Ill d
agoraphobia
      (6)       Due to the condition, the patient (■ was/ D will be) referred to other health care p rovid cr(s) for evaluation or
                treatment(s).

               State the nature of such treatments: (e.g. cardiologist, physical therapy) Medication management/ Psychiatry
                Provide your best estimate of the beginning date 01/16/24                                                                           and end date Ongoing
                                                                                                                                                                - -=-----=-- -- - -
                                                                                                                           ( m nv   d   dlyyyyJ




               (mmldd/yyyy) for the treatment(s).

                Provide your best estimate of the duration of the treatment(s), including any period(s} of recovery /,· g 3 day, " ce41
                Ryan will continue 2 sessions a week as symptoms persist, with ability to increase if needed.

      (7)      Due to the condition, it is medically necessary for the employee to work a reduced s chedule.

               Provide your best estimate o f the reduced schedule the employee is able to work. From 01/04/24
               (mml   d   to Ongoing
                          dlyyyy)                              the employee is able to work:
                                                                         (mmlddl y y y y)                    10                            ( e. g   ..
                                                                                                                                                                 ---------
                                                                                                                                                         5 1 :a ur   s . d a \ '.   up   : ! 5 h o u rs   a   H e e k1

      As his condilion allows, Ryan may be able lo work fntermillenUy, va,:ying week to wee.'(. Abmty lo work from home 1s essenttal due lo tnggers linked to the hostile work
      environ111e11t 211d Ilis symptoms a1e moie 111a11ageab

     (8)       Due to d1e condition, the patient (D was/ D will be) incapacitated for a continuous period of time. incl uding an)
               time for treatmenl(s) and/or recovery.

               Provide your best estimate of the beginning date                                                                                                 (mm dd,>~·y yJ              and end date
               _ _ _ _ _ _ __ (mmfdd/yyyy) for the period of incapacity.



     (9)       Due to the condition, it(■ was/ ■ is I ■ will be) medically necessary for the employee to be absent from \\ o rk o n
               an intermittent basis (periodically), including for any episodes of incapacity i.e.. epis odic flam-ups. Provide }our
               best estimate of how often (frequency) and how long (duration) the episodes or incapaci ty wil I likely last.

               Over the next 6 months, episodes of incapacity arc estimated to occur _1_-_3_ _ _ __ _ _ _ __ _                                                                                     ti mes per
               (1:1 day/ 1:1 week/ □ month) and are likely to last apprnximatcly 1-2                                                                     (□ hour~ / 0 days ) per episode




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                                                                                                                                           Form \VI 1-J S0-E. Rl·viscd June 2020




                                                                                                                            s                Pa e # 12 of 185                                       Exhibit 101-8
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        Employee Na me: _R_y:...a_n_W_a.::g_n_
                                             e_r____ _ ____ _ _ _ _ ___ __________ ~ - -- _ __

       PART C: Essential ,Job Functions
       If provided, 1.he inf'om1ation in Section I question #4 may be usc<l 1.0 answer this quest.ion. If the cmpk1::, cr r,11 h t11 pr<1, td<· i
       statement of the employee's essential functions or a job description. answer these question!> ba!>ctl upon the e111rl(I: ec ·, , ,\•, 1
       description of the essential job functions. An employee who must be absent from work to receive 111eJical tr\.'.,tlin<.:1111 ,J. .ud
       as scheduled medical visits. for a serious health condition is considered to be 110 1 able to perfom1 the cs'>cnti.il 10 h tunLL111n-.
       of the position during the absence for treatment(s}.

       ( 10) Due to the condition, the employee (D was not able / 0 is not able / 0 "ill not he .ihle J to perform ,,11, ur 111,,,,
             of the essential job function(s). Identify at least one essential job function the cmplo) ec i, not ahk t() rat',,m
   Ryan experiences pamc attacks, anxiety and agOfaphobia which severely limit his ability lo commute to. and function in. a traditional office enV1ronrnent Essenual ,r.r
   functions impacte<I i11cl1Jd~ that 1equhe physical pt esern.s 01the olfw. sud, as i11-pe son meetb19s, 011=s11e collabol anon and 1111med1m fauHo-fau, ruspon9- !)i;r1ng
   episodes or heightened agoraphobia, especially when triggered by olfecl inleradion wi!h spec,fic individuals in the worlcplace wor1ung from home b<.!comes a necess..r1 ?.n:;
   reasonable                                                                                                rondioos. Whether renot(:ly or in !11F01'17CP.~
   interroillen! leave. f
       ::,1gnature o
       Health Care Provider .._...__,_~-1--"-=-=---::._::.-=--"--'- -- - --                              - --       -    Date 01/22/24                          1111111 ,Id _1i-1 ·1 1



            -- --                ..             ,.
                                                                                                                                               -                        -      -
                                ..         Defi~ti.ons of a SeriQos Heallh Condition (See 29 C.F.R. §§ 825.11 J-.115;
                                                                                   Inpatient Care
              •     An overnight stay in a hospital, hospice, or residential medical care facility.
              •     Inpatient care includes any period of incapacity or any subscqucm treatment in connection with the ovcrnig.ht ~t.a~

                                 Continuing Treatment by a Health Care Provider (any one or more of the following)
        lnca pacitv Plus T reatment: A period ofincapaclty of more than three consecutive, full calendar days. and ;my sub~cqucnl 1rc:itmc nt
        o r period of incapacity relating to the same cond ition, that also involves either:
               0   Two or more in-person visits to a health care provider for treatme nt within 30 days of the fi rs! day of incapacll~ uni.:~,,
                   c xtcnualing circumstances exist The first visit must be within seven days of the fi rst day of incapacity: or.
               0   At least one in-pe rson visit to a health care provider for treatme nt within se ven days of the first day of incapacit~. ,, hic h
                   results in a regimen of continuing treatment under the supervision o f the health care provider. r-or c xampk. IIH.: health
                   provider might prescribe a course of prescription medication or therapy requiring special equipment.

        Pregna ncy: Any period o f incapacity due to pregnancy or for prenatal care.

       Chr onic Conditions: Any period o f incapacity due to or treatment for a chronic serious health condition. such as diabet.:~. asthma.
       migraine headaches. A chronic serious health condition is one which requires visits to a health care provider (or nur.,;c super\ iscd h~
       the provider) at least twice a year and recurs over an c.'Cte nded period o f time. A chronic condition may cause epi sodic r:i1hcr than a
       continuing period of incapacity.

       Permanent o r Long-term Conditions: A period of incapacity which is pcnnane nt or tong-term due ro a conditi on fo r \\hich
       trea tment may not be effective, but which requires the continuing supervision o f a hc.ilth care prO\,idcr. such as Al;,.hcimcr·s disea~c
       or the termina l stages of cancer.

       Conditions Requiring M ultiple Treatme nts: Restorative surgery a flc r an acc ident or other injury; or. a condition that \\ Otrld lih.cl)
       result in a period o f incapacity o f more than three consecutive, full calendar days if the pa tient did not receive the treatment.

                                       PAPERWORK REDUCTION ACT NOTICE AND PUBLIC BURDEN STATli\lE:\T
        If submitted. it is mandaiory for cmploy<.-rs to rc1:1in a copy of this disclosure in their rL-cords for thro: ycars. 29 lJ.S C § 2616. 29 l · I· R ~ ll! 5 500 l'cr,,111,
        arc not required to respond to this collcct1on of information unless it displayi; a currently valid O~m control number Ilic lkpartmcn1 ,,C I abor c, 11m:11L'>
        !hat it will lake an a\,:ragc of I5 minutes for rc.-spondcnts to compktc this collection of information. mcludmg the tune fl,r r c \lC\\ 1111; 10:,1, u, 1111n~. , card 1111~
        existing data sources. gatl1cring and rnamtainmg the data needed, and completi11g and rcvicwins lhc colkc11on t>f mfom1a1111n II } llll ha,c nn~ , ,,mmrnh
        regarding this bur<k.'ll estimate or any other asp<.-ct of this collection i11fom1ation. mcluding suru;c:,;ti(lns f<1r rcducmg this burden. ,end t hem l<1 1hc
        Administrator. Wage and Hour Division. U.S. Department of labor. Room S-3502. 200 Consti1utio11 ;\\cnuc, N \\' . \\"nshmgton. D r 1<l'.! to
                       DO NOT SEND COMPLETED FORM TC> T IIE DEPARTMENT OF l,AUOR. RETUR'.'i TO Tll 1-: P.\Tl 1-:'iT.

     Pagc4 of 4                                                                                                                Form WI 1-380-E, Re\ iscd Jun\! 2020




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     Ryan Dillon-Capps
     From:                Ryan Wagner
     Sent:                Friday, May 24, 2024 8:00 AM
     To:                  Karen Debus
     Cc:                  Justin Drummond; Terry Woods; Earl Ihle; C. Victor Brick; Lynne Brick B.S.N. M.A.;
                          Stacey Wittelsberger (ESC}; Glenn Norris; Rich Hartman
     Subject:             Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN
                          BROOKS
     Attachments:         Clarification of Text Message Requested; Re: Clarification of Text Message Requested;
                          Re: FMLA

     Importance:          High




    @Karen Debus I regret to inform yo u that Rich Hartman on Wednes day January ,o•n at 1:46 PM EST said" ... Going
    forwa rd please stop working and com plete the FMLA paperwork."
    Here are two screenshots that contain the full-text message with t his statement and my replies and then his reply
    where he stated the reason was " ... Our policy is to not allow work while on leave"




                                                                              (;MLA does not preclude an employee
                                                                              from any work. It precludes an employee
                                                                              from compelling them to work

                                                                              employer from compelling an employee to


                                                                              FMLA does not preclude an employee
                                                                              from any work. It precludes an employee
                                                                              from compelling tnem to work

                                                                              employer from compelling an employee to


                  FcMLA d:o'es not preelud:e an emptoyee
                  f mm any work. ft precludes an employee                     If the work does not interfere with the
                  from e0mpelling them to WGrk                                reason for the FMLA then I can choose to

                  employer f mm com~elli□g an emglQ¥ee to



                  FML~ does not l'.i)reefude an employee
                  from any work. It preclutles an employee
                  frem ~0mpelling t hem to work

                  emir>toyer f rom c0rnpelling an employee to


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    This is what was emailed to him in response.
     From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
     Sent: Wednesday, January 10, 2024 5:32 P~
     To: Rich Hartman <Rich.Hartman@ohanagp.com>
     Subject: Clarification of Text Message !Requested

     ;f: =:::: • r. ', :-tic,: On 10 January 2024, you sent me the following text message


          When I say preclude I mean our pract ice.
          You are correct in that we cannot require
          you to work but it is not your choice to
          work while on leave. Our policy is to not
          allow work whiie on leave.


     Can you please elaborate on what you are saying?

     For 3 years, I have virtually never had vacation or personal day of leave where Jdid not work, and I have also worke
     him responding or not responding to something because he was on leave was a material part of the conversation.
     they need to text me.

     On Page 30 of the handbook, it shov,;s that we sLlow for full or partial days of absences from FMLA

       Undcr federal and state law. your salary is subjcd lo certain deductions. 11or example. t1nless
       stare law r.:quire~ otheLWis.e. your salary can be ro,luo:cd for die following rea;,ons:

          •   Full-day absences for personal n:-ason.s.
          •   Full-day :ibscne.:s for sickness or disability.
          •   Full-day disciplinary suspensions. for infotclions of our wriucn po licies and proccdur<.~.
          •   family and Medical Leave absem:es {either full- or parua(-day ab,,eaces).
          •   To offaet amountJ. received :is p..1:ymcnt for jury imd witness foes or 1nili1:uy p:iy.
          •   lli.: ft~l or last week o[ cmploym..:nl m th.: ev..:nl you work [cs Lhan ii Cull w.:d:.
          •   Any full work week in which ynu oo not perform ;my work.




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     From page 41 through 51 where it talks about our leave policies the only place that I found to use similar language

       D. No Work While on Leave

       The taking of another job while on fami ly/medical Leave or any other authorized leave of
       absence is grounds for immediate tem1ination, to the extent permitted by law.


     Except this appears to say that we are not allowed to take another job, not that we are prohibited from performing
     that Ohan a would want the head of lT to suddenly become completely unavailable, and one would think that the h
     you are not happy and celebrating me for my flexibility and ,d edication to Ohana.

     Even if there was a written policy that said we are not allowed to work while on leave. for the same reason that ell

     If you want to prohibit me from working, then I need iJ:o understand why snd I will need to know how we are commu

     I do not even know right nowlhowthe 12weeks of FMLAwillultimately be broken up. Howwill people knowwhen I

     I am not authorizing Ohan a to tell people that i am on FMLA leave. With very few exceptions, those who have been



    I have attached that email to aide in transparency. In this email, I reference our handbook and challenge t he cla im the
    company policy is to prevent. Rich responded on the 16th of January; the email is attached. I could continue to break
    down this and many other emails to raise questions and provide transparency. Instead, I will ask you some questions
    that I do not anticipate any answers to.

    From the beginning, I have requested that we utilize 3rd party experts without conflict of interest to inform and advise
    us: (the ones you are aware of)

        1. Digital Forensic Expert for suspicious emails
        2. Attorney practicing the relevant body of law to which the felonies apply
        3. Head of Corporate Security for PCI Compliance

    These steps could have been taken at any point to address my concerns and to provide prot ection that w e performed
    due process.


        •    Have you asked any of your own professional resources about what are the standard practices when con cerns
             like these are raised?

    The FMLA paperwork you originally sent and the updated version you sent both contain 30 days of recertifi cat ion. Since
    then, Rich has stated via email that I can cease completing these monthly and instead do it once every 6 months.

        •    Do you know what FMLA regulation 29 CFR §825.308 states? (see attached email t itled Re: FMLA for more
             information.)

    Holly Buttler is the principal of a well-established and respected law firm .

        •    Is it reasonable to think t hat Holly Buttler would have advised Ohana to complete the form yo u emailed me
             incorrectly?
        •    Who found the first mistake?


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            •   Is it reasonable to think that Holly Buttler would not provide sound legal advice without mitigating factors
                preventing her from doing so?


     My predecessor completed a form and submitted it to Rich prior to being terminated. (this may be new to you - I can
     provide you with proof that Rich recieved and confirmed receipt)

         •      Can you find that form? What does it say? Are you certain that it had not been modified after Steve submitted
                it to Rich.

     Rich immediately notified two people that I had named them in my formal HR Complaint.

         •      Is it normal for HR to immediately notify anyone named in a formal complaint?
         •      Is there a legal reason HR would or would not want to do this?

     Here are some FMLA and other related questions:


         •      Can the company FMLA policy be more stringent than those applied to other types of leave?
         •      Do other executives or department heads have the same policies being applied to them as I currently have
                applied to me?
         •      Are all of the policies currently applied to me also being applied to all other executives and departme nt heads
                equally?
         •      Have all policies being applied to me been clearly communicated and applied consistently across the
                organization?
         •      Where is the FMLA leave notification requirement policy? Does it clearly state why it is necessary and how it
                will be applied?
         •      What does the FMLA say about policies that hinder someone on FMLA's ability to perform their duties
                effectively?
         •      Are there other labor laws that could apply to a situation listed above or mentioned in other emails you were
                on?
        •       As a person who has been leading many of these communications, have you had unfiltered access to the
                employment attorney to ensure your communications align with the law and regulations?
        •       Are there any emails you have sent me that could violate the FMLA or other laws and regulations?
        •       What would be the outcome if the emails and communications you sent me were found to violate a law or
                regulation?
        •       Have any former team members of HR experienced a similar situation?
        •       Have any former team members of HR raised concerns about Rich?
        •       Does insubordination apply to situations where an order is not legitimate and reasonable? How about orders
                that are illegal or unethical?
        •       Are employers allowed to terminate, demote, or apply other adverse employment action in response to an
                employee's refusal to violate laws or regulatory standards?
        •       Ca n an employer use another reason for adverse action hours, days, or even the following weeks - possibly
                months or longer - when an employee escalates the issue and reports t hreats of adverse actions?
        •       Does PCI compliance fall under any whistleblower protections, such as Maryland MOSH, Federal SOX or Dodd-
                Frank or CPA, or common laws like wrongful discharge?
        •       Have you been advised by the attorney what qualifies as "good faith"?



    As per PCI Compliance,


        •       I asked for clarification as to what he needs to do so that the department can do it or provide a recommendation
                as to how it can be done.
        •       Offered to have a meeting with the head of corporate security to discuss my concerns.
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                  o    As long as they have all the relevant information and I can be part of t hat conversation, I do not
                       anticipate any issues with us following their approval.
                  o    This is the same process we have done for anything and everything else PCI compliance related.




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    fl Boo k time to meet with me

      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC
                                 office 410-252-8058 x109
                                 21 2 W Padonia Rd
      OHANA
       Growth Partn•r•
                                 T,monium, MO 21093


                                 www pl;metfitne-;s com


      "Culture eats strategy for breakfast"



    From: Karen Debus <karen.debus@ohanagp.com>
    Sent: Thu rsday, May 23, 2024 4 :55 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com >
    Cc: Rich Hartman <Rich.Hartman@ohanagp.com>
    Subject: RE: Ryan Brooks · REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS


    Hi Ryan,

    I j ust want to stress a couple of points regarding your mention of stress/anxiety. You are approved for
    FMLA which covers any time you need off for the medical reason you indicated when you applied. No
    one from HR has stated that you shouldn't be working, but if you need time off, it is available to you
    through FMLA protection. You just need to let us know that t he time off is FMLA time.

    Thanks,

    Karen



      Karen Debus
      Sr. HR Generalist
      Ohana Growth Partners, LLC

                                 o ffice 410- 252-8058 x 11 7

      OHANA
        Growth Pa r tners
                                 212 W Padonia Rd
                                 T,momum . MD 21093
                                 www .planetfitness.com



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       "Culture eats strategy for breakfast"


     From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
     Sent: Tuesday, May 21, 2024 5:37 PM
     To: Glenn Norris <glenn@ohanagp.com>
     Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
     <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
     Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS



     Thank you for your response. I will send Ryan Brooks the link to complete the PCI DSS 4.0 training and ensure he
     begins the required processes immediately. However, I must reiterate that reinstating his access without him
     having completed these steps will place us in violation of PCI DSS 4.0 compliance requirements.

     Immediate Actions:


         4.   Ryan Brooks can choose any available training program as long as we receive proof of completion .
              Previously, I ottered to sit down with him to ensure he understands the necessary information, but under
              duress, I am not comfortable doing this because of the ongoing threats and pressure, which I am afraid will
              continue until I certify him regardless of his actual compliance.


         5. Restore Access Under Duress: I will reinstate his access as per your directive. This action is being taken
              under duress and against my professional judgment due to the compliance risks involved.

    I must inform you that I am experiencing severe stress and anxiety due to this situation, including a panic attack
    and hyperventilation throughout this conversation. I am currently shaking badly and struggling to finish this email.
    If I am unable to complete this task by 9 am tomorrow, it is because I have gone catatonic from th is experience.
    Please understand that I am doing my best under these circumstances.

    I strongly advise documenting this decision and the associated risks to protect the company and ourselves . I have
    also reached out to Geoff VanMaastricht to seek his assistance in finding a long-term solution t hat ensures
    compliance.

    Thank you for your understanding.




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    El Book time to meet with me
      Ryan Wagner
      V ice Preside nt of IT
      Ohana Growth Partners, LLC




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                            office 410-252-8058 x109
                            212 w . Padonia Rd
      OH.ANA
       Growth P•rtner■
                            r,mornum. MD 21093
                            www planetfitncss.com


      "Culture eats strategy for breakfast"



    From: Glen n Norris <glenn@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:28 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
   <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
   Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    Send Ryan Brooks the Link to complete the PCI DSS 4.0 training and processes. I still want his access returned
    immediately.

    Glenn



      Glenn Norris
      Chief Financial Officer
      Ohana Growth Partners, LLC

                             office 410-252-8058 x108
                             cell 410-365 - 2591
                             212 W Padonia Rd
                             r,mornum. MD 21093
                             11vww.pl;metfitness r.om

      "Culture eats strategy for breakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:13 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    I acknowledge your directive and understand the urgency of t he situation. However, I must reiterate the
    compliance risks associated with reinstating Ryan Brooks' access without him completing the necessary PCI DSS
    4.0 training and processes.

    As the head of IT, my primary responsibility is to ensure that we maintain compliance with all regulatory standards.
    Restoring Ryan's access without meeting these requirements places our PCI DSS 4.0 certificat ion and the
    company at significant risk. While I am prepared to follow your instructions, I must stress that this action is being
    undertaken under duress due to your explicit directive.




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    I have reached out to Geoff VanMaastricht, our head of corporate secu rity, to seek his assistance in finding a
    solution that balances our compliance obligations with your request. Here is the email I sent to him, which
    includes you and President Justin Drummond in the loop:


      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410 -252-8058 x109
                                 212 w. Padonia Rd
        Growth Partner•
                                 T1monium. MD 21093
                                 www .planetfttness.com



      "Culture eats strategy for breakfast"


    From: Ryan Wagner Ry_ao...Wagner@ohana_gp.c_o_m
    Sent: Tuesday, May 21, 2024 5:09 PM
    To: Geoff VanMaastricht Geoff.VanMaastricht@pfhq.com
    Cc: Glenn Norris glenn@ohanagp.com: Justin Drummond Justin.Drummond@ohanagp ..QQ.fi
    Subject: SAQ - PCI Compliance: We need your assistance

    @Geoff VanMaastricht, Would you be available for a meeting tomorrow to discuss this and related PCI
    Compliance concerns? I am being told to reinstate the same person, but they refuse to do the training, take part in
    the code review, change control, or any other process to maintain compliance. I don"t know what to do and could
    use your assistance to find a solution that works for our CFO as well as meet the compliance requirements.

    To mitigate these risks and protect our compliance standing, I propose the following steps:

    Immediate Compliance Training: Expedite Ryan's PCI DSS 4.0 compliance training and ensure it is completed as a
    top priority.
    Temporary Limited Access: Provide Ryan with limited access necessary for immediate tasks, under close
    monitoring, until he completes the required training and processes.
    Documented Agreement: Document this course of action, including the acknowledgment that this decision is
    made under duress, to protect both the company and ourselves, ensuring we have a record of our compliance
    efforts and the rationale behind these decisions.
    I am available to discuss this further and facilitate any immediate actions required to address your concerns while
    maintaining our compliance obligations.

    Please let me know how you would like to proceed.

    Best regards,


    This message may include text created with the help of natural language processing.


    El Boo k time to meet with me
    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:05 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich .Hartman@ohanagp.com>; Karen Debus
                                                                            8122


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     <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
     Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

     Rich, please prepare a write up fo r me .



        Glenn Norris
        Chief Financial Officer
        Ohana Growth Partners, LLC

                                   office 410- 252 -8058 x108

       OHANA
         Grow 1 h Partrt e r t
                                   cell 410-365 - 2591
                                   212 W Padonia Rd
                                   Trmonium. MD 21093
                                   www .p lanetfitness.com

       "Culture eats strategy for breakfast"


     From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
     Sent: Tuesday, May 21, 2024 5:02 PM
     To: Glenn Norris <glenn@ohanagp.com>
     Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
     <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
     Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS



     @Glenn Norris

    Thank you for your prompt response. I understand the urgency of your request, but I must reiterate th e com pliance
    requirements and potential risks involve d in reinst ating Ryan Brooks' access without complet ing th e necessary
    PCI DSS 4.0 t ra ining and processes.


    Reinstating his access without compliance w ould put our certifi cati on at ri sk and co uld have serious legal and
    security implications for the company. As the head of IT, I have a responsibility to ensure that we ad here to these
    st andards.


    Given the gravity of the sit uation and your directive, I propose a meeting tomorrow morning wi th you, myself, and
    the head of corporate security to discuss how we ca n address t his matter with out c ompromising our compliance
    obligatio ns. This will allow us to find a solution that m eets your needs wh ile safeguarding our compliance and
    security st andard s.

    Please confirm a suitable time fo r this meeting.

    Thank you for your understanding.




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    fl Boo k time to meet with me

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      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                             office 410-252 -8058 x 109

      OHANA
       Growth Partnora
                             212 W Padonia Rd
                             T1mornum. MD 21093
                             www planetfitn ess com



      "Culture eats strategy for breakfast"



   From: Glenn Norris <glenn@ohanagp.com>
   Sent: Tuesday, May 21, 2024 4:59 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Justin Drummond <Justi n.Drummond@ohanagp.com>; Rich Hartman <Rich. Hartman@ohanagp.com>; Karen Debus
   <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
   Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    If Ryan Brooks does not have access by tomorrow morning, you will be written up for insubordination. Is that
    clear? Glenn



      Glenn Norris
      Chief Financial Officer
      Ohana Growth Partners, LLC

                             office 410-252 -8058 x108

      OH.AMA
        G,ow1 h Partner,
                             cell 410 - 365 -2591
                             212 W Padonia Rd
                             T1momum. 1,10 21093
                             www. planetfitness.com

      "Culture eats strategy for breakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 4:56 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS



    Thank you for your email. I understand your concerns and would like to cla rify the situation regarding Ryan Brooks'
    access and our compliance requirement s.

    Compliance and Access Issues:

    Yesterday, I consulted with PFHQ about how to handle situations where personnel had not completed required
    training. Before I could act on the conversation, Ryan Brooks informed me he didn't have time for a mandatory 15-


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    minute meeting, and he had already stated he couldn't complete the required training or other tasks assigned to
    him. Consequently, I removed him to resolve the block to completing the SAQ, as instructed by PFHQ.

    Overnight Changes:

    The compliance issues did not change overnight. What changed was the final decision to remove Ryan after he
    explicitly refused to engage in critical compliance activities. Reinstating his access today would violate PCI DSS
    4.0 standards, as I have already informed the head of corporate security that the compliance issue was resolved
    by terminating his access.

    Performance Concerns:

    The issues identified by Matt, as well as numerous concerns raised by the accounting department, reflect the
    quality of Ryan's work. While being responsive is important, it is more critical to ensure that work aligns with our
    strategic objectives and co mpliance requirements and does not resu lt in these problems existing. Si nce
    September/October, Ryan's recommendations have moved us further from resolution, as evidenced by the
    ongoing issues highlighted in Matt's email.

    Ryan's inability to complete tasks assigned to him and his mismanagement of resources (e.g., setting up a second
    AVD e nvironment, doubling costs, ignoring Microsoft's recommendations) demonstrate a lack of alignment with
    our strategic direction. His actions, including making unauthorized changes, have exacerbated our challenges
    rather than resolving them .

    Historical Context:

    From the start of the emergency migration project, Ryan proposed outdated so lutions, like reinvesting in an old AC
    system instead of modernizing our platform. Following my HR complaint in November, you stopped supporting the
    initial proposal and allowed Ryan to make changes against our needs, often in secret . Before my FMLA leave, you
    reinstated his access despite my concerns. Since FMLA, yo u and Ryan have been in charge of the IT depart ment.
    Recently, you informed me I should no longer step back, allowing me to re-establish control and in itiate daily
    standups and other processes to get the team back on track.

    Next Steps:

    Given the situation:

    Ryan must complete the PCI DSS compliance training and parti cipate in the required processes before his access
    can be rein stated.
    Restoring his access without m eeting these requirements would jeopardize our PCI DSS 4.0 com pliance.
    I am committed to resolving these issues in a manner that upholds our comp liance standards and addresses our
    operational needs. Please revi ew the data, recommendations, and conclusions from Microsoft and o ur current
    state of issues, which collectively indicate that Ryan is not currently qualified to manage our cloud environment.


    We ca n review these concerns with the head of corporate security, and if I understa nd why it must happen today,
    perhaps I ca n offer a solution that does not result in PCI compliance issues.

    Thank you for your understa nding and coo peration.

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    El Book time to meet with me
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      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                             office 410-252 -8058 x109

      OHANA
       Growth Perln•n
                             212 W Padonia Rd
                             TImonium , MD 21093
                             www planetfitness com


      "Culture eats strategy for breakfast"



    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Tuesday, May 21, 2024 4:28 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich .Hartman@ohanagp.com>; Karen Debus
   <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
   Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    How was Ryan Brooks allowed access yesterday and not today? What changed overnight, it does not make sense
    that compliance issues were just discovered and changed overnight.

    I do not think your stance flies.

    Please do as I have instructed you. He will take the test.

    See Matt's reason why we need him. Look at attached email.

    Glenn



      Glenn Norris
      Chief Financial Officer
      Ohana Growth Partners, LLC

                             office 410 252 -8058 x108

      OHANA                  cell 410-365-2591
                             212 w . Padonia Rd
                             1 ,monium. MD 2109 3
                             www.planetfitness com

      "Culture eats strategy for breakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 3 :38 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks· REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS


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     @Glenn Norris

     Thank you for your email. I understand your urgency regarding Ryan Brooks' access and wa nt t o ensure we hand le
     this appropriately while maintaining our compliance with PCI DSS 4.0 standards.

         2.    Mandates and Requirements:


                   u    PFHQ mandates compliance with PCI DSS 4.0, which outlines the specific requirements for all
                        personnel with access to sensitive data and systems. This includes mandatory training and
                        participation in key security processes.

         3. Attestation Filings:

                   o    PFHQ instructed me to complete the attestation fi lings, which are necessa ry to certify our
                        compliance with PCI DSS 4.0. These fi lings were submitted to our compliance auditors and
                        relevant regulatory bodies to confirm that we meet all required security standards.

         4.   Ryan Brooks' Access:


                   o    Restoring Ryan Brooks' access without him completing the required t raining and participating in
                        mandated security processes would violate our PCI DSS 4.0 compliance. This could jeopa rdize our
                        certification and the security of our systems.

     Could you please clarify the consequences you foresee if we do not restore Ryan's access today? Understanding
     your concerns will help us address them while ensuring we remain compliant with PCI DSS 4.0 stand ards.

    I must emphasize that compliance with these standards is critical to our operations and security. I am committed
    to resolving this situation as quickly as possible within the bounds of our compliance requirements.

    Please let me know how you would like to proceed, and we can work together to fi nd a solution that maintains our
    compliance and addresses your needs.




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    El Book time to meet wi h me
       Ryan Wagner
       Vice President of IT
       Ohana Growth Partners, LLC

                                 office 410-252-8058 x109

      OHA.NA                     212 W Padonia Rd
                                 T,monium. MD 21093
                                 1MNV>1.planetfi tness.com



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    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Tuesday, May 21, 2024 3:26 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

         4. Please explain who is mandating this and what it entails.
                                                                   - ~ - - - , - - - . . . , -- ~ - -
         5. S op filirrgattestatio11 filrngs- ~ho gets these and why were they sent in the last 24 hours?
         6.                                ;                    I'
                                                                1j I '        \       1• ! • , ' )1 ,: ' '' '. I : :I·:,
                                                                                       I        I   '   •j       '   '   :     I'   I




    Glenn



       Glenn Norris
       Chief Financial Officer
       Ohana Growth Partners, LLC

                               o ffice 410- 252 -8058 x 108
                               cell 4 10- 365-2591
        Grow1h P.artnert:      212 W . Padon ia Rd
                               TIm onrum. MD 2 1093
                               www .pla netfitness.com

       "Culture eats strategy for breakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 2:08 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    @Glenn Norris I hope this message finds you well. I appreciate your prompt response regardi ng Ryan Brooks'
    compliance and performance. I would like to address the points you raised to ensure clarity and alignment with
    our compliance requirements and performance expectations.

    Compliance Allegations:
    Regardin g the compliance allegations, it is crucial to clarify that all team members, including vendors, must
    complete the required PCI DSS compliance training. This is a non-negotiable requirement to maintain our
    cer:tification and ensure our systems' security and in.tegrity. If Ryan was previously informed that he did not need to
    complete this training, that was incorrect, and I appreciate his willingness to rectify this.

    Compliance Training Requirement:
     yan must complete-t e PGI DSS Gorn Hance trai111lng before he can resume any work, as our attestation has
    alread~ oeen filed
    Additional Compliance Requirements:

    Beyond the training,                       ,   •
                                                       1
                                                           ,   ,.   •    ·,       ,.       ,'   ,., · ,      I           ,.,    •   i,   ~   ~   1.:   ·.,.   1 l    ,,,',;,\   _1~ • ) c , : I ' : · ••   :1   ,t   v   1 ~·



    - T h e s e include:



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     Next Steps:

     Ryan must complete the PCI DSS compliance training immed iately.
     Ryan must participate in all PCI DSS required processes, including daily standups, change control review boa rd s,
     and code publishing pipelines.
     After Ryan complet es the training and engages in these processes , we need detailed information on the specific
     tasks you want him to perform. This will allow us to assign him the least privileged access necessary to ma intain
     PCI compliance.



        If you feel it would be helpful, I am open to arranging a
       meeting with the corporate head of security to weigh in on
           these items and provide additional perspective on
       maintaining our compliance and security standards.

    Thank you for your understanding and cooperation in ensuring we maintain our compliance and security
    standards. I look forward to re solving this matter collaboratively. J, /             \   I   1,   1   l   ',I   :   :   ,1\,'' I : ·




    This message may include text created with the help of natural language processing.


    El Book time to meet w ith me
       Ryan Wagner
       Vice President of IT
       Ohana Growth Partners, LLC

                                 office 410-252-8058 x109
                                 212 w. Padonia Rd
        Growth P•rtnera          T1mornum. MD 21093
                                 www .planetfitness.c:om



      "Culture eats strategy for breakfast"


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              Case 1:24-cv-03744-BAH                Document 16-2           Filed 01/03/25    Page 29 of 185


     From: Glenn Norris <glenn@ohanagp.com>
     Sent: Tuesday, May 21, 2024 1:48 PM
     To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
     Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
     <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
     Subject: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

     Ryan, I do not agree with your performance and compliance allegations of Ryan Brooks. I asked him if he was
     required by you to complete the compliance PCI tests and he was adamant that you stated months ago that he did
     not need to complete this. He is willing to do it. This is straight from Ryan Brooks.

     Regarding his performance, we need to have a conversation on your expectations and role for BC/RB. In my
     opinion, he has been and still is a valued vendor for our IT needs .

     Please ask Justin, Rich , Matt or Karen(and others) how they do or do not value his contribution to our IT needs.

    As I stated in our call earlier today, I want his ad min rights restored today. There was no discussion with me about
    this action - I do not approve.

     SEE COMMENTS IN RED BELOW

    Thank you, Glenn



       Glenn Norris
       Chief Financial Officer
       Ohana Growth Partners, LLC

                             office 410- 252 -8058 x108
                             cell 410-365-2591
        Growth P•rt11ers     212 W . Pildoniil Rd
                             T1monium. MO 21093
                             ..,.,ww .planetfitness.com

       "Culture eats strategy for breakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 1:16 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>
    Subject: Ryan Brooks - More Info Needed



    @Glenn Norris, I hope you're doing well. I am seeking clarification regarding your directive to retain Ryan Brooks in
    the IT Department. When we talked today, you expressed a specific need for his services, despite my concerns
    about his performance and our compliance requirements.

    In addition, As part of our compliance with PCI DSS 4 standards, which I recently certified after significant efforts,
    every team member must meet the requirements. Ryan Brooks' refusal to follow proper procedures and complete
    the required upskill training posed a substantial obstacle to maintaining PCI DSS 4 unless he is able to do the
    things that I have required of him.

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    To clarify:


         1. Security Training: Ryan has not completed the ma ndatory security training, which disqualifies him from
            being employed as a software engineer under PCI DSS 4 standards. HE WILL DO TH IS IF IT IS REQUI RED.

        2. Code Review Process: He has been unable to participate in the code review process, making him
           unsuitable for automation or SQL work. WHAT IS THE REQUIRED TIME INVESTME NT HERE?

        3. Change Control Review Board: Rya n's lack of participation in the change contro l review board precludes
           him from performing any sysadmin tasks or handling M365 or Azure responsibilities. HE HAS BE EN ON
           EVERY TU ESDAY 230 CALL AND YOU GHOSTED THAT CALL ON 5-7-24AND HE WAS IN ATTEN DANCE. HE
           W ILL NOT BE ON TODAY'S CALL SINCE YOU INADVERTANTLY FIRED HI M YESTERDAY.

    Given these compliance issues, retaining Ryan to work in these areas conflicts with the PCI DSS 4 standards. His
    non-compliance and refusal to adhere to required protocols undermine our efforts to mainta in these critical
    standards.

    Please provide specific details rega rding the necessity of retaining Ryan's services and ensure that it does not
    conflict with our PCI DSS 4 compliance requirements. I wou ld like you to know that understanding your rational e
    and how it aligns with these standards is essential for moving forward .

    Thank you for your attention to this matter. I look forward to your response to resolve this issue in compliance with
    our obligations.




     6.2.1 0
     Bespoke and custom software are developed securely, as follows:

        • Based on industry standards and/or best practices for secure development.
        • Bullet intent ionally left blank for this SAQ.
        • Bullet int ent ionally left blank for this SAQ.


     6.2.2 0
    Software development personnel working on bespoke and custom software are
    trained at least once every 12 months as follows:

        • On softwa re secu rity relevant to their job function and d evelopment
          languages.
        • Including secure software design and secure cod ing techniques.
        • Including, if security t esting tools are used, how to use the tools for
          det ecting vulnerabilities in software.


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      6.2.3.1 0
      If manual code reviews are performed for bespoke and custom software pri or to
      release to production, code changes are:

          • Reviewed by individuals other t han the originating code aut hor, and w ho ar
            knowledgeable about code-review t echniques and secu re coding practices.
          • Reviewed and approved by mana gement prior to release.


      6.2.4.a 0
     Software engineering techniques or other methods are defined and in use by
     software development personnel to prevent or mit igat e common software attack
     and related vulnerabilities in bespoke and custom software, includi ng but not
     limited to the following: Injection attacks, including SQL, LDAP. XPath, or other
     command, parameter, object, fault, or injection-type flaws


      6.2.4.b 0
      Software engineering techniques or other methods are defined and in use by
      software development personnel to prevent or mitigate common software attack
      and related vulnerabilities in bespoke and custom software, includ ing but not
      limited to the following: Attacks on data and data structures, including attempts 1
      manipulate buffers, pointers, input data, or shared data.


      6.2.4.c 0
      Software engineering techniques or other methods are defined and in use by
      software development personnel to prevent or mitigate common software attac~
      and related vulnerabilities in bespoke and custom software, includi ng but not
      limited to the following: Attacks on cryptography usage, incl uding attempts to
      exploit weak, insecure, or inappropriate cryptographic implementations,
      algorithms, cipher suites, or modes of operation .




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      6.2.4.d 0
      Software engineering techniques or other methods are defined and in use by
      software development personnel to prevent or mitigate common software attack
      and related vulnerabilities in bespoke and custom software, includi ng but not
      limited to the following : Attacks on business logic, including attempts to abu se o
      bypass application features and functionalities through the manipulation of AP ls
      communication protocols and channels, client-side function ality, or other
      system/ application functions and resources. This includes cross-site scripting
      (XSS) and cross-site request forgery (CSRF).

       6.2.4.e 0
       Software engineering techniques or other methods are defin ed and in use by
       software development personnel to prevent or mitigate common softwa re attad
       and related vulnerabilities in bespoke and custom software, includi ng but not
       limited to the following: Attacks on access control mechanisms, includi ng
       attempts to bypass or abuse identification, authentication, or authorization
       mechanisms, or attempts to exploit weaknesses in the implementation of such
       mechanisms


    5. 2.4.f 0
    Software engineering techniques or other methods are defin ed and in use by
    software development personnel t o prevent or mitigate common software attacks
    :rnd related vu lnerabilities in bespoke and custom soft ware, including but not
     imited to the following: Attacks via any "high-risk" vulnerabilities identifi ed in the
    vulnerability identification process, as defined in Requirement 6.3.1.




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      6.3 .1 0
      Security vulnerabilities are identified and managed as follows:

         • New security vulnerabilities are identified using inclu st ryrecognized so urces
           for security vulnerability information, including alerts from international and
           national computer emergency response t eams (CERTs) .
         • Vulnerabilities are assigned a risk ranking based on industry best practices
           and consideration of potential impact.
         • Risk ranking s identify, at a minimum, all vulnerabilities con sidered to be a
           high-risk or critical to the environment.
         • Vulnerabilities for bespoke and custom, and t hird-party software (for
           example operating systems and databases) are covered.


     6.3.3 0
     All system components are protected from known vulnerabilities by installing
     applicable security patches/updates as follows:

         • Critical or high-security patches/updates (identified according to the ri sk
           ranking process at Requirem ent 6.3.1) are installed w ithin one month of
           release.
         • Bullet intentionally left blank for this SAQ.



     6.5. 1 0
     Changes to all system components in the production environment are made
     according to established procedures that include:

         • Reason for, and description of, the change.
         • Documentation of secu rity impact.
         • Documented change approval by authorized part ies.
         • Test ing to verify that the change does not adversely impact system secu rity.
        • For bespoke and custom software changes, all updat es are tested for
          compliance with Requirement 6.2.4 before being deployed into production.
        • Procedures to address failures and return to a secure state.

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     6.5.2 0
     Upon completion of a significant change, all applicable PCI DSS requirements arE
     confirmed to be in place on all new or changed systems and networks, and
     documentation is updated as applicable.


    Please provide specific details regarding the necessity of retaining Ryan's services which does not conflict with our PCI
    DSS 4 compliance requirements. I would like you to know that understanding your rationale and how it aligns with these
    standards is essential for moving forward by assigning him permissions that will give him the least privileges necessary
    while not performing tasks listed above or otherwise in the PCI DSS 4.



    7.2.2 0
    Access is assigned to users, including privileged users, based on:

       • Job classificat ion and function.
       • Least privileges necessa ry to perform job responsibi lities.



     7. 2.3 0
     Required privileges are approved by authorized personnel



     7.2 .4 0
     All user account s and related access privileges, including third-party/ vendor
     accounts, are reviewed as follows:

        • At least once every six months.
        • To ensure user accounts and access rema in appropriate based on job
          f unction.
        • Any inappropriate access is addressed.
        • Managem ent acknow l edges that access remains appropriate.




    Thank you for your attention to this matter. I look forward to your response and to resolving this issue in accordance
    with our obligations.

                                                                21 / 22



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    This message may include text created with the help of natural language processing.


    El Book time to meet with me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                  office 410-252-8058 xl09

      OHANA
        Growth Partner•
                                  21 2 W Padonia Rd
                                  I Imonium. MD 21093
                                  www.planetfitness.com



      "Culture eats strategy for breakf ast"




                                                                            22 / 22


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      6/29/24. 9:07 AM                                                MXT3 Mail - Legal Analysis Consultation

•.     .
                                                                                                                Ryan Wagner <ryan@mxt3.com>



           Legal Analysis Consultation
           Andrew Dansicker <adansicker@dansickerlaw.com>                                      Tue, Jun 18, 2024 at 12:00 AM
           To: Andrew Dansicker <adansicker@dansickerlaw.com>, Ryan Dillon-Capps <ryan@mxt3.com>

             Ryan,

            I started reviewing your paperwork, and frankly, with the death in my family and a national conference next
            week, I just don't have the time and ability to focus on assisting you with such a complicated and time-
            consuming matter. The fact that you've been served with papers for a tro and injunction is not something
            that I can handle at this time.

            I refunded your fee, and I wish you the best of luck moving forward.

            Andrew

            Law Office of Andrew M. Dansicker, LLC
            11350 McCormick Road
            Executive Plaza 11, Suite 705
            Hunt Valley, Maryland 21031
            (410) 771-5668
            (443) 927-7390 (fax)
            dansickerlaw.com

             *Focusing on Maryland Employment Law Issues*

            From: Andrew Dansicker <amdansicker@hotmail.com> on behalf of Andrew Dansicker
            <adansicker@dansickerlaw.com>
            Sent: Monday, June 17, 2024 9:47 AM
            To: Andrew Dansicker <adansicker@ dansicke rlaw.com>; Ryan Dillon-Capps <ryan@mxt3.com>
            Subject: Re: Legal Analysis Consultation

            [Quoted text hidden)




      https://mail.google.com/mail/u/0/?ik=d737ef6dfe&view=pt&search=all&permmsg1d=msg-f:18021 70013923502978&simpl-msg-f: 1802170013923502978      1/ 1
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                                                                                                       Ryan Wagn or <ryan@rnxt3.com>



June 27, 2024 Contempt Hearing Notice - Ohana Growth Partners, LLC v. Ryan Dillon-
Capps, C-03-CV-24-2264
Ryan Wagner <ryan@mxt3.com>                                                                      Wed, Jun 26, 2024 at 3:07 PM
Reply-To: ryan@mxt3.com
To: Fallyn Allman <Fallyn.Allman@mdcourts.gov>
Cc: "rbrennen@milesstockbridge.com" <rbrennen@milesstockbridge.com>, Rachel Kiefer <rachel.kiefer@mdcourts.gov>

  Dear Rachel Kiefer,

 I am writing to request a transcript of the June 26, 2024. hearing in Ohana Growth Partners. LLC v Ryan Dillon-Capps, Case No.
 C-03-CV-24-002264. Judge Michael S. Barranco presided over this hearing. I understand that we left there only a few hours ago.
 but I struggle to remember everything said. I think I tried to explain this in court. but my ability to advocate for myself is limited in
 high-conflict "live" interactions. It would be of tremendous help if I get a copy of the transcript so I have something to reference
 regarding what was said. I will gladly pay the fee, but I don't have an attorney because mine went on bereavement and then had
 a prescheduled conference, so they returned all the money paid. I know how hard it is to lose a family member, but it has left me
 without representation. I found out this week that the letter I wrote last week to request the opportunity to obtain counsel was
 denied. Leaving me unsure as to the proper procedure for obtaining the transcript. I am really sorry to burden you. but this was the
 first hearing that I had advanced notice of, and even while I write this email, I feel like I can recall less and less of what happened.
 Any assistance on how to obtain the transcript would be very helpful.

  With gratitude and appreciation,
  Ryan Dillon-Capps
  1334 Maple Ave
  Essex MD 21221
  ryan@mxt3.com
  703-303-111 3
  I strongly prefer text or email
  'Oual~J le,! ~,d<Jon)




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                                                                                                     Ryan Wayner <ryan@mxt3.com>



Webform submission from : Request Written Transcripts or Court Audio> Content
1 message

Baltimore County Circuit Court <webmaster@baltimorecountymd.gov>                                            Fri, Jun 28, 2024 at 6:23 PM
Reply-To: baltcodigrec@rndcourts.gov
To: ryan@mxt3.com


 Thank you for contacting the Digital Recording Office for the Circuit Court for Baltimore County.

 This confirms receipt of your online request for a CD or typed transcript. If additional information is needed to process your
 request, you will be emailed by baltcodigrec@mdcourts.gov.




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                                                                                      ••
                      f- Justin Drummond                                               •


                                            Friday, Jun 7 • 5:35 PM


                                  I believe that l may have found a way for
                                  you to have access to a Global Adm,in
                                  account. Can you review the PCl DSS 4   1




                                  documentation before 5 pm on Monday
                                  and tatk with me on Tuesday?
                                                                 5:35 PM · SMS • AT&T



                        Hi Ryan.
                        I should be able to review this before
                        Tuesday.
                        6:19 PM • AT&T


                                  Sounds Great~Let me know on Monday
                                  and we can coordinate the time for
                                  Tue~day
                                                                 6:19 PM· SMS • AT&T


                         Did you a(ready send the documentation
                         to review?
                         6:21 PM • AT&T




.   July I @ 838AM: Origional R                                                             Exhibit 10 1-8
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                                                                                                           ••
                    f- Justin Drummond                                                                     •

                                   1   e                              u     tea ton


                                 Standard

                                                          v4.0 - Mar.
                                 PCIDSS                                         Engl ish v
                                                          2022


                             I sent a link in teams to the docs page
                             which has requirem ents document.    1




                              here is the link
                              https://www.pcisecuritystandards.org
                              /docum,ent library/

                              and the first one is the prim1ary doc
                              https://docs-prv~pcisecuritystandards.org
                              /PCf%20DSS/Standard/PCI-DSS-v4 O.pdf



                                                                              6:24 PM· MMS • AT&T

                              there are other docs that are helpful but
                              not essential
                                                                               6:24 PM • SMS • AT&T



                       Understood
                      6:25 PM • AT&T
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    f- Justin Drumm.e nd                                           •••


     Understood
     6:25 PM • AT&T


          have you ever heard me talk about the 3
          CEO letter story before? I, was just
          thinking about that, and this is -not a
          coded message but just a random
          thought keeps popping up in my head
          lately
                                             6:27 PM · SMS • AT&T

                                  have a good weekend
                                             6:27 PM • SMS • AT&T



     No J have not. You too
     6:28 PM • AT&T



                         Monday, Jun 10 • 1:17 PM



     Hi Ryan. r ve seen a few emails go out
     today from you. I've been trying to
     connect on Teams about the iPad that
     arrived last week. Let me know when is
     best for you.

                                                                         Exhibit IO1-B
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                                                                                                  ••
                   f- Justin Drummond                                                             •

                    rest ot the week.
                    1:17 PM • AT&T


                                         i have back to back meetings until 4
                                                                              1:24 PM· SMS • AT&T

                                                        i can also do now for like20
                                                                               1:25 PM • SMS • AT&T



                     I stepped out to grab lunch. I'll be back in
                     10 min
                     1:26 PM• AT&T


                             okay, minimally we can sync on what is
                             neeee and 1, can msg later tonight when
                             we are ready to do next steps
                                                                               1:27 PM· SMS • AT&T



                     Ok.teams Call when ~·m back at my desk?
                     1:29 PM • AT&T



                                               Thursday, Jun 13 • 2:21 PM




                                                           1= ..._ Cases, Publications
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                                                                                                                                                      ••
                    f- Justin Drummond                                                            DI                                                   •


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                                                                           _..,.. ~.,....,,.. . ... ··-·· ·~ •"'




                      Ryan, I cannot answer right now. lrm out
                      of town. rs there something you can text?
                      3:12 PM • AT&T



                               We need to talk now.. what ~ know puts
                               this a safety izHie
                                                                                               3:12 PM • SMS • AT&T

                                                                                          Rich has gone off
                                                                                                3:13 PM· SMS • AT&T

                                                                                                          emminent risk
                                                                                                3:13 PM· SMS • AT&T

                                        I sent my pe ~ lome for their safety
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                                                                                             PageC' #~A43C"'of 185
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                                                                                                                                                           Exhibit IO 1-8
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                                                   OH~N A
                                                       Gro wth P a r tners

                        Ohana Gr o-.,th P
                                         artner:,, LLC
                        2 12 W. Padonia Rd.
                        Timon1w:i, MO 21093

                        June 13, 2024




                         Dear Dar,ren,

                         Effecrive i=,edii,tely. Ju'"' lJ, 2024, you iite t:eln'J r,l•c• d " " 1,:a•,A o(
                         absence until fur.ther notice with full pay ltnd full beMfiu wllllt, tht>
                         company und-e,cg~" " redew of IT operat ioM .

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                         Rich 11an :oan
                         VP o! People and cul tur e




July 1 @ 838A                                                                                                                  ibit IO 1-B
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                                            OHANA
                                                Growth Partners


             Ohana Grovth Partners, LU:
             212 W. Padonia Rd.
             Timonium, MD 21093

             June 13, 2024



              Dear Darren,

              Effective inlnediately~ June 13, 2024, you are beioq placed on leave of
              absence until further notice with full pay and full benefits while the
              company undergoes a review of IT operations.
              During this time, you will not have access to companv sys~ems or any of
              the feicilities and are not authorized to do ,-ro,rk on behalf of t.ne company.

              We vill update you once our review is co~lete.




              Rich Hartman
              VP of People and Culture




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   Ryan Dillon-Capps

   From:                         Ryan Wagner
   Sent:                         Wednesday, June 12, 2024 5:10 PM
   To:                           Rich Hartman; Glenn Norris; C. Victor Brick; Justin Drummond
   Cc:                           Stacey Wittelsberger {ESC); Lynne Brick B.S.N. M.A.; Terry Woods {Planet
                                 Fitness); Earl Ihle
   Subject:                      Re: Time off for FMLA


   @Rich Hart man @Glenn Norris @C. Victor Brick@Justin Drummond

   I hope t his m essage finds you w ell. I am w riting to formally request information regard ing the legal representation
   retained by Ohana Growth Partners LLC concerning any and all m atters tha t may involve or pertain to me. This
   includes, but is not limited to, the following issues:

       •     Accounting irregula ri ties
       •     Unautho ri zed use of my name to attest compliance documents
       •     Fabricated or altered emails/documents
       •     Any other matters related to my employment
       •     Any matters w here I might be named or involved

   Specifically, I would like to know the name and contact information of the attorneys or law firm s re presen ting the
   compa ny in these matt ers. This information is pertinent as I am seeking to engage in direct negotiations to resolve
   t hese issues amicably and efficiently.

   I believe that open communication can help us reach a mutually agreea ble solu ti on and prevent the need fo r more
   formal proceedings. Therefore, I would appreciate your prompt response to this req uest .

   Thank you for your coopera tion.


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           Book time to meet wit h me



      Ry an Wagner
      Vice President of IT
      Ohana Growth Partners, LLC
                                   off1cr, 410- 252 8058 x109
                                   21 2 W Padonia Rd
                                   T1moniurn . t,10 21093
        G r ow·t h Partn e r •

                                   www .plcmetfrtne~~-com


      "Culture eats strat egy for brea k fast "




                                                                            1/8



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  From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
  Sent: Wednesday, June 12, 2024 5:01 PM
  To: Rich Hartman <Rich.Hartman@ohanagp.com>
  Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Just in.Drummond@ohanagp.com>; Stacey Wittelsberger
  (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
  <lynne@ohanagp.com>; Terry Woods (Planet Fit ness) <Terry.Woods@ohanagp.com>; Earl Ihle
  <Earl.lhle@ohanagp.com>
  Subject: Re : Time off for FMLA


   @Rich Hartman I appreciate your response, but I need to clarify some critical points regarding the handling of my
   FMLA leave informati on.

   FMLA Notice Requirements

   According to the Family and Medical Leave Act (FMLA), employees must provide notice of the need for FM LA leave
   as soon as practica ble. Typically, this means within the sa me day or the next business day of learning of the need
   for leave, w hen th e need is unforeseeable.

       •    Legal Citation: 29 C. F.R. § 825.302(a) stat es, "When th e need for leave is not foreseeab le, an employee
            must provide notice to the employer as soon as practicable under the facts and circumstances of the
            partic ular case. It generally should b e practicable for t he em ployee to provide not ice of the need for leave
            either th e same day or the next business day."

   Confidentiality and Policy Enforcement

   I am concerned that my FMLA information was shared w ith individuals outside the necessary scope. The company
   is obligated to maintain the confide ntiality of FM LA-related information, similar to the handling of medical records.
   Sharing this information with external parties can violate FMLA confidentiality provisio ns.

        •   Legal Citation : 29 C.F.R. § 825.500(g) specifies that FMLA records m ust be maintained as confidential
            medical records and disclosed on ly to t hose with a need-to-know.

   Additionally, I believe t hat th e polic ies applied to m y FMLA leave have been more rigid compared to other types of
   leave. This inc ludes advance d notice requirement s and the handling of intermittent leave.

        •   Legal Citation : 29 C.F.R. § 825.220(c) prohibits employers from discriminating against employees for
            t aking FMLA leave and mandates that t he terms of FMLA leave should not be more stringent than other
            types of leave.
        •   Handbook Reference:
                o Sick Leave: "Full-tim e associates are eligible to receive up to 40 hours of paid sick leave each year.
                    Sick time m ust be taken during the year it is received" (PF Handbook 12-2022, pg. 38).
                u   Personal Leave: "Personal days m ust be scheduled at least two weeks in advance whenever
                    poss ible" (PF Handbook 12-2022, pg. 38).

    Challenge to the Disclosure Justification

    I would like to understand why it was necessary for the specific individuals, includi ng those external to our
    orga nization, to know about the details of my FM LA leave. Given that FMLA information is considered confidentia l,
    it should only be shared w it h t hose who have a legitim ate need to know to manage the leave appropriately.

    Request for Written Policy

                                                                 2/ 8



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  To address the claim that th ere is no special policy for FMLA notification, I request a copy of the written FMLA
  policy as it applies to all employees . This will help clari fy if any special cond itions were applied to my case and
   ensure consistency with federal and state laws.

   Practical Notification Timing

   For clarification, providing notice "as soon as practicable" typically means within the same or next business day
   under the FMLA when the need for leave is not foreseeable. This standard applies unless th ere are extenuatin g
   circ umstances that prevent timely notification.

   Summary

       •    Confidentiality: Sharing FMLA information with unauthorized individuals breaches FM LA confidentiality
             requirements.
       •     Policy Consistency: FMLA leave policies should not be more stringent than other leave policies.
       •     Challenge to Disclosure Justification: An explanation is needed as to w hy the specific recipients were
             deemed necessa ry to know about my FMLA leave.
       •     Request for Written Policy: A formal request for the written FMLA policy to ensure compliance and
             consistency.

   Thank you for addressing these concerns. I look fo rward to your response and to receiving the requested policy
   documentation.


   This message may include text created with the help of natural language processing.


   II Boo k time to m eet with me

      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410 252 8058 x 109
                                 212 W Padonia Rd
        Gro w1h PDrtnars
                                 l Im on Ium . MO 21093
                                 www .ol;metfitnes,;.com



      "Culture eats strategy for breakfast"



   From: Rich Hartman <Rich.Hartman@ohanagp.com>
   Sent: Wednesday, June 12, 2024 4:23 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Glenn Norris <glenn@ohanagp.com >; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey Wittels berger
   (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor @ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>
    Subject: Re: Time off for FMLA

    See response below.

                                                                            3/8


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     Rich Hartman
     VP of People and Cultu r e
     Ohana Growth Partners, LLC

                            office 410 252 -8058 x114
                            21 2 w Paclorna Rel
       Growth PDrtn or1,
                            11mo111um. rAD 21093
                            www planctfitness.com


     "Culture eats strategy for breakfast"



   From: Ryan Wagner <Ryan.Wagner@ ohanagp.com>
   Sent: Wednesday, June 12, 2024 4 :07 PM
   To: Rich Hartman <Rich.Hartman@ohanagp.com>
   Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drum mond@ohanagp.com>; Stacey Wittelsberger
   (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N . M.A.
   <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
   <Earl.lhle@ohanagp.com>
   Subject: Re: Time off for FMLA



   @Rich Hartman I appreciate your response, but I need to clarify some critical points regarding the handling of my
   FMLA leave information.

        1. Confidentiality Breach: The email you sent to IT.Support and IT.Businesslntelligence, which included
           individuals from Cielo and other external parties, contained information about my FMLA leave. This
           disclosure is a violation of FMLA confi dentiality requirements. According to 29 C.F.R. § 825.500(g),
           employers must maintain the confidentiality of FMLA records and treat them as medical records, which
           should be maintained sepa rately from regular personnel files and disclosed only on a need-to-know basis.
           DISAGREE, NO BREACH

        2. Non-Discrimination and Equal Treatment: Creating a special policy for my FMLA leave that is more
           restrictive than the standard leave policy for other employees is discriminatory. Under 29 C.F.R. §
           825.220(c), employers are prohibited from discriminating against employees tor takin g FMLA leave and
           must ensure that FMLA leave terms and conditions are not more stringent than those fo r other types of
           leave. The Maryland Healthy Working Families Act (Md. Code, Labor and Employment§ 3-1306) also
           stipulates that employers cannot implement more restrictive policies for sick and sate leave than for other
           types of leave, ensuring equal treatment. DISAGREE' NO SPECIAi POLICY

        3. Notification and Compliance: I provided notification the exact minute I became aware of the need to take
           leave, which aligns with t he requirement under 29 C.F.R. § 825.302(d) that employees must provide notice
           of the need for FMLA leave as soon as practicable. Any accusation of untimely notification is, therefore,
           baseless. AGREE FOR INITIAL NOTIFICATION. AND FMLA WAS GRAI\JTED. 1 OU STILL H1 /[ TYE
           RESPONSIBILITY TO NOTIFY THE COM PANY WHEJ,J TA KII\JG 11\JTERMITTEl\ri LEA'/E A.:"TER ~HE l~JITIAL
           NOTIFICATION.

    Requested Actions:




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         1. Rectify Confidentiality Breach: Ensure that any future communicati on regarding my FMLA leave is strictly
            confined to those who need to know , such as HR personnel and direct supeNisors, to comply with federal
            and state confidentiality requirements.

         2. Apply Standard Policies: Apply the same FMLA policies to me as are applied to other employees, w ithout
            additional restrictions or requirements, in accordance with fed eral and state non-discrimination laws.

         3. Clarification of Policy: Provide the written policy explai ning how FMLA leave is tracked and used against
            existing hours, ensuring it aligns with standard company policies and lega l requirements .

     I trust that we can resolve thi s matter promptly and in compliance with all relevant legal standards.




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     ■ Book time to meet w ith m e


       Ryan Wagner
       Vice President of IT
       Ohana Growth Partners, LLC

                                 ofl ,cc: 410-252 -8058 x109

       OH .A NA
        Growth Pi,rt n an:
                                 21? W Padonta Rd
                                 TtmOntLtm. MD 21093
                                 wv>N1.planetfitness.co m



       "Culture eats strategy for breakfast"




    From: Rich Hartman <Rich.Hartman@ohanagp.com>
    Sent: Wednesday, June 12, 2024 4:01 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; St acey Wittelsberger
    (ESC) <srector@exeterstreet capital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>
    Subject: Re: Time off fo r FMLA

    Ryan,
    I am not sure who is on those lists .... l was just responding to the email you sent . There was no confidential
    information included in my response. We are not treating your FM LA request different.


      Rich Hartman
      VP of People and Culture
      Ohana Growth Partners, LLC




                                                                            5/8


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        G rowth Pertn•r ■
                              212 W Padonic1 Rd
                               l1monium. MO 21093
                              www .planet fi tn ess.com



      "Culture eats strategy for breakfast"




    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Wednesday, June 12, 2024 2:33 PM
    To: Rich Hartman <Rich.Hartman @ohanagp.com>
    Cc: Glenn Norris <glenn@ohanagp.com >; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey Wittelsberger
    (ESC) <srector@exet erstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods {Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>
    Subject: Re: Time off for FMLA



    @Rich Hartman Those email lists contain both internal and external recipients. While it is necessary for them to
    know that I am taking FMLA leave, t hey do not need to be informed about how FMLA is being applied to me
    differently than to others, nor do they need to see that my policy is more rigid compared to policies fo r other types
    of leave.

    Additionally, I provided notification the exact minute I became aware that I needed to take leave. This makes any
    accusation of untimely notification baseless.

    Legal Citations:
    Federal Law:

        4. Family and Medical Leave Act (FMLA), 29 U.S.C. § 2615(a)

                  o    This section prohibits employers from interfering with, restraining, or denying the exercise of or the
                       attem pt t o exercise any right provided under the FMLA.

        5.   Family and Medical Leave Act (FMLA) Regulation s, 29 C.F.R. § 825.S00(g)

                  o    This regulation requ ires that employers maintain the confidentiali ty of FMLA records and treat them
                       as medical record s, which should be maintained separately from regular personnel files and
                       di sclosed only on a need-to-know basis.

        6.   Family and Medical Leave Act (FMLA) Regulations, 29 C.F.R. § 825.220(c)

                  o    This regulation prohibits employers from discriminating against employees for taking FMLA leave
                       and ensures that the terms and conditions of FMLA leave are not more stringent than those for
                       other types of leave.

        7.   Family and Medical Leave Act (FMLA) Regulations, 29 C. F.R. § 825.302(d)

                  n    This regu lation specifies t hat employees must provide notice of the need fo r FMLA leave as soon as
                       practicable, typically within the same or next business day of learning of the need for leave.

    Maryland Law:
                                                                  6/ 8


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       1. Maryland Healthy Working Families Act, Md. Code, Labor and Employment§ 3-1305

                 o    This state law requires that employers keep health information related to employee leave
                      confidential and prohibits the dissemination of such information except under spec ific
                      circumstances.

       2.   Maryland Healthy Working Families Act, Md. Code, Labor and Employment§ 3-1306

                 o    This law stipulates that employers ca nnot implement policies that arc more restrictive for sick and
                      safe leave than for other types of leave, ensuring equal treatment.

       3. Maryland Fair Employment Practices Act, Md. Code, State Government§ 20-606

                 u    This act prohibits discrimination in employment on the basis of an individual's use of leave ,
                      ensuring that leave policies are applied uniformly w ithout bias.

   By failing to maintain the confidentiality of my FMLA leave details, revealing differential treatment in the
   application of FMLA policies, and making my FMLA policy more rigid than those for other types of leave, these
   act ions may constitute violations of both federal and state laws regardin g the confidentiality, non-discriminatory
   application of leave policies, and eq ual treatment of leave policies.


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   ■ Bo ok t ime to m eet w ith m e

      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410-252-8058 x 109

      OH A NA                    2 12 W Pndon1a Rd
                                 T1mon1urn. ri10 21093
                                 www .olanet fitness.com



      "Culture eats strategy for breakfast"



   From: Rich Hartman <Rich.Hartman@ohanagp.com>
   Sent: Wednesday, June 12, 2024 1:43 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; IT.Support <IT.Support@ohanagp.com>; IT.Bu sinesslntelligence
   <IT.Bl@ohanagp.com>
   Cc: Glenn Norris <glen n@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
   Subject: Re: Time off for FMLA

   As mentioned in my email to you on January 25, 2024,

    "I want to reiterate the requirement that you provide advanced notice to Glenn and to me as soon as you becom e
    aware of the need to take leave. Our regular working hours are normally an 8 hour window between 7 am and 6 pm.
    If at any point during those regular working hours you realize that you are in need of leave, you can send an email,
    copying me and Glenn, simply stating that you are going to be taking FMLA beginning at a particular day/time and
    that you anticipate returning to work at a particular day/time. "
                                                                             7/ 8



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    FMLA hours are tracked by HR. Email Glenn and me the date and number of hours. Thank you



      Ri ch Hartma n
      VP of People and Culture
      Ghana Growth Partners, LLC

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      OH .A NA
        Growth PertntH5
                                  212 W Pc.1dor11a Rd
                                  Tunon rum. MD 21093
                                  www.p lan ctfitness.com



      "Cult u re eats strategy f or breakfast"




    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Wednesday, June 12, 2024 7:00 AM
    To: IT.Support <IT.Support@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; IT.Business! ntelligence
    <IT.Bl @ohanagp.com>
    Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
    Subject: Time off for FMLA


    @IT.Support@IT.8 1Just so you know, I am taking FMLA time for leave. Please allow tor extra time if you need
    anything from me. If there is a critical issue involving security or other imminent risk. Contact Darren. Darren will
    have additional instructions t hat w ill apply if necessary.

    @Rich Hartman Please let me know how you want the time tracked. I assume the hours already wo rked will apply
    directly to this week? pay period? Please provide me with the written policy explaining how it is used against
    existing hours.


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          Boo k time to meet w ith me

      Ryan Wagner
      Vice President of IT
      Ghana Growth Partners, LLC

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        G r owth Partner,
                                  Trmonrum. MD 21093
                                  www olanctfltness.com



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    Ryan Dillon-Capps

    From:                     Ryan Dillon-Capps
    Sent:                     Thursday, June 13, 2024 7: 12 AM
    To:                       IT.Support; IT.Businesslntelligence; Glenn Norris; Rich Hartman; Justin
                              Drummond
    Subject:                  FMLA Time


    Team, please prepare tor ton ight. Ann will confirm later today if you are available tor 1 st thing tomorrow morning
    checks.

    I did most of the prep and testing last night, but I am going to be out for a few hours today and not sure when I will
    be back on. It depends on how well things go today.

    @Glenn Norris@Rich Hartman@Justin Drummond This is FMLA. However, Rich, as you know from yesterday's
    emails, I didn't end up taking the time expected, and since Friday, I have worked every h our except for the 14 hou rs
    of sleep and roughly 10 hours of non-work related tasks, whi ch I think is 139 h ours. Not su re how you want to trac k
    that.


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     ■ Book time to meet with me

       Ryan Dillon-Capps
       Vice President of IT
       Ohana Growth Partners, LLC
                                 ofrlce 410-?5? 8058 x109
                                 212 W . Padonia Rd
                                 T1rnor11urn, r.110 21093
        Growth Part n•r ■

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       "Culture eats strategy for breakfast"




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    Ryan Dillon-Capps
    From:                                         Ryan Dillon-Capps
    Sent:                                         Thursday, June 13, 2024 2:48 PM
    To:                                           Justin Drummond; Stacey Wittelsberger (ESC); C. Victor Brick; Lynne
                                                  Brick B.S.N. M.A.; Terry Woods (Planet Fitness); Earl Ihle
    Subject:                                      Re: CRmCAL! READ ME NOW!! Rich Hartman Critical Situation!
    Attachments:                                  2023-06-16 1430 RichSuspendedDarren - ClaimingITAudit.pdf




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         Boo k time to meet with me



      Ryan Dillon-Capps
      V ice President of IT
      Ohana Growth Partne rs, LLC
                             off,w 410-?52-8058 xl09
                             212 W Padonia Rd
      OH .A NA
        Growth Partnero
                             T,mon,um. MO 21093


                             www.p lanetfitne~~.com


      "Culture eats strategy for breakfast"




    From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
    Sent: Thursday, June 13, 2024 2:46 PM
    To: Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey Wittelsberger (ESC)
    <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com >
    Subject: CRITICAL! READ ME NOW !! Rich Hartman Critical Situation!



    I am writing to inform you of a critical situation that requires your immediate attention and action.

    Today, Rich Hartman suspended Darren and handed him a note that Rich created and signed. This ac tion is highly
    irregular and concerning. In respon se to th is situation, I have instructed my team members to go home
    immediately for their safety and well-being. I have also texted a picture of the note to Victor. Lynne, and Justin for
    your reference. I am sending my wife to another location and am working on having security arrive at my home
    immediately.

    In addition to these steps, Rich Hartman's account has been disabled, and all his sessions have been revoked to
    prevent any further unauthorized actions.

    Immediate Actions Required

        1. Confirm Receipt and Immediate Attention : Please confirm that you have received this email and are
           taking immediate action .
        2. Review of Darren 's Suspension: An urgent review of Darren's suspension and its ci rcumstances is
           necessary.
        3. Security Measures: Ensure that all necessary security measu res are in place to prevent any further
           unauthorized actions by Rich Hartman.
        4. Legal Counsel: If you do not currently have legal representation for this matter, please confirm this in your
           response and secure an attorney by the first available moment. If you do have legal representation, please
           provide the contact information of your attorney immediately.

    Next Steps




                                                                2 / 10



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   We need to address this situation with the utmost urgency to prevent any further disruptions or potential liabilities.
   Ryan's actions continue to demonstrate attempts to limit damage, while Rich's actions are making this more
   difficult and continue to jeopardize Ryan's health and Ohana.

    Please confirm that you are on this immediately and provide an update on the steps being taken to address this
   situation .



   This message may include text created with the help of natural language processing.


          Boo k time to meet w ith me



      Ryan Dillon-Capps
      V ice Pres ident of IT
      Ohana Growth Partners, LLC

                                 office 410 252 8058 x109
                                 21 2 W Padonia Rd
        Growth Par·t n en
                                 T,monium. MD 21093
                                 www plan etfltness .com



      "Culture eats strategy for breakfast"



    From : Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
    Sent: Thursday, June 13, 2024 2:05 PM
    To: Rich Hartman <Rich.Hartman@ohanagp.com>
    Cc: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey
    W ittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.l hle@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
    Subject: Urgent: Legal Risks Associated with Inaction and Third-Party Vendor Activities




    Dear Owners,

    I hope this message finds you well. I am writing to outline the significant legal risks associated with the current
    handling of our internal investigation into fraud and hostile workplace claims. Additionally, I want to highlight the
    potential liabilities arising from the actions of our third-party vendors, and to stress our duty to stop workplace
    harassment.

    Please note that the following points address only the items we have discussed so far. We have repeatedly
    provided sufficient notification of these issues and have requested proper investigation with an independent third
    party, along with lawyers who act in good faith with transparency and honesty. We have also requested to know
    who is representing you in several possible matters.

    Potentia l Legal Risks from Inaction

        5. Retaliation Cla ims
                                                                           3 / 10



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    Under both Federal and Maryland law, it is unlawful to retaliate against an employee for reporting misconduct. Our
    failure to adequately address Ryan's complaints could be interpreted as retaliation, particularly if adverse actions
    follow his reports.

        •    Federal Law: Title VII of the Civil Rights Act of 1964
        •    Maryland Law: MD Fair Employment Practices Act
        •    Case Citation: Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53 (2006).

        6. Hostile Work Environment Claims

    Ignoring the allegations of a hostile work environment, especially those involving discrimination or harassment,
    can lead to significant legal consequences. The allegations of fabricated documents and unauthorized use of
    Ryan's name may support such a claim.

        •    Federal Law: Title VII of the Civil Rights Act of 1964
        •    Maryland Law: MD Fair Employment Practices Act
        •    Case Citation: Harris v. Forklift Systems, Inc., 51O U.S. 17 (1993).

        7. Whistle blower Protections

    Our obligations under t he Sarba nes-Oxley Act (SOX) and Maryland's Whistleblower Law require that we properly
    investigate reports of fraudulent activities. Failure to do so may be construed as retaliation aga inst Ryan for his
    whistleblowing activities.

        •    Federal Law: Sarbanes-Oxley Act (SOX)
        •    Maryland Law: MD Whistleblower Law
        •    Case Citation: Lawson v. FMR LLC, 57 1 U.S. 429 (2014).

        8.   FMLA Interference and Retaliation

    Ryan has been on intermittent FMLA leave since January 4, 2024. Any adverse actions or failure to properly
    investigate his complaints during this period could constitute FMLA interference or reta liati on.

        •    Federal Law: Family and Medical Leave Act (FMLA)
        •    Case Citation: Hoge v. Honda of Am. Mfg., Inc., 384 F.3d 238 (6th Cir. 2004).

    Duty to Stop Harassment

    Employers have a legal duty to take reasonable steps to prevent and promptly correct any ha rassment in the
    workplace. The continued employm ent of Andrew Dinh, d espite allegations of misconduct, creates liability for the
    company. Failure to address these allegations adequately could be seen as neglecting this duty.

        1.   Liability for Failing to Act

                o    Federal Law: Title VII of the Civil Rights Act of 1964 mandates employers to maintain a workplace
                     free of harassment and discrimination.
                o    Case Citation: Faragher v. City of Boca Raton , 524 U.S. 775 (1998) established that employers are
                     liable for failing to exercise reasonable care to prevent and correct promptly any discriminatory or
                     hara ssing behavior.
                n    Case Citation: Ellerth v. Burlington Industries, Inc., 524 U.S. 742 (1998) affirmed that an employer
                     can be held liable if it does not take proper steps to address harassment.


                                                                4 / 10



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    Potential Liabilities from Third-Party Vendor Activities

   The unauthorized use of Ryan's name by a third-party vendor can create significant legal liabilities for our
   company. Below are the relevant laws and case citations:

        1. Wire Fraud

    Submitting false attestations via an on lin e form by third-party vendors could implicate our company if part of a
    scheme to defraud.

        •    Federal Law: 18 U.S.C. § 1343 (Wire Fraud)
        •    Case Citation: Pasquantino v. United States, 544 U.S. 349 (2005).

        2. Identity Theft

    The unauthorized use of personal identifying information by third-party vendors could lead to identity theft charges
    against the company.

        •    Federal Law: 18 U .S.C. § 1028A (Identity Theft)
        •    Case Citation: United States v. Blixt, 548 F.3d 882 (9th Cir. 2008).

        3.   Unauthorized Access (Computer Fraud)

    Any unauthorized access to our computer systems by third-party vendors to submit false information could be
    considered computer fraud, for which the company may also be held liable.

        •    Federal Law: 18 U .S.C. § 1030 (Computer Fraud)
        •    Case Citation: United States v. Nosal, 676 F.3d 854 (9th Cir. 2012).

        4. Negligent Hiring and Supervision

    If a company fails to properly vet third-party vendors and those vendors engage in unlawful activities, the company
    can be held liable for negligent hiring and supervision. This includes the unauthorized use of an employee's
    personal identifying information, which can create direct liability for the company due to its negligence in hiring
    and oversight.

        •    Maryland Law: An employer can be held liable for negligent hiring if it fails to exercise reasonable care in
             selecting an independent contractor who is incompetent or unfit for the work, and th is negligence causes
             harm.
        •    Case Citation: Lattyv. St. Joseph 's Soc. of Sacred Heart, Inc., 198 Md. App. 254 (2011 ).

    Immediate Actions Required

    Given the serious nature of these issues, we require an update on the steps being taken to address them. It is now
    past 2 p.m., and Rich indicated action would be taken after 3 p.m . It is critical that Rich's actions are stopped
    immediately.

    If you currently do not have legal representation for these matters, please confirm this in your resp onse. You will
    have until [specific date, e.g., Monday, June 19, 2024) to secure an attorney. If you do have legal representation,
    please provide the contact information of your attorney by the same deadline.

    Next Steps

                                                                5 / 10


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   We are preparing to take the next steps t o ensure that these issues are addressed properly. We do not require a
   member of ownership to agree with the facts as presented, but we do expect acknowledgment that w e w ill b e
   speaking with an attorney about the items disclosed here and potentially other items that have not yet been
   disclosed. We need assurance that you will come to the table in good faith.

    Co nclusion

    Ryan's actions continue to demonstrate attempts to limit damage, while Ri ch and Glenn's actions are making this
    more difficult and continue t o jeopa rdize Ryan's health and Ohana. It is imperative that we take immediate and
    comprehensive actions to address these issues. Inaction or insufficient responses may lead to significant legal
    and financial liabilities for our organization.

    Thank you for your attention to this critical issue.


    This message may include text created with the help of natural language processing.


    II Book time to meet with me

       Ryan Dillon- Capps
       Vice President of IT
       Ohana Growth Partners, LLC

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       "Culture eats strategy for breakfast"




    From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
    Sent: Thursday, June 13, 2024 12:02 PM
    To: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>
    Cc: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey
    Wittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
    Subject: Re: Immediate Response to Rich Hartman Addressing Illegality and Cease and Desist



    @Rich Hartman Silly Forms I w ill try th is again with the form corrected

    I hope this message finds you well.

    I am w riting t o formally address and respond to the recent directives and communication s that have raised
    significant lega l and ethical concerns.

    Illegal Directives and Retaliatory Actions



                                                                            6 I 10


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    The email you sent today, June 13, 2024, demanding the addition of Global Administrators within a six-hou r
    window under threat of insubord ination charges, is not only inappropriate but also illegal. These action s constitute
    retaliation under the Family and Medical Leave Act (FMLA) and relevant Maryland state laws. Specifi cally:

         5.   Family and Medical Leave Act (FMLA) Violations :

                   o    Under 29 U.S.C. § 26 15(a), it is unlawful for an em ployer to retaliate against an employee for
                        exercising their rights under the FMLA. The directives and th reats issued in your email are clea r acts
                        of retaliation against me for taking FMLA leave.

         6.   Maryland Retaliation Laws:

                   o    According to Md . Code Ann .. Lab. & Empl. § 3-801 et seq., retaliation against employees for
                        reporting wo rkplace violations or exercising their rights is prohibited . Your actions have created a
                        hostile work environment and have directly undermined my professional responsibilities.

    Cease and Desist Demand

    Effective immediately, I demand that you cease and desist from any further retaliatory actions and coe rcive
    threats . This includes, but is not limited to, the following:

         1 . Retaliatory Directives: Any ord ers or demands that threaten disciplinary action or undermine my role and
            responsibilities.
         2. Coercive Threats: Any communications that use threa ts of insubordination or other punitive measures as
            a means of complia nce.

    Failure to comply with this cease and desist demand wi ll leave me w ith no option but to pu rsue all available legal
    remedies to protec t my rights and ensure a safe and fair working environment.

    Notification of Request for Confirmation

    Please be aware that I have requested Hartman Executive Advisors, including Phil Leadore and Dan Levett . to
    confirm their qualifications and involvement in the PCI DSS v4 review. Ownership have been included in this
    com munication thread to ensure full tran spa rency and oversight.

    Request for Confirmation

    Please confirm in writing by 1:30 pm EST that you have received this cease and desist notice and that you will
    comply with its terms. Fai lure to provide this confirmation w ill be taken as a refusal to comply, and I will proceed
    accordingly.

    Thank you for your immediate attention to this serious matter.




    This message may include text creat ed with the help of natural language processing.


    II Book time to meet with me

       Ryan D illon-Capps
       Vice President of IT
       Ohana Growth Partners, LLC
                                                                             7 / 10


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                             212 W P,HJon,;i Rd
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                             lImonium. MD 21093
                             www.planctfftncss corn


      "Culture eats strategy f o r breakfast"




    From: Ryan Dillon-Capps <Ryan. DillonCapps@ohanagp.com>
    Sent: Thursday, June 13, 2024 11:57 AM
    To: Rich Hartman <Rich.Hartman@ohanagp.com>
    Cc: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Just in.Drummond@ohanagp.com>; Stacey
    W ittelsberger (ESC) <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@oha nagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
    Subject: Immediate Response to Rich Hartman Addressing Illegality and Cease and Desist



    @Rich Hartman

    I hope this message finds you well.

    I am writing to formally address and respond to the recent direct ives and communications that have raised
    significant legal and ethical concerns.

    Illegal Directives and Retaliatory Actions

    The email you sent today, June 13, 2024. demanding the addition of Global Administrators within a six-hour
    window under threat of insubordination charges, is not only inappropriate but also illegal. These actions constitute
    retaliation under the Family and Medical Leave Act (FMLA) and relevant Maryland state laws. Specifi cally:

        3. Family and Medical Leave Act (FMLA) Violation s:

                 o    Under 29 U.S.C. § 261 S(a), it is unlawful for an employer to retaliate against an employee for
                      exercising their rights under the FMLA. The directives and threats issued in your email are clear acts
                      of retaliation against me for taking FMLA leave.

        4. Maryland Retaliation Laws:

                 o    According to Md . Code Ann., Lab. & Empl. § 3-801 et seq ., retaliation against employees for
                      reporting workplace violations or exercising their rights is prohibited. Your actions have created a
                      hostile work environment and have directly undermined my professional responsibilities.

    Cease and De sist Demand

    Effective immediately, I demand that you cease and desist from any furth er retaliatory actions and c oercive
    threats. This includes, but is not lim ited to, the followi ng:

        1. Retaliatory Directives: Any orders or demands that threaten disciplinary action or undermine my role and
           responsibilities.
        2. Coercive Threats: Any communications that use threats of insubordination or other punitive measures as
           a means of compliance.
                                                                8 / 10



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    Failure to comply with thi s cease and desist demand will leave m e w ith n o option but to pursue all available legal
    remedies to protec t my right s and ensure a safe and fair w orking environment.

    Notification of Request for Confirmation

    Please be aware tha t I have requested Hartma n Executive Advi sors, including [specifi c names], to confirm their
    qualificatio ns and involvement in the PCI DSS v4 review. Ownership have been included in this commun ica tion
    thread to ensure full transpa rency and oversight.

    Request fo r Confirmation

    Please confirm in writing by 1 : 30 pm EST that you have r eceived th i s cease and
    desist notice and that you will comply with its t erms. Failure to provide this confirmation will
    be taken as a refusal to c omply, and I will proceed ac cord ingly.

    Thank you for your immediate attention to this serious matter.




    This message may include text created with the help of natural language processing.


          Boo k time t o m eet with m e


      Ry a n Dillon- Capps
      Vice President of IT
      Ohana Growth Partners, LLC

                                  oflu;lc! 410 252-8058 /109

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        Growth Par t n e r s
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                                  I 1monium. MD 21093
                                  wwv, plan etfitn e5., com



      "Culture eats strategy for breakf ast"



    From: Rich Hartman <Rich.Hartman@ohanagp.com>
    Sent: Thursday, June 13, 2024 9:01 AM
    To: Ryan Dillon-Capps <Ryan.Wagner@ohanagp.com>
    Cc: Karen Debus <ka ren.debus@ohanagp.com>
    Subject: Acknowledgem ent Required

    Rya n,
    You have received repeated and multiple demands from your supervisor, the comp any president , and the owner of
    Ohana Growth Partners (OGP) since May 21, 2024 to add them and oth er individuals as Global Administrators. You
    have repeatedly refused and failed to obey these directives. Such condu ct consti tutes insubord inati o n whic h
    violates Sect ion 1 of your January 8, 2020 Employment and Non-Disclosure Agreement requiring t hat you
    " faithfully and diligently perform .. . d uties as may be assigned by management from time to tim e." In addition, the
    refu sals violate Section 6.1 of the Ohana Associates Handbook ("Standards of Conduct" ) whic h prohibits the
    " failure to follow lawful instruc ti ons of a supervisor."



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    There are countless reasons why a company should have several Global Administrators. whether being tied up in
    business meetings, vacations, leaves of absence, or other activities that cause a single Global Administrator to be
    unavailable. Your communication yesterday about your need for FMLA time off, to which you are entitled , makes
    self-evident the reasons for the company's demand to have several Global Admin istrators.

    Glenn has signed an agreement on behalf of OGP with Hartman Executive Advisors (HEA) and demand s that you
    add Phil Leadore from HEA as a Global Admini strator by 3 pm today. We also instruct you to hold off on any major
    updates or changes to t he system until HEA has had a chance to evaluate Ghana's IT systems.

    We have evaluated the multitude of reasons for your refusal to obey management's directives. We are not looking
    to debate these reasons any further, rather we require a simple acknowledgment that you will fo llow the directive
    or not and then do so immediately by 3:00 pm today. Failure to acknowledge this directive and to add Phil Leadore
    as a Global Administrator by 3:00 pm today will require the company to take appropriate action .

      Rich Hartman
      VP of People and Culture
      Ohana Growth Partners, LLC

                             uff1c1,; 410 252-8058 x11t,
                             21 2 W P:idonia Rd
        Growth Partner•      I Imunium MD 21093
                             wwvv.planetf1tness.com



      " Culture eats strategy for breakfast"




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  Ryan Dillon-Capps

  From:                 C. Victor Brick
  Sent:                 Thursday, May 23, 2024 11:59 PM
  To:                   Ryan Wagner
  Cc:                   Justin Drummond; Terry Woods; Earl Ihle; Lynne Brick B.S.N. M.A.; Stacey Wittelsberger
                        (ESC)
  Subject:              Re: Follow up on write up for insubordination and not following Glenn's Mandate from
                        yesterday to restore Ryan Brooks' Admin rights


   I am ordering you to restore Ryan Brooks Administrative Rights immediately. Failure to do so would be
   perceived by me as gross insubordination.

   I am with Vicki as she undergoes yet another round of chemo. Please restore Ryan's Administrative
   Rights by EOB tomorrow, Friday, 5/24. I will not be on email again until after the Memorial Day weekend.
   But I expect Ryan Brooks to have his administrative rights restored by EOB tomorrow.

     C. Victor Brick
     CEO
     Ohana Growth Partners, LLC

                            cell 410-365 - 1801
                            212 W . Padonia Rd
     OHANA                  T1monium, MD 2 1093


                            www.planetfitness.com

     "Culture eats strategy for breakfast"



   From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Sent: Wednesday, May 22, 2024 4:23:24 PM
   Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Terry Woods <terrywoods4@comcast.net>; Earl Ihle
   <Earl.lhle@ohanagp.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A. <lynne@ohanagp.com>;
   Stacey Wittelsberger (ESC) <srector@exeterstreetcapital.com>
   Subject: Re: Follow up on write up for insubordination and not following Glenn's Mandate from yesterday to restore
   Ryan Brooks' Admin rights

    I am writing to bring to your immediate attention several critical issues that have recently come to light within our
    IT infrastructure. We are currently awaiting responses from PAX8 and DATTO regarding available options.

   To provide a brief overview, we have addressed most of the systems w ithin our knowledge base, but an unusual
   situation has arisen concerning the Code2 account. This account was set up within our own tenant and configured
   with a single user account to manage alerts, billing, and ensure functionality. We are in the process of addressing
   these issues with Code2 and will coordinate with LeeAnn tomorrow to reconfigure the billing in accordance w ith
    our current IT billing policy.

    Recently, Ryan Brooks reported an external identity error. Assuming basic steps had been taken, I provided him
    with additional uncommon steps to investigate. Upon reviewing the issue myself, I identified a problem at the first
    step and instructed Ryan to follow up with Microsoft as I was unable to access my computer at the time. Ryan
    indicated he was too busy and wou ld address it the next day. However, upon my inspection, it became evident
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  that no actions had been taken, necessitating immediate intervention from my end to meet our attestation
  submission requirements.

  We are encountering several abnormalities that raise concerns about the proper management of our IT systems.
  There are indications that Ryan's user account, which I have extensively reviewed, may be linked to these
  irregularities. Despite his assertions that the reseller account constraints prevented certain actions, he managed
  our tenant, used our tax ID, and redirected invoices to himself rather than the AP team. This deviation from proper
  process raises suspicions about potential overcharges. I have preserved screen shots before any changes were
  made for further investigation.

   I have instructed Ryan to replace any user accounts with managed identities, which align with current standard
   practices for enhanced security and management. Alarmingly, it appears that the account used to bind our entire
   tenant key was shared among multiple people, compromising our security posture. The correct approach should
   have involved storing the master key in a proper cryptographic key storage vault. I am currently assessing the risks
   associated with potential compromise, corruption, or deletion of this account and verifying the key's location
   using secondary identifiers.

   This situation underscores a severe lapse in judgment and has placed our organization at significant risk. Reckless
   actions such as these, including the mishandling of tenant directory keys and improper grounding or mounting of
   equipment leading to physical damage, are not mere performance issues but represent substantial threats to our
   operational security.

   I need a formal acknowledgment of receipt of this email. The gravity of these issues cannot be overstated, and
   there is evidence suggesting federal felonies may have been committed during employment with Ohana.
   Additionally, discrepancies have been identified in financial statements submitted to the bank, and threats have
   been made to compel the head of IT to violate PCI compliance.

   Please confirm receipt of this email as a matter of urgency.

   This message may include text created with the help of natural language processing.


    El Book time to meet with me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410-252-8058 x109

      OH.ANA
       Growth Partner•
                                 212 W . Padonia Rd
                                 T1monium. MD 21093
                                 vw,w .planetfitness.com


      "Culture eats strategy for breakfast"



    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Wednesday, May 22, 2024 2:14 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Terry Woods <terrywoods4@comcast.net>; Earl Ihle <Earl.lhle@ohanagp.com>; C.
    Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.<lynne@ohanagp.com>; Matt Norris

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  <Matt.Norris@ohanagp.com>
  Subject: Re: Follow up on write up for insubordination and not following Glenn's Mandate from yesterday to restore
  Ryan Brooks' Admin rights

  @Glenn Norris, I am responding to the active threat that shut down the entire company's email, and currently
  poses an ongoing risk in other critical areas. I am working as fast as I can on this critical risk and missed
  calls. Emails likely failed because of the mail flow issue, and I saw your text when I went to update the
  post, noticing the missed call.

  All we know at this moment is that there are no incidents reported, removing code2 resolved the company wide
  mail flow issue, and Ryan Brooks/Baltimore Consulting have exclusive access to manage this.


   This message may include text created with the help of natural language p rocessing.


   El Book time to meet with me
   From: Glenn Norris <glenn@ohanagp.com>
   Sent: Wednesday, May 22, 2024 2:10 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
   <karen.debus@ohanagp.com>; Terry Woods <terrywoods4@comcast.net>; Earl Ihle <Earl.lhle@ohanagp.com>; C.
   Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M .A.<lynne@ohanagp.com>; Matt Norris
   <Matt.Norris@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
   Subject: Follow up on write up for insubordination and not following Glenn's Mandate from yesterday to restore Ryan
   Brooks' Admin rights

                                                                                                                           h
   Ryan, I have tried three different methods to communicate with you today- hence this is the 4' way by email.

        1.   Cell phone
        2.   Text to Cell Phone
        3.   Teams Call
        4.   Email since all others failed

   I have seen emails from you today, so I presume you are working, what is your schedule today?

    I did not see your email to the ownership group until this morning. I have read it. It is below in gray.

    rom: Ryan Wagner ~Ryan.W:agner@o                                  .cmm >1
   Sent: Wedrresda'/, Ntay 22., 202'4 2:@.514
                c::::.:;.;;;,,-e~=::ac,;:,;::..:;:,;a:, ; Earl Ihle  .lhle@,ohanagp.e::om>; Earl Ihle <Ear l.lhle@ohanagp.com>; Earl Ihle {AOL)
                                                          lanet Fitness) <1erry.W0ods@0hariagp.com>; Justin Dn.irr,imond
                                                          >' Lynne Brick B.S.N. M .A. .::lynne@obanagp.com>; Terry Woods (Planet Fitness)

                                                               Y,an Brooks's Reinstatement and System Access



    I am writinglto orma'tly address a series of crittcal issues regaFGHng tt,,e reinstatement of system access for Ryan
    Brooks, who was recently rehired 61,1 CFO Glenn Norris. Mr. Brook's's refusal to comply with essential security and
    eomRUance FJroto~ ls oses signiticant risks to our organization's data security and PCI DSS compliance.



                                                                                  3/6



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    Ryan Brooks, the developer otthe Kiosk App used on our PCl-compliant network, was previously terminated due to
    hiS failure to comply with PCI DSS Requirement 6.2.2, which mandates annual training on software secu rity for all
    software development personnel. This app is designed for members and guests to sign up and input PCl-protected
    data, making compliance w ith this requirement non-negotiable. Despite this, CFO Glenn Norris has rehired Mr.
    Brooks and now demands that global ad min-level access be granted immediately.

    Curre:nt Issue~

    Non-Compliance with PCI 0$S Requirements

    Jraining (Requirement 6.2.2): Mr. Brooks has not completed the required annual security training. This training is
    crucial to ensure secure software development practices and the protection of card holder data. For Mr. Brooks t o
    remain associated with Ohana, he must complete t his training before being allowed to work w ith us.
    Code Validation (Requirement 6.2.3): Mr. Brooks is refusing to participate in code validation processes, which are
    essential to ensure that our software is free ofvulnerabilitres and compliant with PCI DSS st andards.
    Change tv1anagement (Requirement 6.4.5): Mr. Brooks, who also functions as a systems ad min, is refusing to
    participate in necessary change management mcesses. These Rrocesses are critical for maintaining control and
    oversight over system modifications
    Violation of Least Rrivilege Principle

    GlobalAdmin Access (Requirements 7.2.2 and 7.2.4): cF·o Glenn Norris is insisting on granting Mr. Brooks global
    admin access without providing a valid justification. This demand violates the principle of least privilege, which is
    fundamental to minimizing tl'ie risk of unauthorized access and potential security breaches. Furthermore, it
    violates Requirement 7.2.4, which mandates access controls to enforce least privilege and prevent users from
    exceeding their authorized Rrivileges
    Security Risks.

    Lack of Oversight: Providing global ad min access to Mr. Brooks, who refuses to adhere to security protocols and
    processes, significantly increases the risk of introducing vulnerabilities int o our systems.
    Potential for Unauthorized Changes: Without proper participation in change management and validation
    b rocesses, there is a nigh risk of unauthorized or oorly managed changes that could compromise our systems
    and data.
    Unauthorized Changes and lr:lil act on Operations.

    f -Ystem Measures CompliaAce (Requirements 5.3.3, 5.3.4, 5.3.5, 5.2.1, 5.4.1 ): These requirements involve
    maintaining se·c ure configuraUons, protecting all systems from malicious software, and ensuring anti-malware
    mechanisms are active and up-to-date. ComQliance with these standards is crucial for protecting our systems
    from vulnerabilities and attacks
    Change Control and Development(Requirements 6.3.1 , 6.3.3, 6.5.1, 6.5.2): These requirement s focus on secure
    software development practices, managing changes to the system environ ment, and establishing a Change
    Control Board to review and approve changes. Unauthorized changes by Mr. Brooks have disrupted these
    processes, requiring extensive validation and correction efforts
    ~ccess Management (Requirements 8.2.1, 8.2.2, 8.2.4, 8.2.5, 8.2.6, 8.2.7, 8.2.8, 8.3.4, 8.3.5, 8.3.6, 8.3.7, 8.3.8,
    8.3.9): These requirements govern the management of user accounts and authentication methods, including
    f   Ultifactor authenticatron. Mr. Brooks's failure to comi?lete these tasks has led to gaps in our access
    management processes
       ccount and Access Controls (Requirements 8.4.1, 8.4.3, 8.5.1, 8.6.1 , 8.6.2, 8.6.3): These involve ongoing
    management of user identities and authentication mechanisms. Due to a lack of personnel, I have had to manage
    these tasks, adding to my workload.



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    Log Management (Requirements 10.1.1, 10.2.1.2, 10.2.1 .4, 10.2.1.5, 10.3.1, 10.3.2}: These requ irements ensure
    that logging mechanisms are in place to track access and changes to the system. Mr. Brooks made several
    unauthorized changes that comRromised our loggtng integri~. necessitating corrective actions on my part.
    Efforts to Resolve Issues

    I completed the SAQ as directed by GeoffVanMaastricht, the head of corporate security. Despite offering
    numerous solutions to Glenn Norris, i,ncluding a meeting with Geoff to find a workable solution and alternative
    means to complete necessafytasks, Mr. Norris has refused to provide clarity on Mr. Brooks's work. This lack of
    transparency hamRers our abili to adhere to the least rivilege principle (Requirement 7 .2.2).
    RecommendattonC--

    To address these issues while ensuring the security and compliance of our systems, I recommend the following
    actions.

    Mandatory Traintng and Compliance (Requirement 6.2.2): Before granting any level of access, Mr. Brooks must
    1
    complete the required PCI DSS training and agree to participate in all necessary security and compliance
    Rrocesses, including code validation and change management

    Controlled Access (Requirement 7.2.2): Access should be limited and incrementally granted based on the
    successtul comi:;,letron of specific security training and compliance tasks. Global ad min access should only be
    considered if absolutely necessa!Y. and justified.

    Regular Monitoring and Auditing (Requirement 10.6): Implement strict monitoring and auditing of Mr. Brooks's
    activities to ensure compliance with securi J:!Olicies and quickly detect any unauthorized actions.

    Conclusion

    My primary responsibility is to safeguard our company's data and ensure compliance with PCI DSS standards.
    Granting global admin-level access to Mr. Brooks without ensuring compliance with security training, code
    validation, and change management processes poses significant risks. I strongly urge the Board to support these
    recommendations to rotect our systems and maintain comRliance.

    I am available to discuss this more and RrDVide additional information as needed.

    ifhank you tor your attention to this critical issue

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    E1 Book time to meetwftb me
    I
        Ryan Wagneri
        v ·ce Pr i~   of IT
            ana rowth Partne


        OH.ANA
         Growth Partners     Timoni.um, MD 210
                             www.planetfitness.com


        "Culture eats strateg for breakfa



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    I am giving you until 5PM today to restore the Ad min Rights to Ryan Brooks . Otherwise you will receive a 2"" write
    up. If you want to get on a call with the CEO, President & CFO to discuss your position, we are available.

    Of course, as I said to you yesterday, there will be no more recorded calls allowed as part of your demands.

    Ryan Brooks has no current requirement to be PCI Compliant and take the certification for PCI DSS 4 training. I do
    have a call into Geoff VanMaasstricht at Corporate to verify this.

    The IPAD/Kiosk solution that Ryan Brooks is developing has not been completed or gone live yet. There is not a PCI
    Compliance risk right now and from my research may never be a ri sk based on utilizing the Vendor Network as the
    secure network. There is no reason for Ryan Brooks to be part of the report to PF Corp for PCI DSS 4 certification.

    Ryan Brooks is committed to completing the course work if required, he has been participating in the Control
    Board Tuesday Calls and he will collaborate with you on any changes to our systems and you w ill do the same to
    him on changes to our IT Environment. Like the SQL Server being downloaded by you to your personal computer at
    your home. This must be stopped. All records from these downloads to a person al computer must be permanently
    deleted- we need to scrub that computer.

    I have attached multiple emails from yesterday that document the communication and mandate I set forth.

    Please have Ryan's Ad min Rights restored by 5PM today.

    Glenn




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    Ryan Dillon-Capps
    From:                     Ryan Wagner
    Sent:                     Wednesday, June 5, 2024 10:51 AM
    To:                       Glenn Norris; Justin Drummond
    Cc:                       Rich Hartman; Matt Norris; Stacey Wittelsberger (ESC); C. Victor Brick; Lynne Brick
                              B.S.N. M.A.; Terry Woods (Planet Fitness); Earl Ihle
    Subject:                  Re: At a stand still since no admin rights have been returned to BC/RB


    @Glenn Norris

    As you may recall, Geoff VanMaastericht from PFHQ and I both agree on the interpretation and application of PCI
    compliance regarding this issue. Previously, you attempted to coerce me into violating PCI compliance by labeling
    my refusal as insubordination and threatening to write me up if I did not comply with your demands. It's important
    to note that both accusations of insubordination and threats of write-ups are effectively viewed as coercive threats
    under the law.

    Unfortunately, I cannot comply with unlawful or unethical orders.

    Additionally, these coercive tactics have previously triggered severe panic attacks and other complications that
    negatively impact my PTSD, for which I am currently on FMLA leave. Such actions not only exacerbate my
    condition but also violate FMLA protections.

    During our meeting, you mentioned to Geoff, Justin, and myself that you would provide information about what
    tasks Ryan Brooks was assigned to work on. This information is crucial for adhering to the least privilege
    requirement under PCI DSS 4. I recommend we start with that, as Ryan Brooks has other unique disqualifications
    that we will also need to address.

    Knowing the specific tasks required may allow me to propose alternative solutions. If Ryan Brooks is the only
    person capable of performing these tasks, we will need to discuss options to address his other disqualifications as
    well.


    The email you responded to is what Ryan Brooks, or any
    developer, would prepare and provide when they are no
    longer supporting an application/website.

    This message may include text created with the help of natural language processing.


    f:l Book time to meet with me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC
                                 o ffice 410-252-8058 x109
                                 212 W. Padonia Rd
      OH.ANA
        Grow,11 Pertneu
                                 T1mornum. MD 21093


                                 www pl;m etfitn ess com

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      "Culture eats strategy for breakfast"



    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Wednesday, June 5, 2024 10:26 AM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
    Cc: Rich Hartman <Rich.Hartman@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: At a stand still since no admin rights have been returned to BC/RB

    Ryan, as your Executive Group in OGP has individually and in total made demands to you to give full
    admin rights back to BC/RB this request is not in line with our demands.

    You have received these email demands over the last 2-3 weeks from Glenn, Justin and Victor.

    You have not completed these demands.

    Please give the ad min rights back to Ryan Brooks/BC.

    The below requests by you to Ryan Brooks will not occur.

    Our number one priority is to have you do what we demanded.

    Your refusal to follow through with the demands are documented as insubordination.

    Without you doing what we ask, we are currently not making any of the below changes.

    Glenn




      Glenn Norris
      Chief Financial Officer
      Ohana Growth Partners, LLC

                             office 410-252-8058 x108

      OH ... MA              cell 410-365-2591
                             212 w. Padonia Rd
                             T1monium. MD 21093
                             www.planetfitness com

      "Culture eats strategy for breakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Wednesday, June 5, 2024 10:08 AM
    To: Ryan Brooks BC <rb@baltimoreconsulting.com>
    Cc: Glenn Norris <glenn@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>; Justin Drumm ond
    <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>
    Subject: Transition Documents

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    @Rya n Brooks BC Please provide us with the transition documents for the intranet and all other websites and
    applications that you previously handled.

    If possible, t hey should include
          • Codebase information: Details about the code repository, branch naming conventions, and commit
             history.
          • Architecture diagrams: Visual representations of the system architecture and how different components
             interact.
          • Deployment procedures: Step-by-step instru ctio ns on how to deploy the software or updates to the
              production environment.
          • Operational documentation: Inform atio n on monitoring systems, log file locations, and troubleshooting
              common issues.
              Contact information: Details of the previous m aintainers or project managers for further queries.
    If t hese docum ents or their relative equivalents already exist - please direct me to their current location. No one is
    expecting perfection, we would appreciate to have what you can provide us to pass it forward to whomever takes
    over this responsibility.


    This message may include text created with the help of natural language processing.


     El Book time to meet with me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410-252-8058 x109

      OH.ANA
        Grow th P ertne u
                                 21 2 W Padonia Rd
                                 TImonium. MD 21093
                                 www.planetfitness.com



      "Culture eats strategy for breakfast"




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       Subject: Re: Full Admin Access to IT Systems to OGP President- Ju,tin Drummond
       From: Ryan Wagner <Ryan.Wagncr@ohanagp.com>
       To: Justin Drummond <Jus1in. Dn1mmon~1ohan3£p.com>. lik nn Nonb <glcnn(!1oh:ma,gp.com>
       Cc: Rich H3rtman <Rich.H ar1m:m@ohanagp.con1>. Kan:n Ul!bu.s <k;:m.:n.Jebus((Co~'lnagp.com.... Stacey \Vittdsbcrgc:r (ES<.' >, srcc:torra c:xll!tcr:,tri.:c:tc:1pi1:1l.c.:om •• l .
       Victor Bric k <Viclor@ohanagp.com>. Lynne Brick B.S.:>I. M.A . <lynnc~t:uhanagp.com>. Terry \\'oods [Planet Fiuicss) -::Tcrry.Wooclsl11'ohanagp.cum' , Earl Ihle
       <.E,rl.lhle@'ohanagp.com>
       Date: May ·2s. 2024 8:00:00 AM
       Allachmcnls: imagcOO I .png. imagc002.png. 1magcOO.~.png. 1magc00-l.png. imagcOOS.png. ohanagplogo168x50- ~~f,c<lc'l-cJd-l--16XS-h<>?-l-9ba~.1c3c09ac.pn),\.
       ohanagrowthpanncrslinallogo _7fo8dba1-2909--10cc-8.Wa- l 2ba06da3Jc6.pnf\. Outl0<1k-iw I id5kd.pnf\, imagc.png. imai;c.png. imagc.png. im:igq,ng. imagc.png.
       Outlook-pr2hqniq.png


       Over the weekend, we continued working t o address security l!aues, audit our systems, and perform tasks related to M icrosoft's recommendattons. This has allowed us to reduce
       some of the security restrictions put in place In response to t he unautho rize d access incident. We will continue to monitor our systems with heightened vigilance and are prepared
       to act quickly if additional unaut horized access is detected.

       We have work remaining to do. but it would be helpful to know what Ryan Brooks was supposed to do because I have d ifficulty understanding the j ustification for his recent work.

       This data is based on the last week:
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                                                                                              Wd, ..,...,....,)fdc;r.,~t


       This data is reflective of where we are at now.



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          Ryan Wagn er
          Vice Presiden t of IT
          Chan a Growth Partners, LLC

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                                                 \ 'UNI p l,ll'lt,; l f 1tnC\>~ cc,m




          " Culture eats strategy for breakfast"



       From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
       Sent: Sunday, May 26, 2024 8:44 PM
       To: Justin Drummond <Justin.Drummond@ohanagp.com>; Glenn Norris <glenn@chanagp.com>
       Cc: Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus <karen.debus@ohanagp.com>; Stacey Wittelsberger (ESC) <srector@exeterstreetcap1tal.com;,,; C. Victor Brick
       <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A. <lynne@ohanagp.com>, Terry Woods (Plal'let Fitness) <Terry.Woods@ohanagp.com>, Earl Ihle <Earl.lhle@ohanagp.com>
       Subject: Re: Full Admin Access to IT SV3,tems to OGP President• Justin Drummond

        @Justin Drummond Aloha.

        PCI Compliance is critical, and violations of PCI c.ompliance will impact all of Planet Fitness.. PCI OSS4 covers more than what was previously covered:

                       PCI DSS requirements apply to enobes with enwonmenls where account data (cardhotder data and/or sensitive authenoca11on data) 1s stored
                       processed, or (r;)nsnutt.ed, and entitles with environments !hilt can impact lhe secunty of the COE. Some PCI OSS requirements may illSO
                       ilpply to entities with environments lhat do not store, process, or transmit account data - for exilmple, ent1lles that outsource payment
                       operations or manilgcment of their COE ' . Enblies that outsource their payment environments or p;iymenl operations to third parties rem a11,
                       responsible for ensuring that the account data is protected by the thifd p3rty per applk:.'lble PCI OSS requuements.
                                                                                                   Here is a single exam~e for M36S and Azure
                                                                                      M36S: lntune • Manages our iPads and can impact the CDE's security.
                                                              Azure. The Kiosk platform Is hosted in our Azur~ environment and qualifies as custom software designed for the COE.

        PCI OSS 4 mandates that access be limi ted to the minimum nec~sary for individuals to perform their job responsibilities. This principle of least privilege is why I have repeatedly




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      requested details on the specific access needed. While Ryan Brooks is uniquely disqualified. knowing the precise requirements allows me to provide alternative solutions to ens1.1re
      tasks are completed in a timely manner.

      Alternatively, you can schedule a meeting with Geoff VanMastricht and me to discuss this. Geoff oversees the PCI Compliance process, ilnd with all the information he has. he is
      capable of making an informed decision about whether the action you are requ esting is allowed or not. Therefore , I do not foresee any issues with implementing the actions he
      approves.
         Only Authorized Personnel can approve access. and for us, this includes Geoff and me, as we are r esponsible for and knowledgeable about PCI DSS 4 Compliance requirements.

                                              These options have been provided on multiple occasions. I cannot comply wi th any unlawful or unethrcal order.

        Over the weekend and each night, I have vigilantly monitored our environment to prevent unauthorized access and continued auditing our systems. I have repaired security hsues
       around our backups, recreated missing audits, replaced missing legal hofds, and implemented further enhancements to ensure backups, logs. legal holds, and other critical items are
        properly protected and monitored. Fortunately, I believe our critical data remains uncompromised due to multiple layers of protection in various systems, some of which appear to
                                                                                       have gone unnoticed.


           I have made arrangements to ensure swift actions are taken to maintain or restore PCI
       compliance in the event that I am unavailable or unable to ensure PCI compliance is maintained.
      I will not be available for discussions on Monday {a company holiday) or Tuesday as my schedule is fully booked, and I w ill continue to otter these options to you via email. If you
      inform me as to the work that Ryan Brooks urgently needs to do. then I will arrange for it to be performed. Alternatively, upon request. I will arrange a meeting with both of us to
       review the request together.

      Additional information w ill be provided as soon as possible.




          Ry an waon er
          Vice President ol IT
          Ohana Growth Partne r s, LLC

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          "Cult ure eats str at egy f or breakf ast"



        From: Justin Drummond <Justin.Drummond@ohanagp.com>
        Sent: Friday, May 24, 2024 11:01 AM
        To: Glenn Norris <glenn@ohanagp.com>; Ryan Wagner <Ryan.Wagner@ohanagp.com>
        Cc: Rich Hartman <Ric.h.Hartman@ohanagp.com>; Karen Debus <karen.debus@ohanagp.com>
        Subject: Full Admin Access to IT Systems to OGP President· Justin Drummond

        Ryan,

        As stated below by Glenn, the company need!. to have access to our IT systems. Glenn has specifically asked you on multiple occasions to grant full adm,n access to all things Chana
        Growth Partners related in our IT ecosystem t o him and me. We do not agree with your actions as of late to block everyone but yourself from having access to our data. information,
        systems, etc. There should never be a single individual in any instance that has sole access for many reasons. I think you would agree to that.
        It seems as though most of your concern is with Ryan Brooks and/or Glenn having access. My immediate request is that you grant me full admin access today. As President of the
        company, I need to be the reserve/backup for IT access and all aspects of our business.




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-    .
            Again, to be dearI I need to have full ad min access 1 the exact same level as you by 5pm today. Please email me as soon as this is completed.

            Thank you.

              Justin Drummond
              President
              Dhana Growth Partners, LLC

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              ..Cultu re eat s st rategy for b r eakf ast "



            From: Glenn Norris <glenn@ohanagp.com>
            Sent: Friday, May 24, 2024 9:33 AM
            To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
            Cc: Justin Drummond <Jus-tin.Drummond@ohanagp.com>; Rich Hartman <R1ch.Hartman@ohanagp.com>; Karen Debus <karen.debus@ohanagp.com>: Glenn Norris
            <glenn@ohanagp.com>
            Subject: Response to RW's email of Unauthori1ed Acces.s Incident

            Ryan. since we all disagree with your actions taken lo remove Ohana·s & JWB Foundation's Admin rights from Ryan Brooks/Baltimore Consult1ng . 1h1s "trap/honcyµo1·
            email is once again an action taken by yoo that we disagree with anti would once again demand that you cease anti desist.

            Our mandate from minute one when you removed Ryan Brook's Admin Rights was to make a demand to you 10 reverse yuu1 action and iestorc tus atlm,n 119111, . Soon
            thereafter. we demanded that you give full Admin rights to Justin and me- none of these demands have been implemented.

            At this point, you have locked us out of the JWB Foundation admin nghts- you never should have done this.

            I find 1t interesting that yoo state this 1n your email below: "because he has been involved 1n our systems for so long without any superv1s1on· - this seems to point to
            your derehr.t1on or your supervisory duty.

            Our stance has not changed- we want Full AOmin rights restored to Ryan Brooks and add Full Adm1n rights to Justin and Glenn.

            Your lack of communication and not following mandates from your supervisor(s) MP. p~1r.ing you in a constant smtr. or reprimand for m~ubordinauon

            Glenn


              Glenn N orris
              Chief Financial o mcer
              Ohana Growth Pa r t n er s, LLC

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                                      r,rnu,'IJm IJIO 11091
                                      'INN. r,f,tf ll t111n 1..,•. q,tn



              ..Cu lture eats strategy for breakfast"


            From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
            Sent: Friday, May 24, 2024 8:00 AM
            To: Karen Debus <karen.debus@ohanagp.com>; Justin Drummond <Justin.Orummond@ohanagp.com>; Terry Woods (Planet Fitness) <ler ry.Woods@ohanagp.com>, Earl Ihle
            <Earl.lhle @ohanagp.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M .A.<tynne@ohanagp.com>; Stacey W1ttelsberger (ESC} <srec-t or@exeterstreetcap1t al.com>;
            Glenn Norris <glenn@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>
            Subject: Unauthorized Access Incident

            I set up a trap called a honeypot for Ryan Brooks·s accounts and several other areas of concern because he has been mvolVctl 1n our systems for so long without any
            supervision !hat I was unsure what he may have done that he could exploit. I remained on call overnight to monitor for activity. My concerns were vallda ted on 2024.
            May 23. at 8:55 AM EST (12:55 UTC). when the below actions were detected

            Self-service                                                    Self-service password
            Password                UserManagement                          reset flow acuvity    Success   User staned the mobile app code venficat1on option
            Management                                                      progress
            Self-service                                                    Self-service password
            Password                UserManagement                          reset flow activity   Success   User was presented with ver1hca11on op11ons
            Management                                                      progress
            Self-service                                                    Self-service password
            Password                UserManagement                          reset now activity    Success   User submined their user ID
            Management                                                      progress
            Self-service                                                    Self-service password
            Password                UserManagement                          reset flow activity   Failure   User cancelled before µassiny the requuetl au1hen1icat1on method~
            Management                                                      progress
            Self-service                                                    Self-service password
            Password                UserManagement                          reset flow act1v1ty   Success   u ser started the mobile app not1l1cat1on ver1hcat1on option
            Management                                                      progress
            Self-service                                                    Self-service password
            Password                UserManagement                          reset flow activity   Success   User was presented with ver1ficat1on options
            Management                                                      progress

            Self-service            UscrManagcment                          Self-service password Success   User submmed their user ID
            Password                                                        reset flow act1v1ty




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        Management                                                       progress


        These actions were taken from IP Address 108.50.50.107
         d l 45cc3-7496-4857-95'18-U802645&18.e rbroolts@ohanagp.com                IO!J.5MU07
         d1145cc3-74'96-4357-9518-1180~bl8e rbroolts~nagp.com                       108.50.50.107
         d1145cc3-7496-4357-9518-ll802&15bl8e rbroolc.s@ohanage.com                 108.50.50.107
         d1145cc3-7496-4357-9518-1180~bflle rbrooks@ollanagp.com                    108,50.50.1]
        ,a1145cc3-7.496..S357-9518-l l8026451118e ·rbrooks@ohanagp.com              108.50.50.107
         d1145c«:e•7496-4357-9518-1t802645bf8o '!><oolts@ohanagp.com                108.50.50. 107
         d0t5cc3-=1A2!i-4357~18-t;_~bf8e rbroo4<s@ohana1QJ.con:i                    ~ .50.50.10
        This is a Verizon Business mana\'.jcd circuit.
          lletRange:        108.0.0.0 • 108.57.255.255
         c1oa:              1oa .56. 0.0115, 1oa.o.o.0111, 1oa.32.o.e111, 1cs . .:a.e.01u
          U<!tt,aae:        VIS·BLOCJC
          llet11,ndle :     r1f f • 103·0·0·0·1
          P•ron<:           IIEH08 (llcT• l08·0•0·0~)
          Uet'Type.:        Di re-ct Allocation
          Orig!=:
          Ort,t• n1ation:   Vcri:.on 8udnt-•a (1-0CS)
          RegO•te:          200li·06·05
          Upd•t<d:           2022·05·31
          Ref :             http~: / / rdap.erin.nct/ rq:.i :.try/ ip/ l ea.e.0.0



        This matches one or the IPs commonly used with the Rbrooks account.
        j1145cc3-7496-4357-9518-l f802645bf8c rbroolcs@ohanagp.com 98.211.101.103
        j1145cc3-7496-4357-9518-U802645bl8e rbrooks@ohanagp.com 103.50.50. 107
        jll45cc3•7496-4357-9518-lf802645bl8e rbrooks@ohanaw.com 108.50.50.107
        j l l45cc3-7496-4357-9518-lf802645bf8e rbrooks@ohanagp.com 108.50.50.107
        Hl45cc3-7496-4357-9518-lf802645bf8c rbrooks@ohanagp.com 68.33.105.128
        Hl45cc3-7496-4357-95W-U802645bftle rbrooks@ohanagp.com 68.33.105.128
        jl145cc3-7496-4357-9518-U802645bl8c rbrooks@ohanagp.com 20.62.176.41
        jll45cc3-7496-4357,9518-U802645bl8c rbrooks@ohanagp.com 107.1.216.2:W
        j ) 145cc3-7496-4357-9518-US02645hf8c rbrooks@oha nagp.com  2a01: lll:fl00:2000~883<):3S3b
        :f1145cc3-7496-4357-9518-U802645bl8e rbrooks@lohanagp.com 2aOl:lll:fl00:2000::il83«353b
        j 1145cc3-7496-4357-9518-lf802645 bf8e rtirooks@ohanagp.com 2a0 l: ll l:fl00:2000::&83e:353b
        jl!45cc3•7496-4357-9518-lf802645bf8c rbrooks@ohanagp.com 2aOl:lU:fl00:2000::a83e:353b
        H145cc3-7496-4357-9518-ll802645bf8c rtirooks@ohanagp.com 2a01:lll:f100:2000::a83~:353b
        jl 145cc3,7496-4357 ,9518-118026451Jf8e rbrooks@ohanagp.com 2a01: 11 l:fl00:2000::8834!:353b
        H 145cc3-7496-4357-9518-ll802645bl8c rbrooks@ohanagp.com 2a01:111:fl00:2000::o63~:353b
        j )J45cc3-7496-4357-9518-ll802645bf8e rbrooks@ohanagp.com 2aOl:lll:fl00:2000::a83e:353b

        When a business experiences unauthorized access to ,ts systems. who we repon the 1nc1dent 10 vanes based on the nature and severny of the event. The good news
        is that once he tripped the honeypol I was able to take immediate acuon to prevent funhcr actions using the mcthOds used to gain access In add,uon. the account no
        longer had any access or contents that it previously had. and the togs do not detect any other successruf intrusion.

        Based on what we know. I need to ask one uncomfortable questmn.


                            Could anyone have directed Ryan Brooks to perform these actions?
        Just so you know. if someone had told him that he was au1h011zed. anyone following up on this investigation would no longer be looking at Ryan Brooks ror
        unauthomed access.
                                 However. this could start a PCI compliance 1nvesuga11on \\sth the named person being the focus or that inves11ga1,on.

              If Ryan Brooks could have mistaken something. I need to know immediately before the
                                             investigation reveals it.

        ~ llno~ t.me to meet v111h me

          Ryan Wagner
          V ice President of IT
          Ohana Growth Partne rs LLC

                                 <.,lh(c 410·l!t.l 805ts , lO'J
          OH ~ NA                212 II P.tt:•.IOIJ R'.l
                                 T,r,ethl,m f,m 11093
                                 ',' MN,   C'•"~ llrl!of ...... " t!''


          "Culture eats strategy for b reakfast"




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..
        Ryan Dillon-Capps
        From:                     Ryan Wagner
        Sent:                     Tuesday, June 11, 2024 9:32 PM
        To:                       Justin Drummond; C. Victor Brick; Lynne Brick B.S.N. M.A.; Terry Woods (Planet
                                  Fitness); Earl Ihle; Stacey Wittelsberger (ESC)
        Subject:                  Fw: Ohana Growth Partners PCI DSS Review Kickoff call



         Glenn stated that he would not hire Finchloom because they were not adequately vetted; a statement that Justin
         can confirm was made verbally.

         Microsoft recommended Finchloom as an expert in our Azure and M365 environment. Since Microsoft defines the
         standards for qualified companies and professionals in their IP, their recommendation carries significant weight.

         I could not find Hartman Executive Advisors listed as PCI DSS v4 advisors. Qualified companies and individuals
         performing such work are registered as QSAs. You can verity this by checking the PCI Security Standards Council's
         website: PCI Security Standards Council- Protect Payment Data with Industry-driven Security Standards. Training,
         and Programs.

         If you do find them listed, please inform me. I am giving Hartman Executive Advisors the same opportunity to verify
         their credentials in case I have made an error.

         At the bottom of the PCI Security Standards Council page, you will see that it states. "QSA Company has QSA(s)
         trained in PCI DSS v4 and qualified to perform PCI DSS v4 assessments."


             ' " QSA Company has QSA(s) ~rained in PCI DSS v4 ano qualified to perform PCI DSS v~ assess"'et'ls.




         Thank you for your attention to this matter.




         This message may include text created with the help of natural language processing.


         El Book time to meet with me
           Ryan Wagner
           Vice President of IT
           Ohana Growth Partners, LLC
                                       office 4 10-252-8058 x1 09
                                       212 W . Padonia Rd
           OHANA
             Growth P■rtn•n
                                       T1momum. MD 21093


                                       www .planetfitness.com


           "Culture eats strategy for breakfast"


                                                                                  1/3


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     From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
     Sent: Tuesday, June 11, 2024 9:17 PM
     To: Phil Leadore <pleadore@hartmanadvisors.com>; Glenn Norris <glenn@ohanagp.com>; Justin Drummond
     <Justin.Drummond@ohanagp.com>; Dan Levett <dlevett@hartmanadvisors.com>
     Subject: Re: Ohana Growth Partners PCI DSS Review Kickoff Call



     @Phil Leadore@Dan Levett, I am unable to find your company listed as a PCI DSS v4 Assessor, nor do I see either
     of you listed as Qualified Security Assessors (QSAs). Could you please provide the name under which you are
     registered?

     Regarding the meeting time, I have a regularly scheduled meeting that conflicts with our current appointment. We
     will need to find an alternative time that works for both of us. Once I can confirm that your company is a registered
     PCI DSS v4 Assessor and that the individuals we are meeting with are certified QSAs, we can proceed to schedule
     a new meeting time.

     Thank you for your understanding.



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     El Book time to meet with me

        Ryan Wagner
        Vice President of IT
        Ohana Growth Partners, LLC

                                  office 410-252 -8058 x109
                                  212 W Padonia Rd
         Growth P■nnuo            Timonium. MD 21093
                                  www.planetfitness.com



        "Culture eats strategy for breakfast"



    From: Phil Leadore <pleadore@hartmanadvisors.com>
    Sent: Tuesday, June 11, 2024 5 :48 PM
    To: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <justin.drummond@ohanagp.com>; Ryan Wagner
    <ryan.wagner@ohanagp.com>; Dan Levett <dlevett@hartmanadvisors.com>
    Subject: Ohana Growth Partners PCI DSS Review Kickoff Call
    When: Wednesday, June 12, 2024 12:30 PM-1:30 PM.
    Where: Microsoft Teams Meeting




    ~
        Some people who received this.message don't often get email from pleadore@hartmanadvisors.com. Learn why this is important

         CAUTION: This email originated from outside the organization. Do not click links or open attachments
         unless you reco!'.}nize the sender and know the content is safe.
    Good afternoon, all-

                                                                             2/ 3


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    Hartman Executive Advisors has been engaged to begin a PCI DSS review of Ohan a Growth Partners systems. This
    meeting is to kick off the engagement. Please let me know if this date and time does not work for you. We are
    looking forward to tomorrow's discussion.

    Best,
    Phil


    Microsoft Teams Need help?

    Join the meeting now
    Meeting ID: 246 091 784 572
    Passcode: 2fHpie

    Dial in by phone
    + 1 443-457-061 3.. 373232486# United States, Baltimo re

    Find a local number
    Phone conference ID: 373 232 486#
    For organizers: Meeting options Reset dial-in PIN




                                                                  3/ 3


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    Ryan Dillon-Capps
    From:                    Ryan Dillon-Capps
    Sent:                    Thursday, June 13, 2024 11:48 AM
    To:                      Phil Leadore; Glenn Norris; Dan Levett
    Cc:                      Justin Drummond; Stacey Wittelsberger (ESC}; C. Victor Brick; Lynne Brick B.S.N. M.A.;
                             Terry Woods (Planet Fitness); Earl Ihle
    Subject:                 Re: [External]Re: Time off for FMLA- are you able to meet with Hartman Executive
                             Advisors?



    @Phil Leadore @Dan Levett , I hope this message finds you well.

    I could use and would appreciate some backup, as would my team and others involved. However, I need to obtain
    some information before we can discuss the situation at length.

          1. Active Agreement: Do you currently have an active agreement with Ohana Growth Partners that has been
             signed by Glenn Norris? If so, would you be able to provide a copy of thi s document for our records?

          2.   PCI DSS Assessor Status: Is Hartman Executive Advisors a registered PCI DSS v4 Assessor? If yes , could
               you please provide the names of the registered QSAs?

          3. Security Certifications: If Hartman Executive Advisors are not registe red QSAs, do you have any other
             security certifications or qualifications that your team holds to justify your involvement in processes
             related to discussing or advising us about PCI DSS v4?

          4. Reporting Obligations: Do any of your qualifications or affiliations mandate a necessity to report on
             anything?

          5. Non-Disclosure Agreement: If there are no such reporting obligations, would you be open to signing an
             agreement that will prohibit you from reporting anything discussed with you or discovered during this
             process? Ideally, I would like this to be signed by a different member of ownership-preferably Victor,
             Lynne, or Terry-who together account for the majority ownership, to ensure there is no question as to
             Ohana's approval.

    Thank you for your attention to this matter. We look forwa rd to your prompt response and appreciate your
    cooperation.



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    fl Book time to meet with m e

      Ryan Dillon-Capps
      Vice President of IT
      Chana Growth Partners, LLC




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                               office 410-252 8058 x109
                               212 W. Padonia Rd
                               r,monium. MO 21093
         Grnwth Partner•

                               www nlrtnf'tfitness r.om


      "Culture eats strategy for breakfast"



    From: Phil Leadore <pleadore@hartmanadvisors.com>
    Sent: Wednesday, June 12, 2024 1:28 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>; Dan Levett
    <dlevett@hartmanadvisors.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey Wittelsberger (ESC)
    <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>
    Subject: RE: [External]Re : Time off for FMLA- are you able to meet with Hartman Executive Advisors?




    I
    Ryan-
         CAUTION: This email ori9inated from outside the or9anization. Do not click links or open attachments
         unless you reco9nize the sender and know the content is safe.



    Thank you for your email and question. Glenn will be following up with a response shortly.

    Thanks,
    Phil


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Wednesday, June 12, 2024 12:48 PM
    To: Glenn Norris <glenn@ohanagp.com>; Phil Leadore <pleadore@hartmanadvisors.com>; Dan Levett
    <dlevett@hartmanadvisors.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Stacey Wittelsberger (ESC)
    <srector@exeterstreetcapital.com>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A.
    <lynne@ohanagp.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Earl Ihle
    <Earl.lhle@ohanagp.com>
    Subject: [External]Re: Time off for FMLA- are you able to meet with Hartman Executive Advisors ?

    @Phil Leadore @Dan Levett , I am sure you are a reputable company, but can you confirm if you are a PCI DSS
    v4 assessor? Planet Fitness uses the same processor, and below is the last email from Geoff VanMaastricht,
    who oversees our PCI compliance program.
     From: Ge<>ff vanMaasuicht <Geoff.YanMaastricht@pfr.q.com>
     Sent: We<inesday, June 5, 202.4 4"57 PM
     To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; Justin Drummond <Ju.stin.Drummond@ohanagp.com>; Glenn Norm. <gtenn@ohanagp.com>; Rich H
     <Slephan.dalgar@pfhq.com>
     SUbject: Re: Reaffirmation and darity


     I    CAUTION: This email origina!e<i from outside ttie organization. Do not click finks or open attachments unless you recognize the sende
     Although I appreciate your high regard for my abilities, I must emphas ize the ethical im perative that precludes any discu ssion regar,




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   Geoff emphasized that if I disclose the current issues to him , he would be obligated t o notify the relevant
   authorities due to his other affiliations and qualifications. He understands that I am fully capable of making
   those calls myself, but it would severely impact the company.

    I'm unsure what information you have been given, so here is what I sent to Geoff before his response:

     i:rom: Ryan Wagner <Ryan.wagner@ohanagp.com>
     Sent: Wednesday, June 5, 2024 4:32 PM
     To: Geoff VanMaastricht <GeoflVanMaast:richt@pfhq.com>; Justin Drummond <Justin.Drummond@ohanagp.com>; Glenn Norris <glenn@ohanagp.co
     Dalgar <stephan.dalgar@pfhq.com.>
     SUbject: Re: Reaffirmation and d arity

     Security Advisory - This has been identified as EXTERNAL email Pfease us.e caution when opening links or attachments.
     I have been doing the same to support transparency and pr011ide a reference for later.

     Notably. I have requested assistance from another company. Microsoft recommended Finchloom. and all relevant materials and costs of their
     and Justin. All recommendat ions to bring in Finchloom or another qualified' company have been rejected.

     You may recall that Glenn indicat ed that he would prO\lide me with a list of taskS that Ryan Brooks was needed for. bUl I have not received this 11

     I appreciate you joining this conversati on. and I feet l ike either of ~-ou are more than qualified to come on as a consultant. Once you have been
     access. The same would be true with Finchloom or another qualified vendor. If you would like to recommend one. that would be great!


    If you would like to be fully informed, please note that Holly Butler of Miles Stockbridge w as their original
    attorney. I believe her involvement has since ended, as she requested I obtain the current attorney's
    information from Chana. Here is that request:
     i:rom: Ryan Wagner <Ryan.Wagner@ohanagp.com>
     Sent: Thursday, June 6, 2024 5:13 PM
     To: Justin Drummond <lustin.Drummond@ottanagp.mm>; Rich Hanman <Rich.Han man@ohanagp.com>; Karen Debus <karen.debus@ohanagp.com
     Wrttefsberger (ESC) <srector@exeterstreetcapital.com.>; C. Victor Brick <Victor@ohanagp.com>; Lynne Brick B.S.N. M.A. <lynne@ohanagp.com>: Terq
     <Earl.lhle@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
     Subject: Request for Information Regarding Legal Representation

     Aloha


     I hope this message finds you well I am writing to formally request information regarding the legal representation retained by Ohan a Growth P~
     unauthorized use of my name to attest compliance documents. fabricated or altered emails/documents. or any matters related to my employr

     Specifically, I w ould like to know the name and contact information of the attorneys or law firms representing the company on any of these ma1
     direct negotiations to resolve these issues amica bly and efficiently.

     I believe that open communication can help us reach a mutually agreeable solution and prevent the need for more formal proceedings. Thereh

     Thank you for your cooperati on.



    Since then, I have repeatedly asked for th eir attorney's information, but it has not been provided to me.

    If you are still interested in understanding th e situation, I would Like you to first confirm that you are not
    obligated to report any information you Learn. Once that is secured, we can review the fa cts together. I am
    concerned that , ethically, you might choose to report. Do you currently have an agreement t hat pro hibits you
    from reporting? Would you be opposed to s uch an agreement?

    I am unsure why Glenn chose to address this topic in my FMLA time off email, a s it appears problematic that
    his response to my federally protected leave is to push for work during that time.

    I am adding the other owners to this email thread.


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!


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      E1 Book time to meet with me
         Ryan Wagner
         Vice President of IT
         Ohana Growth Partners, LLC

                                    office 410-252-8058 x109

         OHAMA
           Growth Partners
                                    212 W Padonia Rd
                                    T1mornum. MD 21093
                                    www .planetfitness.com



         "Culture eats strategy for breakfast"



       From: Glenn Norris <glenn@ohanagp.com>
       Sent: Wednesday, June 12, 2024 7:59 AM
       To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
       Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
       Subject: Time off for FMLA- are you able to meet with Hartman Executive Advisors?

       Ryan, will you meet with us still at some point today? Phil & Dan from Hartman Executive Advisors sent an invite for
       12:30 today and you replied with the attached email stating you could not make that time. What time will work for
       you?

       They can answer your questions prior to the meeting or during the meeting. See below for your questions they need
       to answer for yo u.

       @Phil Leadore@Dan Levett, I am unable to find your company listed as a PCl DSS v4 Assessor, nor do I see either
       of you listed as Qualified Security Assessors (QSAs). Could you please provide the name under which you are
       registered?

       Hartman Executive Advisors are a highly qualified IT Advisory Company with many resources that we need. A local
       company with a deep bench. Check out their website.

       https://hartmanadvisors.com/

       bttps://hartmanadvisors.com/it-leadership/ciso-services/

       This is an excerpt from their website.


        100% Unbiased Guidance
        Straight-shooter advice that's always in your organization's best interest and never aimed at
        selling products or swayed by office politics.

        Right now OGP is out of PCI Compliance because we do not have at least 2 users that have Global Ad min Rights.
        As we have requested/mandated multiple times, OGP needs to have another user with the same Global Ad min
        Rights as you. Let's discuss in this meeting- how OGP can get back into PCI Compliance relative to another user
        that has the Global Ad min Rights.
                                                                                 4/5



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  Thank you, Glenn




     Glenn Norris
     Chief Financia l Officer
     Ohana Growth Partners, LLC

                                office 410-252-8058 x108
                                cell 410-365-2591
                                212 W . Padonia Rd
      G1ow1h P.artner,
                                T1monium. MD 21093
                                www .planetfitness.com

     "Culture eats strategy for breakfast"


   From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Sent: Wednesday, June 12, 2024 7:00 AM
   To: IT.Support <IT.Support@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; IT.Businesslntelligence
   <IT.Bl@ohanagp.com>
   Cc: Glenn Norris <glenn@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
   Subject: Time off for FMLA

   @IT.Support@IT.BI Just so you know, I am taking FMLA time tor leave. Please allow for extra time if you need
   anything from me. If there is a critical issue involving security or other imminent risk. Contact Darren. Darren will
   have additional instructions that will apply if necessary.

   @Rich Hartman Please let me know how you want the time tracked. I assume the hours already worked will apply
   directly to this week? pay period? Please provide me with the written policy explaining how it is used aga inst
   existing hours.


   This message may include text created with the help of natural language processing.


   fl Boo k time to meet with me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410-252 -8058 x 109
                                 212 W Padoni.i Rd
       Growth Partner•
                                 T1monium. MD 21093
                                 www.planetfitness .com



      "Culture eats strategy for breakfast"




                                                                            5/5



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  Ryan Dillon-Capps
  From:                     Ryan Dillon-Capps
  Sent:                     Thursday, June 13, 2024 4:26 PM
  To:                       Justin Drummond
  Subject:                  Fw: Please Respond Quickly




   This message may include text created with the help of natural language processing.


   El Book time to meet with me
      Ryan Dillon-Capps
      Vice President o f IT
      Ohana Growth Partners, LLC
                                 office 410- 252-8058 x109
                                 212 W . Padonia Rd
      OHAMA
        Growth Partner■
                                 Timonium . MO 21093


                                 v,,ww .planetfitness.com


      "Culture eats strategy for breakfast"



   From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
   Sent: Thursday, June 13, 2024 3:10 PM
   To: Phil Leadore <pleadore@hartmanadvisors.com>; Dan Levett <dlevett@hartmanadvisors.com>
   Subject: Please Respond Quickly

   We have a situation. Can you confirm that you have an agreement signed and are not compelled to report? I need
   assistance, and you might be the only one with pen to paper who can without incurring liability for Ohana.

    Please - I have sent my team home for their safety, and that is all I can say until you confirm.


   This message may include text created with the help of natural language processing.


    El Book time to meet with me
      Ryan Dillon-Capps
      V ice President of IT
      Ohana Growth Pa rtners, LLC

                                  office 410- 252- 8058 x709

      OHAMA
        Growth Partner•
                                  212 W Padonia Rd
                                  T1moniurn. MO 21093
                                  v,,ww .planetfitness.corn



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     "Culture eats strategy for breakfast"




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 6/21 /24, 1:04 PM                                                MXT3 Mail - Urgent FROM ryan.wagner@ohanagp.com




                                                                                                                    Ryan Wagner <ryan@mxt3.com>



    Urgent FROM ryan.wagner@ohanagp.com
    1 message

    Ryan Wagner <ryan@mxt3.com>                                                                                            Fri, May 24, 2024 at 9:27 PM
    Reply-To: ryan@mxt3.com
    To : geoff.vanmaastricht@pfhq.com

      As a precautionary measure, I have created you an account as a Global Admin with other roles you will need to manage
      our environment.

      Geoff.PFHQ@ohanagp.com

      My number is 703-303-1113

      This is my personal email. I can send/receive communications on both emails.




 h ttps://mail.google. com/mail/u/0/?ik= d7 37ef6dfe& view=pt&search =a ll&permthid=thread-a:r 19907 97364342 204696&s impl=msg-a :r 19924 49851853856. . .   111
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  Ryan Dillon-Capps

  From:                                                  Rolando Pedraza <rpedraza@cieloit.com >
  Sent:                                                  Thursday, June 6, 2024 5:04 PM
  To:                                                    Ryan Wagner
  Cc:                                                    Shannon Anderson; Dante Martinez
  Subject:                                               Re: PCI DSS 4 Compliance + Best Practices



          CAUTION: This email originated from outside the organization. Do not click links or open attachments
          unless you recognize the sender and know the content is safe.
   Hello Ryan,

   First, thank you for sharing all the changes happening in Ohana to enhance security.

   I'm aware that Brooks is no longer with Ohana, and I understand the general idea of what you would like
   to accomplish with me taking on the Global Ad min role . However, I would like to have a call with you next
   week to understand better what it entails and to align our ideas more closely.

   What I can say for sure is that this is something Cielo can definitely help you with; I just need to
   understand better how to achieve the results you're expecting.

   Could you please let me know a convenient time for the call next week?

   Thanks,

   Rolando Pedraza Director of Delivery Operations


                                     T: 806.503.2181 x 101

     tGi},                           C: 806.705.7149
                                     E: rpedraza@cieloit.com
                                     W : www.cieloit .com
   CielolT
     1• \ ll't lt,.f Cl~IJ<I'



                                            00
   Co11fidenrialic-1 Notice: This messaae. including any ateochrnents. is for the sole use of rhe intended redpiem(s) and may concoin cootillential a,1d pr111,Ie3ca 111/o,11wt1on Any w1uuthorizcd
   reV1cw. use. disclosure. or disuibution is strictly prohibited. If you arc not the intended recIpIent. please contacr the sender by reply c mail emf.I dC!.tro·( all cop•cs ol the or1smo/ mcs:;:osc



   From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Sent: Thursday, June 6, 2024 6:00
   To: Rolando Pedraza <rpedraza@cieloit.com>
   Cc: Shannon Anderson <sanderson@cieloit.com>; Dante Martinez <dante.martinez@ohanagp.com>
   Subject: PCI DSS 4 Compliance+ Best Practices


    @Rolando Pedraza You may already be aware that we have recently implemented several changes to align with
    PCI DSS 4 and best practices. These changes include:

             •          Separating Global Administrator accounts from accounts used for daily t asks




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        •      Implementing Emergency Break Glass accounts
        •      Aligning with least privilege-based assignments

    With Baltimore Consulting and Ryan Brooks no longer with us, we need another person to manage a Global
    Administrator account. Given your position as Director of Managed SeNices, I believe you are an ideal candidate.
    If you and Shannon agree, here are the requirements for this role:

          1.   FIDO 2 Security Key: We recommend the Thetis Pro FID02 Security Key, priced at $29.99. You can
               purchase it yourself, through Cielo, or we can make arrangements. Thetis Pro FID02 Security Key, Two-
               Factor Au_thenticatioJ}____t,J FC Security K~. Dual USB F'orts_Type A & Type C for Multi-Factor Protection
               (HOTP}

          2. Familiarity with PCI DSS 4 : PCI DSS 4 Documentation. We should schedule a time to review the impact of
             PCI DSS 4 on our operations. The new version has expanded the scope and added flexibility, which can be
             challenging.

          3. Microsoft Best Practices: The changes in PCI DSS 4 align with current best practices. We need to prepare
             for several mandatory changes that Microsoft will impose over the next 15 months.

                    o     Microsoft Best Practices
                           - - - - - - -- -
                    o     Secur~Planning
                    o     E~ergency Acces£ Accounts
                    o     Separation of Glo~Admin Accounts

    Maintaining PCI compliance is crucial because all Planet Fitness locations share the same processor and
    compliance requirements. A violation by one group affects the entire organization.

    Additionally, ensuring redundancy is essential to maintain security and PCI compliance during an unforeseen
    event. Currently, all Ohan a IT operations and our emergency account keys are based in Maryland , which poses a
    potential issue in the event of a regional disaster. Your geographical location allows us to ensure regional
    redundancy.


    This message may include text created with the help of natural language processing.



     --
     - ; Book t ime to meet with me

      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410-252-8058 xl09
                                 21 2 W. Padonia Rd
      OH ~ NA
        Gr o w1h P a rtn er s
                                 n monium, MD 21093
                                 www .planetfitness.com



      "Culture eats strategy for breakfast"




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                                                                                                                                    Fr iday June 7, 2024
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::,                                                                                                 Fnday
e!..
;x:,                                                                                                                                                                      =nday 5:29 PM

8::,                                          Would yoJ have time on Monday or Tuesday ,o meet: Ir your weekend leaves you yearning to won:, I cao also do something
"'5:                                          sooner. The topic Is PCI DSS 4 compliance. I believe you still have access to our PCI DSS 4 compliance account. It has
~                                             changed significantly. While it has creat ed new flexibility, it has al so expanded wha, is covered significantly. You can get

~                                             3ccess to documents here
                                              PCI Sec.int.,• S:-al'dards Council - Pro,-ect P<!yment Oata \',;th I00Jstr:1-dr\•el' Securitv Standaros Trair!rg and Prosrarrs
6'
~-
-l                                            We have taken several steps to ensure we nave and maintain PCI DSS 4 comp!iar ce, and I would like to review some of these
:J.
3                                             items wit h you beca use I believe that yo.i m:.y be a gooo candidate to 11old on to a specia type of account th:.t is reserved for
3
8..                                           emergencies.. There are two of these accoums ard it you are opt:n ,o having a conversa;ion first then I believe we can re\1e-.v
                                              all relevar, information so ,hat you can make an informed decision if toe time ever comes that tnis account needs to be used.
z0
l
(")
                                              This does involve our ablrty to rrafN ain our PCI DSS 4 compliance ano know edge cf wno possesses ~he items ard access ,o
                                              it1is accoun. should no, be snared with anyone O(T'(Side of the criteria to which &.e use of this acCO'Jnt would apply. There are
                                              mc-ehani$0lS in place that wculd aiert people needed to co ntact yo u if sud , a sit1.1atiOI\ occurred. or it you learned about an
                                              appliCllble situation then you would know whe<> to act, who to contiict, and how to proceed.
-~
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2:
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::l'.   Tuesday June, 11, 2024
0                                                                                                  T'Uesdil}'
C
"'                       <are,, Cepress Tuesdi111..1S A',1

                           Hi Ryar, sorry tor the delay in replyi119. I am in TernesS-ee this week. I'm happy· to meet later tnis afternoon if yo-J
"a
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C1>
                            an: ava ab e. My calendar is open at 3pm.

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                                                                                                                                                    Sorr I , ere day has escaped me
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Vl
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OJ
 ._                    Case 1:24-cv-03744-BAH
            JustJn Drummond Tuoday 6:07 PM                                       Document 16-2                  Filed 01/03/25                 Page 92 of 185
 C
'<      -        Ok. Thanks for the update                               Tuesday June 11 , 2024
:@
 00                                                                                                                                                                         Tuesday 6:36 PM
 w
 00
 ►                                          Do you have a time frame on when ~·oJ will be ready to talk aboJt PCI Compliance to make sure we can d>eck things off?
 ~                                           There are three primary qualifications. 1) responsib le for PCl Compliance 112) Knowledgeable II 3) tNs is really #l but I want
 0                                          to em phasize re5ponsible •· duress is complex. Obviously, if you have a gun to your head, then actions taken that result or

~:
 ::,
                                            subsequent!;• result in PCI violations are j ustifiable as a legal defense. However, economic or emotional duress or non-lettlal
                                            physical duress is not black and white. For you to claim duress it has to be 1) Involuntary 2)no reasonable alternative 3)
 ~                                          immediate and imminent WITH no opportunity to seek help or refuse compliance 4) duress must be linked directly or

 i
 ::,
 V,
                                            indirectly. . for example, Gtenn 11nd Victor were making coercive threats linked do it, or give it to me and I will. While you
                                            ordered me to give it to you an<1 ai the time it was reasonable unoer the circums:ances tl'lat you state<! in the email if you
 6:                                         can't give it to them so they can break PCI compliance then give It to me. A reasonable person can infer the intention.
 ~                                          However, you did not threaten me, and by demonstrating knowledge of PCI compliance and fully understanding what your
 ('Tl
                                            re5ponsibility means legally, I ~m hop,ng tllat this will justify my action to give you one of the broken glass accounts. The
 ~
 O"                                         break glass account ls different than an account for you, w~ict1 would require me to apply the least privilege, ano I have yet to
 ~-                                         figure OJI how the pres'dent wou•d use global admin In tile performaf)ce of their duties.


 i
 8..
                                           Reg ardless of what one belie\•es to oe true, th;s does not give them a do ar,ything pass because they disagree or believe
                                           differently. Tnis ,s not tile ~ame as good tait/l, whid> I strong,y recommeno you oecome familiar with. Not only for this
                                           slh,ation, out every leader and busfriess pel'fon needs to understand thls concept extremely well. n , e moment we engage In
 z
 0                                         an act that demonstrates we are no longer act ng in good faith mere is a compounding effect and tr.ts is why when a business
                                           lfke Gelo found out that t tlel r CFO nad engaged ln something questionable it was Imperative that they act immed,ately. Not
.J                                         engaging in acts ttlat demonstrate good faith puts everyone at risk, and that is why they removed him temporanly, notified
                                           key people, and nired qualified outs·de professionals who could ensure they Jcnew wha; had or haon·t been dare. Kris

.i'J                                       Kroona, the.r current CFO, is a tull trme CFO for t11ings like this and I think the forensic acco.intaot that is sttll there was brough
                                           with him. Even tnoJgh rotning was found •-· both of tnem are Still there over a year la,er ana in their s,:uation they had to
 er                                        do and Mve to continue doing an of t11em.
[
 g,                                        In tne case oi PCI compliance, yoJ need to be able to explail'I the logical process trat leads to your decls[on. E\•en if you are
 ::,
 V,
                                           wrorg, the first questiOn that will be asked is for yoJ to j ustify your decision. Failure to do ih,s, will put you and possibly
                                           Otiara at r,sl( tor ottler dec'sons n•ade and every c ec sfon tha, ta ··s to meet th:s stanoard w iI1 exporentia y become a more
                                           stringent 1evel to meet until roth ng you !>ave ever S-aid or oone Is viewed difierently and ,t-i: re 1s no chance that you car
                                           Justify anyth r g anymore
 "'Cl

~:;;,                                      f o r PC! comp ·ance. yo.i coJld face ega iabiFtie; by ell affec1ed oarres. In tne ca~e of our PCI account •• yoJ wou'. d be
                                           PERSONALLY resporis101e and ac:ion taicer against you as an 1nc ;v dual Even ,i yoJ hao no idea that X Y Z rao haopene<I or
~                                          wou'd r appeo, However, .ino er our realistic col'text, you wou d not rusta in that tree iallir g
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00                                                A1so, j ust for the fir5t ac11on •• ever w:tl\ norma• c,rcumsotr.ces, willhil n•iscondJct or fraJo are j ust the start o' legal iss..is
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                                           So =3 s bas·cat;y... your abn ty to sustain yo Jrsc: f ag.:1nst ouress or othtr risl<S to you that you rrust do unt1: you ,an no tonger
                                           do so Soi c:ly
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                                                              111·10J1d be unra r to h:m ar d realis, cal'}' I con th irk he woJld be able to perform t t>at auw wl1ite Jnder duress
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        ~       t cm tr,;ve 1r 9 tomorrow tr roJgh tne c l'ld of the week:. We can wor,: or the               Pad r ext week
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                                                OH & NA    G r ow th P a r t n ers



               Ohana Growth Partners, LLC
                212 w. Padonia Rd.
                Timonium, MD 21093

                June 13, 2024


                Dear Ryan,
                Effective immediately, June 13, 2024, you are suspended from your emplo yment
                with Ohana Growth Partners until further notice. This is due to your
                insubordination and failure to comply with directives from superiors, described
                in part to you in the email sent to you earlier today, and continuing since you
                rece ived the email. The suspension is without pay . During the suspension, you
                will continue to have access to your medical benefit s.

                During t h is period of suspension, you are relieved of al l of your duties and
                are not authorized to work on behalf of the company or have any electron i c ,
                internet, physical , or other access to or connection with any company property
                or systems , including but not limited to company I T systems and equipment. In
                addition, you are not authorized to enter a ny company facili t y.

                You will be notified in writing of any further changes.




                Sincerely,


               ?:rJ,a~
                Rich Hartman
                VP of People and Culture




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    Ryan Dillon-Capps
    From:Justin Drummond
    Sent: Thursday, June 13, 2024 9:54 PM
    To: Ryan Dillon-capps; Rich & LeeAnn; Glenn Norris; Karen Debus; Rich Hartman
    SubjeRe: Ohana - Suspension


    Ryan:

    Your assertions that Rich Hartman did not suspend you or lacked the authority to suspend you are both
    incorrect and baseless.

    For the avoidance of any doubt by you, I incorporate into this email Rich Hartman's ema il to you today
    notifying you of your suspension and hereby confirm that you were suspended upon receipt of that email.
    Please follow fully the directives in that suspension notification.

    I also hereby confirm that you have been directed by me to immediately comply with Rich Hartman's
    email of 9:01 am this morning by immediately adding Phil Leadore from HEA as a Global Administrator
    regardless of whether he has confirm ed any qualifications or involvement in the PCI DSS v4 review.

    Than k You,

    *Please excuse any typos. Email sent from iPhone*

      Justin Drummond
      President
      Ohana Growth Pa rtners, LLC
                             office 410- 252-8058 x214
                             212 W Pad onia Rd
      OHANA
        Grewth P■rt,,•r&
                             r1mon1um. MO 21093

                             www.planetfitness com

      "Culture eats strategy for breakfast"



    From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
    Sent: Thursday, June 13, 2024 8:00:52 PM
    To: Rich & LeeAnn <richn lee@gmail.com>; Glenn Norris <glenn@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>
    Subject: Re: Ohana - Suspension



    @Rich Hartman, I am writing to follow up to your attempt to submit a suspension letter to me.

    Given the current circumstances and the ongoing investigation, I do not re cognize your authority to issue a
    suspension at this time. This matter has been discussed with Victor, Lynne, and Justin. Lynn e and Victor have


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    empowered Justin with full authority to handle this situation. We have reviewed the scope of the situation in detail,
    and it is clear t hat any such act ions must be halted immediately.

    Please refrain from any further attempts t o issue suspensions or take similar act ions until thi s matter is fully
    resolved.



    This message may include text created with the help of nat ural language processing.


    E1 Boo k time to meet with me
        Ryan Dillon- Capps
        Vice President of IT
        Ohana Growth Partners, LLC

                                  o ffice 4 70- 252-8058 xl 09

        OHAMA
        G,ewlh l'arlna,a
                                  212 W Padonia Rd
                                  Timonium. MD 27093
                                  www . ola net fi tness.com



        "Culture eats strategy for breakfast"




    From: Rich & LeeAnn <rich nlee@gmail.com>
    Sent: Thursday, June 13, 2024 8:47 PM
    To: Rya n Dillon-Capps <ryan.dilloncapps@o hanagp.com>; Glenn Norris <glenn@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>
    Subject: Ohana • Suspension




    ~
         Some people who received this message don't often get email from richnlee@gmail.com. Learn why this is important

         CAUTION: This email originated from outside the orf:janization. Do not click links or open attachments
         unless you recof:jnize the sender and know the content is safe.
    Ryan,
    I am sorry to have to send this to you via my personal em ail account but since you have di sabled my
    office email acco unt this w ill have t o suffice. I will also put a physica l copy of this letter in the m ail
    tomorrow. It wi ll be directed to your address on file: 1334 Map le Avenue Essex, MD 21221. If this is not
    t he correct address, please advise and provide the co rrect address.

    Please fi nd attached an official copy of your suspension from Ohana Growth Partners pend ing further
    notice.

    Sincerely,

    Ri ch Hart man
    Vice President of Human Resources
    Ohana Growth Partners, LLC.



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                                                                                                              -..,
               Re: Case No. C-03- CV-244-002264
               Baltimore County Circuit Court                                                                              •   I

               TRO and Preliminary Injunction
               Ohana Grovlth Partners



               Dear Judge,
                                                                                                               . lto
                                                                                                               --
                                                                                                               co
                        \> Tru~.Ie..<
               I am ~nting :.o bring to your attention urgent matters conceming my current legal situat:011 and
               request immediate judicial intervention regarding a Temporary Rcs~aining Order (TRO) and
               Preliminary Injunction that conflicts with legal and compliance o!Jligations.

               I have been dealing with signi ficaut issues related to my employment with Ohana Gro'w1h
               Partners, which have been exacerbated by recent events. I ha<l secured three strong referrals for
               legal assistance, but they conflicted. l was starting the prOl:ess to work with the fourth referral.
               but I found out at midnight that they couldn' t help me due to a family bercaYemcnt and a pre-
               scheduled conference. Consequently, they refunded n:y retainer. leaving m~ without legal
               representation at a critical time.

               Cunentl,y~:l am f{ic!J]g a situatiQn where c.QW.plian;ce with th.e TR,O and Preliminary lnj unctien
               ~d~nm vmlato PCI oomplianc.e sta.ndaids,thereby putting m.e in a position where l
               mixst choose \jetween violating-iederal comptiance-?Cqnirements or being Jield in cootempt of
                  - The opposing oounseHras infortro a me tlia lmust comply by noon today. June 18, 2024.
                 read this demand al about a qu<1rk r to 11. which eventuaUy led me to write th:s letter and n:sh
               to the courthouse.

               On June 13, 2024, at 7: 12 AM, I notified the Cf 0 , Head of HR, and President of Ohana Grow:h
               Partners that I was commencing my FMLA leave due to PTSD. My nvll.A status wa::; last
               confirmed and validated by the HR Generalist on May 23, 2024. Despite this. at 9:0 1 AM on the
               same day, I rece!ved a demand letter requiring me to return to work and I had 6 hours to co il-·-
               or else. In response, I issued a cease and desist letter, which is included in petitioner Exhibit 13.
               clarify ing that the cease and desist per.ained to my right lo FMLA leave.

               The basis for my suspension, as claimed by my ~mployer. consists of twu pans:

                   I. They misconstrued my cease and desist letter 2s a refi.:sal to comply wit!: work demands.
                      despite its clear reference to FMLA leave.
                   2. They demanded that r grant Global Administrator access, which would be a violation of
                      PC! compliance. The company fai led to inform the c;.,urt of tbs cnicinl complianct: issue
                      and the proactive r:ieasures I had taken to grant access to the President uode:- PC!
                      compliance guidelines.

              I have over 25 years of experience in IT and am responsible for <:nsuring PCI compliance wit!1in
              the organization. Granting Global Administrator access wi1ho:.1t cnsu,ing compliance would be a
              serious violation cf these standards. Despite providing seYeral alternatives am.i options to my




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                                                                                                   1
                empl~yer, they have persisted in demanding actions that would compromise cr mpliance 2nd
                secunty.                                                                      •.
                                                                                               '        •
                                                                                               '
                Furthermore, the company has engaged in retaliatory actions, including plac~g my IT
                Coordinator on administrative leave shortly aft~r receiving the cease and desist letter. This
                retali,tion appeara to be in direct response to my assertion ofFMLA rights. J

               ./fmu~~i:~sj::~:;i;;li~~~:a:'!!e~~d:O~fo:~~~ability of my legai counsje:, I am seeking

                    I. Clarification and potential modification of the TRO and Prelir.unary Ti·unction to ensure
                       compliance with PCI standards without subjecting me to contemp! of •ourt.
                    2. Protection against retaliation for exercising my FMLA rights.         :
                    3. Adequate time to secure new legal represehtation to address t'1ese urgent matters.
                                                                                                   !
                All supporting documentation and communications are available to substanti~ e my claims.
                printed out as many as I could before rushing over here today.

                Thank you for your prompt attention to this matter.

                                l

                With gratitude ~!'ld
                Ryan Wagner                                             , ... :...•
                ryan@mxt3.com
                1334 Maple Ave
                Essex MD
                21221




     • DENIED
     The court has reviewed the Defendar t's correspondence and will view it as a
     request, pursuant to Md. Rule 15-504(f) to dissolve or modif y U1e 6.17.2014 TRO.
     The correspondence does !lCt provide sufficient specificity to permit the court to
     modify the TRO at this time. The court will consider the Defendant's requests at
     the hearing scheduled for 6.26.2024.


      l    \.... ~~A 06/21/202411:40:18 AM
          J u d ~ R.-Tru~r ~




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                Case 1:24-cv-03744-BAH                            Document 16-2      Filed 01/03/25         Page 98 of 185
                                                                                                  E-FILED; Baltimore County Circuit Court
                                                                               Docket: 6/20/202412:24 PM; Submission: 6/20/202.4 12:24 PM
                                                                                                                     Envelope: 16909122


                  OHANA GROWTH PARTNERS, LLC                                   IN THE

                                                     Plaintiff,                CIRCUIT COURT

                  vs.                                                          FOR

                  RY AN DILLON-CAPPS                                           BALTIMORE COUNTY

                                                     Defendant.                FILE NO.: C-03-CV-24-002264


                                                      ORDER TO APPEAR AND SHOW CAUSE

                           Upon consideration of Ohana's Pet ition for Show Cause Order and Constructive Civil

                Contempt. and for good cause shown, it is this                 21st cf June, 2024

                           ORDERED that the Petition be, anc hereby is, GRANTED; and it is further

                           ORDERED that Ohana shall appear before the Circuit Court for Baltimore County,

                Maryland on the 26th day of June, 2024, at JL a.m.,                      for a hearing at which Ryan D i llon-

                Capps shall show cause why they should not be held in contempt of this Court's Ji.me 17, 2024

                Temporary Restraining Order.




                                                                          J udge Keith R. Truffer • ~




                                                                           7
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               Case 1:24-cv-03744-BAH               Document 16-2           Filed 01/03/25     Page 99 of 185



                                                                                          Ryan Wagner <ryan@rnxt 3.com>



   Fwd: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-
   2264
   Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                          Mon, Jun 24 , 2024 at 6:58 PM
   To: "ryan@mxt3 .com" <ryan@mxt3.com>


      Sent from my iPhone

      Begin forwarded message:


             From: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>
             Date: June 21, 2024 at 12:04:28 EDT
             To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>, "Frenkil, Steven 0 ."
             <sfrenkil@milesstockbridge.com>, ryan@mxt3.com
             Subject: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps • C-03-CV-24-2264




             [EXTERNAL)



             Good afternoon,



             Please see the attached orders from the court.



             Thank you,

             Lauren



             Lauren Prinkey

            JucliciaJ Assistant to the Ho norable Keith R. Truffcr

             Circuit Court for Baltimo re County




July I @ 838AM: Origional Reconsider Exhibits Trimmed • No laws, Cases, Publications   Page # 99 of 185       Exhibit IO 1-B
                Case 1:24-cv-03744-BAH                           Document 16-2                   Filed 01/03/25                Page 100 of 185


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              Case 1:24-cv-03744-BAH                     Document 16-2               Filed 01/03/25             Page 101 of 185



                                                                                                           Ryan Wagner <ryan@mxt3.com>



   FW: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana
   Growth Partners, LLC vs. Ryan Dillon-Capps for filing Writ/Summons/Pleading -
   Electronic Service, Envelope Number: 16870699
   Ryan Wagner <ryan@mxt3.com>                                                                                    Tue, Jun 18. 2024 at 5:30 PM
   Reply-To: ryan@mxt3.com
   To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>


     I am writing to confirm that the share link to the encrypted envelope and file should have been received. The password
     has been texted to you separately for security purposes.

     In my haste, I did not request a copy of my submission from the clerk. It was signed, and today's chamber judge was
     named. Due to the urgency of the situation, I was rushing, but assuming everything was printed correctly, the attachment
     should be what the judge has. I apologize for any delay. Earlier in the week. I informed Justin and Glenn that I could no
     longer sustain the current situation and required assistance. Glenn mentioned what I assume to be Hartman Executive
     Advisors. My recent email to Mr. Leadore reiterates my openness to support.

     I should clarify that the plaintiffs are not technical experts. and their response to my concerns has consistently been, "I
     disagree ." Throughout this process, I have provided numerous options and proactively suggested solutions to maintain
     PCI compliance while accommodating their requests. My current state is barely functiona l, and my wife, a licensed
     therapist with extensive trauma counseling experience, is primarily taking care of me. I have been in and out of a non-
     functional state for days now, and leading up to this, I have repeatedly requested contact information from their attorney.
     When I asked Holly Butler, her instruction was that I go through Ohana, which is confusing given that you are all part of
     the same law firm . They have refused to provide me with your information, and I had to obtain it from the filing.

     There have been two formal written requests for your information because I want this to end. They persist, and when not
     targeting me. they go after Darren, Ann, and the help desk. Ann requested time off for mental health reasons yesterday.
     When I inquired about her well-being, she disclosed that she had experienced a panic attack but did not recognize it until
     she saw a doctor.

     On Thursday, I sent emails about Rich's actions against Darren, spoke with Victor and Lynne, and had a lengthy text
     chain with Justin. At no point did anyone say I was suspended, and I believed Rich was dangerous for hours. I sent my
     wife away, I sent Ann home, and I reached out to two senior directors for backup before someone responded to me. I
     would greatly appreciate anything you could do to help us negotiate an end to this. The only condition that is not
     acceptable is that anyone is left unprotected, and in the last 30 days alone, it has been clearly documented in writing that
     they are also targeting Ann. Darren, and Cielo. There are more examples stretching back even further for all of us.

     Thank you for your attention to this matter. I am doing the best I can, and technically, since I said I would tell them when I
     was back, my FMLA leave is still active. If they believe something else to be true, please inform them that as a result of
     the escalated hostility, I will be on FMLA leave until further notice. The statement about there being no other
     administrators is incorrect. LeeAnn continues to hold the role of Billing Administrator, and the support team continues to
     hold the privileged role of User Administrator. Since Darren was removed , there have been some gaps in Azure
     ;:ir!ministr;:ition. I woulrl likP. to nrovidP. this ;:icx:P.ss to O;:intP. M;:irtinP.z. who is thP. HP.lo OP.sk M;:in;:ioP.r. ThP. o;:in in




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              Case 1:24-cv-03744-BAH               Document 16-2           Filed 01/03/25        Page 102 of 185



                                                                                              Ryan Wagner <ryan@mxt3.com>



    FW: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana
    Growth Partners, LLC vs. Ryan Dillon-Capps for filing Writ/Summons/Pleading -
    Electronic Service, Envelope Number: 16870699
    9 messages

    Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                               Tue, Jun 18, 2024 at 8:39 AM
    To: Ryan Wagner <ryan@mxt3.com>
    Cc: "Frenkil, Steven D." <sfrenkil@milesstockbridge.com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>


      Per the attached, a hearing on Ohana Growth Partners, LLC's Motion for Preliminary Injunction is set for
      next Wednesday, June 26, 2024 from 9 to 11 a.m.



      While Ohana is certain that you are abundantly familiar with the actions necessary to bring you into
      compliance with the Temporary Restraining Order entered yesterday, here are the steps that you should
      take:



          1. Create an account in Ohana's Microsoft 365 tenant, pleadore@ohanagp.com. Add the account into
             the Global Administrators group and send the password to pleadore@hartmanadvisors.com via a
             secure email. If you do not have access to send a secure email, you should send the password to me
             via text at 443-956-6458.
          2. Provide pleadore@ohanagp.com with owner level rights to all Azure subscription plans.
          3. Provide the root level administrator account password in GoDaddy to
             pleadore@hartmanadvisors.com via a secure email. If you do not have access to send a secure
             email , you should send the password to me via text at 443-956-6458. You should remove all multi-
             factor authentication apps, phone numbers, and/or email addresses associated with the root account.
          4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level password
             provided for the GoDaddy account, refrain from accessing or making configuration changes to their
             Microsoft 365 and GoDaddy accounts.



      You should take all the above actions this morning so that you are in compliance with the Temporary
      Restraining Order by 12 p.m. today. If you fail to do so Ohana will have no choice but to file additional
      papers with the Court seeking to have you held in contempt of the Order and will ask that the Court take up
      the issue of contempt during the hearing on June 26th .




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                   Robert Brennen I Principal


                   Miles & Stockbridge


                   direct: +1 (410) 385-3653




      From: no-reply@efilingmail.tylertech.cloud <no-reply@efilingmail.tylertech.cloud>
      Sent: Monday, June 17, 2024 3:42 PM
      To: Brennen, Robert S. <RBRENNEN@MilesStockbridge.com>
      Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan Dillon-
      Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699




      [EXTERNAL]




                                                                                    Notification of Service
                                                                                             Case Number: C-03-CV-24-002264
                                                                         Case Style: Ohana Growth Partners. LLC vs. Ryan Dillon-
                                                                                                                         Capps
                                                                                                   Envelope Number: 16870699



      This is a notification of service for the filing listed. Please click the link below to retrieve the submitted document.


                                                                Filing Details


      Case Number                               C-03-CV-24-002264


      Case Style                                Ohana Growth Partners, LLC vs. Ryan Dillon-Capps




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                Case 1:24-cv-03744-BAH                           Document 16-2                  Filed 01/03/25                Page 104 of 185


                                                      Ohana Growth Partners, LLC:

                                                      Robert Brennen (rbrennen@milesstockbridge.com)

      Service Contacts                                Steven Frenkil ( sfrenkil@milesstockbridge.com)

                                                      Victoria Klein (vklein@milesstockbridge.com)

                                                      Kim Edwards (kjedwards@milesstockbridge.com)




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                Case 1:24-cv-03744-BAH               Document 16-2          Filed 01/03/25          Page 105 of 185


                     direct:+1 (410) 385-3653



      [Quoted text hidden!
      [Quoted text hidden]




    Ryan Wagner <ryan@mxt3.com>                                                                       Tue, Jun 18, 2024 at 1:25 PM
    Reply-To: ryan@mxt3.com
    To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>

      I just left the courthouse after providing a letter to the clerk for the chambers judge. My lawyer has a death in the family
      and is at a preschedules conference next week and we are looking for another attorney who can received to this urgency
      issue. The judge also received documentation showing the suspension was illegal and the TRO is asking me to
      something illegal.

      Please allow time for the judge to review.
      (Quoted text hidden!


       5 attachments




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                                      image004.png
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     Are you going to send me a copy of what you presented to the Court?




                  Robert Brennen I Principal


                  Miles & Stockbridge


                  direct: +1 {410) 385-3653




     From: Ryan Wagner <ryan@ mxt3.com>
     Sent: Tuesday, June 18, 2024 1:26 PM
     To : Brennen, Robert S.<RBRENNEN@MilesStockbridge.com>
     Subject: Re: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
     Dillon-Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699




      [EXTERNAL]


     I just left the courthouse after providing a letter to the clerk for the chambers judge. My lawyer has a death in the family
     and is at a preschedules conference next week and we are looking for another attorney who can received to this urgency
     issue. The judge also received documentation showing the suspension was illegal and the TRO is asking me to
     something illegal.



      Please allow time for the judge to review.



      On Tue, Jun 18, 2024, 1:12 PM Brennen, Robert S. <RBRENNEN@milesstockbridge.com> wrote:

        As neither I nor Mr. Leadore have received the passwords as contemplated below we will be moving
        forward with contempt proceedings.




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              Case 1:24-cv-03744-BAH               Document 16-2           Filed 01/03/25        Page 107 of 185

        Cc: Frenkil, Steven D. <sfrenkil@MilesStockbridge.com>; Hoffberger, Victoria {Tory)
        <vhoffberger@milesstockbridge.com>
        Subject: FW: [EXTERNAL) Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
        Dillon-Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699
        Importance: High


        Per the attached, a hearing on Ohana Growth Partners, LLC's Motion for Preliminary Injunction is set for
        next Wednesday, June 26, 2024 from 9 to 11 a.m.



        While Ohana is certain that you are abundantly familiar with the actions necessary to bring you into
        compliance with the Temporary Restraining Order entered yesterday, here are the steps that you should
        take:



             1. Create an account in Ohana's Microsoft 365 tenant, pleadore@ohanagp.com. Add the account into
                the Global Administrators group and send the password to pleadore@hartmanadvisors.com via a
                secure email. If you do not have access to send a secure email , you should send the password to
                me via text at 443-956-6458.
             2. Provide pleadore@ohanagp .com with owner level rights to all Azure subscription plans.
             3. Provide the root level administrator account password in GoDaddy to
                pleadore@hartmanadvisors .com via a secure email. If you do not have access to send a secure
                email, you should send the password to me via text at 443-956-6458. You should remove all multi-
                factor authentication apps, phone numbers, and/or email addresses associated with the root
                account.
             4. Once accounts have been created in Ohana's Microsoft 365 tenant and the root level password
                provided for the GoDaddy account, refrain from accessing or making configuration changes to their
                Microsoft 365 and GoDaddy accounts.



        You should take all the above actions this morning so that you are in compliance with the Temporary
        Restraining Order by 12 p.m. today. If you fail to do so Ohana will have no choice but to file add itional
        papers with the Court seeking to have you held in contempt of the Order and will ask that the Court take
        up the issue of contempt during the hearing on June 26th .



        As stated in my June 14, 2024 email, Ohana is open to a negotiated resolution to the claims it has asserted in its
        Complaint and any claims that you believe you may have, but will not entertain any discussions until you are in
        compliance with the Temporary Restraining Order. If you bring yourself into compliance and are interested in discussing
        a resolution, it is possible that the matter could be resolved in advance of the June 26 th hearing




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                 Case 1:24-cv-03744-BAH               Document 16-2             Filed 01/03/25         Page 108 of 185




       1
           From: no-reply@efilingmail.tylertech.cloud <no -reply@efilingmail.tylertech .cloud>
           Sent: Monday, June 17, 2024 3:42 PM
           To: Brennen, Robert S. <RBRENNEN@MilesStockbridge.com>
           Subject: [EXTERNAL] Notification of Service for Case: C-03-CV-24-002264, Ohana Growth Partners, LLC vs. Ryan
           Dillon-Capps for filing Writ/Summons/Pleading - Electronic Service, Envelope Number: 16870699




           [EXTERNAL]




                                                                                     Notification of Service
                                                                        [Quoted text hidden]
           [Quoted text hidden]
           [Quoted text hidden]




    Ryan Wagner <ryan@mxt3.com>                                                                           Tue, Jun 18, 2024 at 1:41 PM
    Reply-To: ryan@mxt3.com
    To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>

      I am in my car, and I definitly can give you the letter. I do not know the proceedure for the rest of it.

      I would have sent it you soon sooner, but I have been non-functioning for most of the time since the suspension. I do not
      think you would have filed the case at all if you had been given even the full emails where the make coercive threats and
      supporting emails and texts. For example, the cease and desist was because I had been on FMLA leave time for less
      than 2 hours before the 6hour demand letter to work or else. I cant think of a reason to not give it to you because it was
      supposed to be our filing against multiple people at Ohana in our own TRO, preliminary injunction, and Peace Order along
      with other documents supporting what we are requesting.

      Please give me a moment to stop shaking and get to a computer
      [Quoted text hidden!


       2 attachments


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               Case 1:24-cv-03744-BAH                 Document 16-2            Filed 01/03/25          Page 109 of 185

     In my haste, I did not request a copy of my submission from the clerl<. It was signed , and today's chamber judge was
     named. Due to the urgency of the situation, I was rushing, but assuming everything was printed correctly, the attachment
     should be what the judge has. I apologize for any delay. Earlier in the week, I informed Justin and Glenn that I could no
     longer sustain the current situation and required assistance. Glenn mentioned what I assume to be Hartman Executive
     Advisors. My recent email to Mr. Leadore reiterates my openness to support.

      I should clarify that the plaintiffs are not technical experts, and their response to my concerns has consistently been, "I
      disagree." Throughout this process, I have provided numerous options and proactively suggested solutions to maintain
      PCI compliance while accommodating their requests. My current state is barely functional, and my wife, a licensed
      therapist with extensive trauma counseling experience, is primarily taking care of me. I have been in and out of a non-
      functional state for days now, and leading up to this, I have repeatedly requested contact information from their attorney.
      When I asked Holly Butler, her instruction was that I go through Ohana, which is confusing given that you are all part of
      the same law firm . They have refused to provide me with your information, and I had to obtain it from the filing.

      There have been two formal written requests for your information because I want this to end. They persist, and when not
      targeting me, they go after Darren, Ann, and the help desk. Ann requested time off for mental health reasons yesterday.
      When I inquired about her well-being, she disclosed that she had experienced a panic attack but did not recognize it until
      she saw a doctor.

      On Thursday, I sent emails about Rich's actions against Darren, spoke with Victor and Lynne, and had a lengthy text
      chain with Justin. At no point did anyone say I was suspended, and I believed Rich was dangerous for hours. I sent my
      wife away, I sent Ann home, and I reached out to two senior directors for backup before someone responded to me. I
      would greatly appreciate anything you could do to help us negotiate an end to this. The only condition that is not
      acceptable is that anyone is left unprotected, and in the last 30 days alone, it has been clearly documented in writing that
      they are also targeting Ann, Darren, and Cielo. There are more examples stretching back even further for all of us.

      Thank you for your attention to this matter. I am doing the best I can, and technically, since I said I would tell them when I
      was back, my FMLA leave is still active. If they believe something else to be true, please inform them that as a result of
      the escalated hostility, I will be on FMLA leave until further notice. The statement about there being no other
      administrators is incorrect. LeeAnn continues to hold the role of Billing Administrator, and the support team continues to
      hold the privileged role of User Administrator. Since Darren was removed, there have been some gaps in Azure
      administration. I would like to provide this access to Dante Martinez, who is the Help Desk Manager. The gap in
      understanding what the Global Administrator role does underscores how their statements do not qualify as expert
      testimony.

      Thank you for your attention to this matter.



      with gratitude and appreciation,

      RDC
      (Quoted lexl hidden]



    Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                               Mon. Jun 24. 2024 at 1:23 PM
    To: "ryan@mxt3.com" <ryan@mxt3.com>
    Cc: "Frenkil, Steven D." <sfrenkil@milesstockbridge. com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>


      ~s you hav:. seen '. t_he ~o~rt rejected y°.ur assertions that PCI com_pli~nce _issue~ p~e~ent_yo_~ _fr~m c~mplying wit_h th~




July 1 @ 838AM: Origional Reconsider Exhibits Trimmed - No laws, Cases, Publications           Page # 109 of 185          Exhibit IO1-8
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                                                                                       ii.   Provide pleadore@ohanagp.com with owner level rights to
                                                       all Azure subscription plans.

                                                                                    iii. Provide the root level administrator account password in
                                                       GoDaddy to pleadore@hartmanadvisors.com via a secure email. If you do not have access
                                                       to send a secure email, you should send the password to me via text at 443-956-6458. You
                                                       should remove all multi-factor authentication apps, phone numbers , and/or email addresses
                                                       associated with the root account.

                                                                                     iv. Once accounts have been created in Ohana's Microsoft
                                                        365 tenant and the root level password provided for the GoDaddy account, refrain from
                                                        accessing or making configuration changes to their Microsoft 365 and GoDaddy accounts.

                     Note that this provision is non-negotiable and cannot be subject to or held up by any requests by you for
                     information from or about Mr. Leadore. You perform the steps/actions as stated ; period.

                     2. You send an email to Ms. Lauren Prinkey, Judicial Assistant to the Honorable Keith R. Truffer, cc'ing me and
                        my colleagues Mr. Frenkil and Ms. Hoffberger, and asking her to advise the Court that you consent to the entry
                        of the preliminary injunction.

      Once we receive confirmation from Mr. Leadore that he has obtained Global Administration rights in Ohana·s Microsoft
      365, owner rights to all Azure subscription plans and administrative control over the GoDaddy Account. Ohana will:

              1. Withdraw its motion to have you held in contempt of the TRO;
              2. Request that the Court cancel the scheduled June 26th hearing as moot and unnecessary; and
              3. Pause the litigation for 30 days in order to provide an opportunity for your situation to stabilize and for you and
                 Ohana to attempt to negotiate an end to the litigation.



      Time is of the essence. If you do not complete the four steps in Item 1 by 5:30 p.m. today the entire proposal is
      off the table.




                            Robert Brennen I Principal


                            M iles & Stockbridge


                            direct: +1 (410) 385-3653




      From: Ryan Wagner <ryan@ mxt3.com>
      C.o... t- • T1 10C'rl -:.u   l11n o   10   ")n'1/I C: 'lf\ OPt ,1
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July I @ 838AM: Origional Reconsider Exhibits Trimmed - No laws, Cases, Publications                             Page # 110 of 185       Exhibit IO 1-B
              Case 1:24-cv-03744-BAH                            Document 16-2                    Filed 01/03/25                Page 111 of 185

  •   In my haste, I did not request a copy of my submission from the clerk. It was signed, and today's chamber judge was
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      PCI compliance while accommodating their requests. My current state is barely functional , and my wife, a licensed
      therapist with extensive trauma counseling experience, is primarily taking care of me. I have been in and out of a non-
      functional state for days now, and leading up to this, I have repeatedly requested contact information from their attorney.
      When I asked Holly Butler, her instruction was that I go through Ohana, which is confusing given that you are all part of
      the same law firm . They have refused to provide me with your information, and I had to obtain it from the filing .

      There have been two formal written requests for your information because I want this to end. They persist, and when not
      targeting me, they go after Darren, Ann, and the help desk. Ann requested time off for mental health reasons yesterday.
      When I inquired about her well-being, she disclosed that she had experienced a panic attack but did not recognize it until
      she saw a doctor.

      On Thursday, I sent emails about Rich's actions against Darren, spoke with Victor and Lynne, and had a lengthy text
      chain with Justin. At no point did anyone say I was suspended, and I believed Rich was dangerous for hours. I sent my
      wife away, I sent Ann home, and I reached out to two senior directors for backup before someone responded to me. I
      would greatly appreciate anything you could do to help us negotiate an end to this. The only condition that is not
      acceptable is that anyone is left unprotected, and in the last 30 days alone, it has been clearly documented in writing that
      they are also targeting Ann, Darren, and Cielo. There are more examples stretching back even further for all of us.

      Thank you for your attention to this matter. I am doing the best I can, and technically, since I said I would tell them when I
      was back, my FMLA leave is still active. If they believe something else to be true, please inform them that as a result of
      the escalated hostility, I will be on FMLA leave until further notice. The statement about there being no other
      administrators is incorrect. LeeAnn continues to hold the role of Billing Administrator, and the support team continues to
      hold the privileged role of User Administrator. Since Darren was removed, there have been some gaps in Azure
      administration. I would like to provide this access to Dante Martinez, who is the Help Desk Manager. The gap in
      understanding what the Global Administrator role does underscores how their statements do not qualify as expert
      testimony.

      Thank you for your attention to this matter.



      with gratitude and appreciation,

      ROG



      On Tue, Jun 18, 2024 at 1:41 PM Ryan Wagner <ryan@mxt3.com> wrote:

        I am in my car, and I definitly can give you the letter. I do not know the proceedure for the rest of it.



        I \AJru 1lti h:::a\10 c::ont it ,,n11 c::nnn c:n.n nor hr ,t I h:::auo hoon nnn_f, 1nr-tinninr, fnr mnc:::t nf the timo c::inro tho c:1 ,c:nonc:::inn   I rl"




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               Robert Brennen I Prind pa/


               Miles & Stockbridge


               direct: +l (410) 385-3653

            [Quoted text hidden]




    Ryan Wagner <ryan@mxt3.com>                                                                     Mon. Jun 24 , 2024 at 6:54 PM
    Reply-To: ryan@mxt3.com
    To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>
    Cc: "Frenkil, Steven D." <sfrenkil@milesstockbridge.com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>.
    pleadore@hartmanadvisors.com

      @Brennen, Robert S. I am not ignoring you; I am suffering from severe PTSD complications and doing the best I can.

      I am still waiting to see the court's assertion. How are they being delivered? May I have a copy?

      You mentioned Ms. Lauren Prinkey, Judicial Assistant to the Honorable Keith R. Truffer. May I have that email address?

      I am eager to read the court's assertion and have the email you mentioned in your instructions.

      Thank you,
      RDC

      [Quoted text hidden]



    Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                              Mon, Jun 24, 2024 at 7:05 PM
    To: "ryan@mxt3.com" <ryan@mxt3.com>
    Cc: "Frenkil, Steven D." <sfrenkil@milesstockbridge.com>, "Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbridge.com>,
    "pleadore@hartmanadvisors.com" <pleadore@hartmanadvisors.com>

      I just forwarded Ms. Prinkney's email that went to you On Friday
      Sent from my iPhone


              On Jun 24, 2024, at 18:54, Ryan Wagner <ryan@mxt3.com> wrote:



              [EXTERNAL]


              @Brennen, Robert S. I am not ignoring you; I am suffering from severe PTSD complications and doing the
              ho<"t I ,...-:,n




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               As you have seen, the Court rejected your assertions that PCI compliance issues prevent you from
               complying with the Temporary Restraining Order and has directed that you appear at the hearing
               scheduled for Wednesday to explain why you should not be held in contempt of court.



               Below you claim that you "would greatly appreciate anything [I] could do to help us negotiate an end to
               this." I am authorized by Ohana to make the following proposal:



                        1. You must immediately comply with the 4 steps I communicated a week ago:

                                                                         i. Create an account in Ohana's Microsoft
                                             365 tenant, pleadore@ohanagp.com. Add the account into the Global
                                             Administrators group and send the password to
                                             pleadore@hartmanadvisors.com via a secure email. If you do not have
                                             access to send a secure email, you should send the password to me via text
                                             at 443-956-6458.

                                                                            ii. Provide pleadore@ohanagp.com with
                                             owner level rights to all Azure subscription plans.

                                                                          iii. Provide the root level administrator account
                                             password in GoDaddy to pleadore@hartmanadvisors.com via a secure
                                             email. If you do not have access to send a secure email, you should send
                                             the password to me via text at 443-956-6458. You should remove all multi-
                                             factor authentication apps, phone numbers, and/or email addresses
                                             associated with the root account.

                                                                          iv. Once accounts have been created in
                                             Ohana's Microsoft 365 tenant and the root level password provided for the
                                             GoDaddy account, refrain from accessing or making configuration changes
                                             to their Microsoft 365 and GoDaddy accounts.

                       Note that this provision is non-negotiable and cannot be subject to or held up by any requests by
                       you for information from or about Mr. Leadore. You perform the steps/actions as stated ; period.

                        2. You send an email to Ms. Lauren Prinkey, Judicial Assistant to the Honorable Keith R. Truffer,
                           cc'ing me and my colleagues Mr. Frenkil and Ms. Hoffberger, and asking her to advise the
                           Court that you consent to the entry of the preliminary injunction.

               Once we receive confirmation from Mr. Leadore that he has obtained Global Administration rights in
               Ohana's Microsoft 365, owner rights to all Azure subscription plans and administrative control over the
               GoDaddy Account, Ohana will:

                   1. Withdraw its motion to have you held in contempt of the TRO;
                   2. Request that the Court cancel the scheduled June 26th hearing as moot and unnecessary; and
                   3. Pause the litigation for 30 days in order to provide an opportunity for your situation to stabilize and
                      for you and Ohana to attempt to negotiate an end to the litigation.




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           Re: Case No. C-03-CV-244-002264
           Baltimore County Circuit Court
           TRO and Preliminary Injunction
           Ohana Growth Partners




           Dear Judge,

           I am writing to bring to your attention urgent matters concerning my current legal situation and
           request immediate judicial intervention regarding a Temporary Restraining Order (TRO) and
           Preliminary Injunction that conflicts with legal and compliance obligations.

           I have been dealing with significant issues related to my employment with Ohana Growth
           Partners, which have been exacerbated by recent events. I had secured three strong referrals for
           legal assistance, but they conflicted. I was starting the process to work with the fourth referral,
           but I found out at midnight that they couldn't help me due to a family bereavement and a pre-
           scheduled conference. Consequently, they refunded my retainer, leaving me without legal
           representation at a critical time.

            Currently, I am facing a situation where compliance with the TRO and Preliminary Injunction
            would require me to violate PCI compliance standards, thereby putting me in a position where l
            must choose between violating federal compliance requirements or being held in contempt of
            court. The opposing counsel has informed me that I must comply by noon today, June 18, 2024.
            I read this demand at about a quarter to 11 , which evenn1ally led me to write this letter and rush
            to the courthouse.

            On June 13, 2024, at 7: I 2 AM, I notified the CFO, Head of HR, and President of Ohana Growth
            Partners that I was commencing my FMLA leave due to PTSD. My FMLA statiis was last
            confirmed and validated by the HR Generalist on May 23 , 2024. Despite this, at 9:0 I AM on the
            same day, I received a demand letter requiring me to return to work and I had 6 hours to do it---
            or else. In response, I issued a cease and desist letter, which is included in petitioner Exhibit B,
            clarifying that the cease and desist pertained to my right to FMLA leave.

            The basis for my suspension, as claimed by my employer, consists of two parts:

                I. They misconstrued my cease and desist letter as a refusal to comply with work demands,
                   despite its clear reference to FMLA leave.
                2. They demanded that I grant Global Administrator access, which would be a violation of
                   PCI compliance. The company failed to inforn1 the court of this crucial compliance issue
                   and the proactive measures I had taken to grant access to the President under PCI
                   compliance guidelines.

            I have over 25 years of experience in IT and am responsible for ensuring PC I compliance within
            the organization. Granting Global Administrator access without ensuring compliance would be a
            serious violation of these standards. Despite providing several alternatives and options to my




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            employer, they have persisted in demanding actions that would compromise compliance and
            security.

            Furthermore, the company has engaged in retaliatory actions, including placing my IT
            Coordinator on administrative leave shortly after receiving the cease and desist letter. This
            retaliation appears to be in direct response to my assertion of FMLA rights.

            Due to these pressing issues and the sudden unavailability of my legal counsel, I am seeking
            immediate judicial relief to address the following:

                 I. Clarification and potential modification of the TRO and Preliminary Injunction to ensure
                    compliance with PCI standards without subjecting me to contempt of court.
                 2. Protection against retaliation for exercising my FMLA rights.
                 3. Adequate time to secure new legal representation to address these urgent matters.

            All supporting documentation and communications are available to substantiate my claims.
            printed out as many as I could before rushing over here today.

            Thank you for your prompt attention to this matter.


            With gratitude and appreciation,
            Ryan Wagner
            rya n@ mxt3.com
            1334 Maple Ave
            Essex MD
            21221




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         Re: FMLA Time

         Ryan Dillon-Capps < Ryan.DillonCapps@ohanagp.com>
         Thu 2024-06-13 7:15 AM
         To:IT.Support < IT.Support@ohanagp.com >;IT.Businesslntelligence < IT.Bl@ohanagp.com >;Glenn Norris
         <glenn@ohanagp.com>;Rich Hartman < Rich.Hartman@ohanagp.com> ;Justin Drummond
         <Justin.Drummond@ohanagp.com>
         .@Rich Hartman Sorry I went to log last night. I was mistaken in the numbers. math of below is
         125, but I forgot about a few more hours. It is actually 120 right now. Sorry for that mistake.



         This message may include text created with the help of natural language processing.


         4 Book time to meet with me
           Ryan Dillon-Capps
           Vice President of IT
           Ohana Growth Partners, LLC

                                         office 410-252-8058 x109
           OH~NA                         212 W. Padonia Rd
             Growt h Pa r tners          Timonium, MD 21093
                                         ~P.lanetfitness.com


            "Culture eats strategy for breakfast"



         From: Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com>
         Sent: Thursday, June 13, 2024 7:12 AM
         To: IT.Support <IT.Support@ohanagp.com>; IT.Businesslntelligence <IT.Bl@ohanagp.com>; Glenn
         Norris <glenn@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Justin Drummond
         <Justin.Drummond@ohanagp.com>
         Subject: FMLA Time


         Team, please prepare for tonight. Ann will confirm later today if you are available for 1st thing
         tomorrow morning checks.

         I did most of the prep and testing last night, but I am going to be out for a few hours today and
         not sure when I will be back on. It depends on how well things go today.

         @Glenn Norris @Rich Hartman @Justin Drummond This is FMLA. However, Rich, as you know
         from yesterday's emails, I didn't end up taking the time expected, and since Friday, I have worked



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         every hour except for the 14 hours of sleep and roughly 10 hours of non-work
         related tasks, which I think is 139 hours. Not sure how you want to track that.



         This message may include text created with the help of natural language processing.


          El, Book time to meet with me
            Ryan Dillon-Capps
            Vice President of IT
            Ohana Growth Partners, LLC

                                         office 410-252-8058 x109
            OH~NA                        212 W. Padonia Rd
              G r owth Partners          Timonium, MD 21093
                                         ~    Rlanetfit ness.com


            "Culture eats strategy for breakfast"




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       From: Rich Hartman <Rich.Hartman@ohanagp.com>
       Sent: Thursday, June 13, 2024 9:01 AM
       To: Ryan Dillon-Capps <Ryan.Wagner@ohanagp.com>
       Cc: Karen Debus <karen.debus@ohanagp.com>
       Subject: Acknowledgement Required

       Ryan,
       You have received repeated and multiple demands from your supervisor, the company president, and the owner of Ohana Growth Partners (OGP) since
       May 21, 2024 to add them and other individuals as Global Administrators. You have repeatedly refused and failed to obey these directives. Such conduct
       constitutes insubordination which violates Section 1 of your January 8, 2020 Employment and Non-Disclosure Agreement requiring that you "faithfully and
       diligently perform ... duties as may be assigned by management from time to time." In addition, the refusals violate Section 6.1 of the Ohana Associates
       Handbook ("Standards of Conduct") which prohibits the "failure to follow lawful instructions of a supervisor."

       There are countless reasons why a company should have several Global Administrators, whether being tied up in business meetings, vacations, leaves of
       absence, or other activities t hat cause a single Global Administrator to be unavailable. Your communication yesterday about your need for FMLA time off,
       to which you are entitled, makes self-evident the reasons for the company's demand to have several Global Administrators.

       Glenn has signed an agreement on behalf of OGP with Hartman Executive Advisors (HEA) and demands that you add Phil Leadore from HEA as a Global
       Administrator by 3 pm today. We also instruct you to hold off on any major updates or changes to the system until HEA has had a chance to evaluate
       Ohana's IT systems.


       We have evaluated the multitude of reasons for your refusal to obey management 's directives. We are not looking to debate these reasons any further,
       rather we require a simple acknowledgment that you will follow the directive or not and then do so immediately by 3:00 pm today. Failure to acknowledge
       this directive and to add Phil Leadore as a Global Administrator by 3:00 pm today will require the company to take appropriate action.

         Rich Hart man
         VP of People and Culture
         Ohana Growth Partners, LLC

                                office 410-252-8058 x114
        OH ~ NA                 212 W. Padonia Rd
                                Timonium, MD 21093
                                www.planctfitncss.com


         " Culture eats st rategy for breakfast"




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        Re: Immed iate Response to Rich Hartman Addressing Illeg ality and Cease and Desist
       Ryan Dillon-Capps <Ryan.Wagner@ohanagp.com >
       Thu 2024-06-13 12:03 PM
       To:Ryan Dillon Capps <Ryan.DillonCapps@ohanagp.com>;Rich Hartman <Rich.Ha11man@ohanagp.com >
       Cc:Karen Debus <karen.debus@ohanagp.com>;Justin Drummond <Justin.Drum mond@o hanagp.com>;Stacey Wittelsberger (ESC) <srector@exeterstreetcapital.com >.C. Victor
       Brick <Victor@ohanagp.com> ;Lynne Brick B5.N.M.A.<lynne@ohanagp.com>;Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com >;Earl Ihle
       <Earl.lhle@ohanagp.com>;Glenn Norris <g lenn@oh anagp.com>

       @Rich Hartman Silly Forms I will try this again with the form corrected

       I hope this message finds you well.

       I am writing to formally address and respond to the recent directives and com munications that have raised significant legal and ethical concerns.

       Illegal Directives and Retaliatory Actio ns

       The email you sent today, June 13, 2024, demanding the addition of Global Administrators w ithin a six-hour window under threat of insubordination
       charges, is not only inappropriate b ut also illegal. These actions constitute retaliation under the Family and Medical Leave Act (FMLA) and relevant
       Maryland state laws. Specifically:

            1. Family and Medical Leave Act (FMLA) Violations:

                        Under 29 U.S.C. § 2615(a), it is unlawful for an employer to retaliate against an employee for exercising their rights under the FMLA. The
                        directives and threats issued in your email are clear acts of retaliation against me for taking FMLA leave.

            2. Maryland Retaliation Laws:

                        According to Md. Code Ann., Lab. & Empl. § 3-801 et seq., retaliatio n against employees for reporting w orkplace violations or exercising their
                        rights is prohibited. Your actions have created a hostile work environment and have directly undermined my professional responsibilities.

       Cease and Desist Demand

       Effective immediately, I demand that you cease and desist fro m any further retaliatory actions and coercive threats. This includes, but is not limited to, the
       following:

            1. Retaliatory Directives: Any o rders or demands that t hreaten disciplinary action or undermine my role and responsibilities.
            2. Co ercive Threat s: Any communications t hat use t hreats of insubordination or other punitive measures as a means of compliance.

       Failure to comply with this cease and desist demand will leave me with no option but to pursue all available legal remedies to protect my rights and ensure
       a safe and fair working environment.

       Notification of Request for Confirmation

       Please be aware that I have request ed Hartman Executive Advisors, including Phil Leadore and Dan Levett , to confirm t heir qualifications and involvement
       in t he PCI DSS v4 review. Ownership have been included in this com munication thread to ensure full transparency and oversight.

       Request for Confirmation

       Please confirm in writing by 1:30 pm EST that you have received this cease and desist notice and that yo u will comply with its terms. Failure to provide
       t his confirmation will be taken as a refusal to comply, and I will proceed accordingly.

       Thank you for your immediate attention to t his serious matter.




       This message may include text created with the help of natural language processing.


             Book time to meet with rne



         Ryan Dillon- Capps
         Vice Preside nt of IT
         Ohana Growth Partners, LLC

                                       office 4 10·252-8058 x l 09
                                       212 W. Padonia Rd
         OH ~ NA                       Timomum, MD 21093
                                       www.planetfitness.com


         "Culture eats strategy for breakfast"




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                                                             OH~NA
                                                                Growth p
                                                                                   a rtn ers

                                    Oh;,114 Gro-.,th P.lt t::ne
                                    212 If. Padonia Rd u, LLC
                                    Tinton1wz,, MD 2109;

                                    June 13, 2024




                                    Dear Dar.rf!n,

                                    Effectiv" immediately, June 13, 202~. you a.re being placed on Lu•,• of
                                    ab,senc1' until t~r::tht'C notice wi t h tull P4Y and f ull benefit,; vhlle the
                                    company und~rgoes a review of IT operatlon~.

                                    Du.ting chi:r c.1c:.e. you will nol hav~ a cet:ss t.O c ~.an v a v•t.ea3 o t any u!
                                    th~ facilities a r.d a..ce net 4,ut h0c1:.ed t.o do v or ~ o n ~ nal!' ot t.h ~ ~t\'1 ·

                                    Ke will upd~t e you once our c•viev l~ co;tp\et.••




                                    Rich llar ~ n
                                    VP of People and Culture




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              From: Rich & LeeAnn <richnlee@gmail.com>
              Sent: Thursday, June 13, 2024 8:47 PM
              To: Ryan Dillon-Capps <ryan.dilloncapps@ohanagp.com>; Glenn Norris
              <glenn@ohanagp.com>; Karen Debus <karen.debus@ohanagp.com>
              Subject: Ohana - Suspension


                  Some people who received this message don't often get email from richnlee@g mail.com.
                  Learn why: this is imgortant

                   CAUTION: This email originated from outside the organization. Do not
                   click links or open attachments unless you recognize the sender and
                   know the content is safe.
              Ryan,
              I am sorry to have to send t his to you via my personal email account but
              since you have disabled my office email account t his will have to suffice. I
              will also put a physical copy of this letter in the mail tomorrow. It will be
              directed to your address on file: 1334 Maple Avenue Essex, MD 21221. If this




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                                            OH ~ NA
                                                G rowth P artners



             Oha na Growtr. Par~ners, LLC
             212 W. Padonia Rd .
             Timoni um, MD 21093

             June 13, 2024


             Dear Ryan,
             Effec tive immedi ately, June 13 , 202 4, you are sus~ended from your emplo yment
             with Ohana Growth Partne rs un ti l further notice. This is d~e to you r
             i nsubordination and failure to comply with directives fro m superiors, described
             in pa rt to you in t he email sent to you earl ier tod ay , and continuing s i nce you
             r ecei ved c he e mail. The suspension ~s without pay. During the suspens i on , you
             wi l l contin~e to h ave access to your ~edical b enefits .

             During t his period of suspension, yo u are r elieved of a ll of your d u ties and
             are not authorized to work on beha l f of the company or ha ve any e l ectronic ,
             i n t ernet, physical, or other access ~o or con nection wi th any comp any prope rty
             o r s yst ems , including but n ot limited to company I1' syste~s and equipment . In
             additio n, you are not authorized to enter any company facili t y .

             You will be noci fled ln writing of any further c h anges.




             S incerely,


            /1:t/,a~
             Rich Hartman
             VP of People and Cu l t ur e




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            Re: Chana - Suspension

            Justin Drummond <Justin.Drummond@ohanagp.com >
            Thu 2024-06- 13 9:54 PM
            To:Ryan Dillon-Capps <Ryan.DillonCapps@ohanagp.com >;Rich & LeeAnn
            <richnlee@gmail.com >;Glenn Norris <glenn@ohanagp.com>;Karen Debus
            <karen.debus@ohanagp.com> ;Rich Hartman < Rich.Hartman@ohanagp.com >

             Ryan:

             Your assertions that Rich Hartman did not suspend you or lacked the
             authority to suspend you are both incorrect and baseless.

             For the avoidance of any doubt by you, I incorporate into this email Rich
             Hartman's email to you today notifying you of your suspension and hereby
             confirm that you were suspended upon receipt of that email. Please follow
             fully the directives in that suspension notification.

             I also hereby confirm that you have been directed by me to immediately
             comply with Rich Hartman's email of 9:01 am this morning by immediately
             adding Phil Leodore from HEA as a Global Administrator regardless of
             whether he has confirmed any qualifications or involvement in the PCI DSS
             v4 review.

             Thank You,

             *Please excuse any typos. Email sent from iPhone*

                Justin Drummond
                President
                Ohana Growth Partners, LLC

                                                 office 410-252-8058 x214

                OH~NA
                  G rowth Partne r s
                                                 212 W. Padonia Rd
                                                 Timonium, MD 21093
                                                 ~ Rlanet fitness.com


                 "Culture eats strategy for breakfast"


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    Ryan Wagner

    From:                               Ryan Wagner < Ryan.Wagner@ohanagp.com >
    Sent:                               Friday, May 24, 2024 8:00 AM
    To:                                 Karen Debus
    Cc:                                 Justin Drummond; Terry Woods; Earl Ihle; C. Victor Brick; Lynne Brick B.S.N. M.A.; Stacey
                                        Wittelsberger (ES(); Glenn Norris; Rich Hartman
    Subject:                            Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN
                                        BROOKS
    Attachments:                        Clarification of Text Message Requested (369 KB); Re: Clarification of Text Message
                                        Requested (451 KB); Re: FMLA (443 KB)

    Importance:                         High




    @Karen Deb us I regret to inform you that Rich Hartman on Wednesday January 1 0'" at 1 :46 PM EST said"... Going
    forwa rd please stop working and complete t he FMLA paperwork."
    Here are two screenshots that contain the full-text message with this statement and my replies and then his reply
    w here he stated the reason was" ... Our policy is to not allow work while on leave"




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                                                                                                precludes an empl0yee
                                                                                   . mpellmg tli'l'el.n t0 w0rk

                                                                            emJ.:>loyer fr0m Gompelling an employee t0



                                                                             FMLA d0es n0t preclude an employee
                                                                             from any w0Gk. It precludes an employee
                                                                             fro1n comP.elling them to work

                                                                                   yeufr0m c0mpellir:ig an em@l0yeeto




                                                   m1;>
                                               an e
                                           t0work

                               ,m G©mf:>ellifilg an employee to



   This is what was emailed to him in response .




                                                                  2


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   From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Sent: Wednesday, January 10, 2024 5:32 P~
   To: Rich Hartman <Rich.Hartman@ohanagp.com>
   Subject: Clarification of Text Message Requested

   f,R;cil H.s rtma ,, On 10 January 2024, you sent me the following text message


        When I say preclude I mean ou r pract~ce.
        You are correct in that we cannot require
        you to work but it is not your choice to
        work while on leave. Our policy is to not
        allow work whil:e on leave.


    Can you please elaborate on what you are saying?

   For 3 years, I have virtually never had vacation or personal day of leave where I did not 'NOr'k, and I have alsoworke
   him responding or not responding to something because he was on leave was a material part of the conversation.
   they need to text me.

    On Page 30 of the handbook, it shows that we allow for full or partial days of absences from FMLA

      Under federal and stare law, your salary is subj.:c! lo certain deductions. For example, unkss
      state law requin:s otherwise. your !>iilaf)' can be reduced for lhc following r=on.s:

         •   Full-day absences for personal rcaso,.....
         •   Fu II-day absences for sickness or disability.
         •   Full-day disciplinary suspensions for infractions of our wrincn policic::s and procedures.
         •   Family aud M.-diefil Lean: al>s<!nc~ (t:ither full- or partial-day abwuces}.
         •   To off.~cl nmounts received a~ p11ymcnl for j ury and witness fees or militnry pay.
         •   TI1e flrsl or last w¢!k of t:ruployruem iu the event you work tei;s than a lull w.-d.:.
         •   Any full work week in which you do not pcrfom1 any won.:.




                                                                              3


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     From page 41 through 51 where it talks about our leave policies the only place that 1found to use similar language

       D. No Work While on Leave

       The talcing o[ another job while on family/medical leave or any other authorized leave of
       absence is grounds for immediate termination, to the extent permitted by law.


     Except thi s appears to say that we are not allowed to take another job, not that we are prohibited from performing
     that Ohan a would want the head of IT to suddenly become completely unavailable, and one would think that the h
     you are not happy and celebrating me for my flexibility and dedication to Ohana.

     Even if there was a written policy that said we are not allowed to work while on leave. f or the same reason that all

     If you want to prohibit me from working, then I need to understand why and I wilt need to know how we are com mu

     I do not even know right now how the 12weeks of FMLAwill ultimately be broken up. How will people knowwhen I

    I am not authorizing Ohana to tell people that I am on FMLA leave. With veryiew exceptions, those who have been



    I have attached that email to aide in transparency. In this email, I reference our handbook and challenge the claim the
    company policy is to prevent. Rich responded on the 16th of January; the email is attached. I could continue to break
    down this and many other emails to raise questions and provide transparency. Instead, I will ask you some questions
    that I do not anticipate any answers to.

    From the beginning, I have requested that we utilize 3rd party experts without conflict of interest to inform and advise
    us: (the ones you are aware of)

         1.   Digital Forensic Expert for suspicious emails
         2.   Attorney practicing the relevant body of law to which the felonies apply
         3.   Head of Corporate Security for PCI Compliance


    These steps could have been taken at any point to address my concerns and to provide protection th at we performed
    due process.


        •     Have you asked any of your own professional resources about what are the standard practices when concerns
              like these are raised?


    The FMLA paperwork you originally sent and the updated version you sent both contain 30 days of recertification. Since
    then, Rich has stated via email that I can cease completing these monthly and instead do it once every 6 months.

        •     Do you know what FMLA regulation 29 CFR §825.308 states? (see attached email titled Re: FMLA for more
              information.)

    Holly Buttler is the principal of a well-established and respected law firm .


        •     Is it reasonable to think that Holly Buttler would have advised Ohana to complete the form you emailed me
              incorrectly?
        •     Who found the first mistake?



                                                                  4


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            •   Is it reasonable to think that Holly Buttler would not provide sound legal advice without mitigating factors
                preventing her from doing so?


     My predecessor completed a form and submitted it to Rich prior to being terminated. (this may be new to you - I can
     provide you with proof that Rich recieved and confirmed receipt)


         •      Can you find that form? What does it say? Are you certain that it had not been modified after Steve submitted
                it to Rich.


     Rich immediately notified two people that I had named them in my formal HR Complaint.

         •      Is it normal for HR to immediately notify anyone named in a formal complaint?
         •      Is there a legal reason HR would or would not want to do this?

     Here are some FMLA and other related questions:


         •      Can the company FMLA policy be more stringent than those applied t o other types of leave?
         •      Do other executives or department heads have the same policies being applied to them as I currently have
                applied to me?
         •      Are all of the policies currently applied to me also being applied to all other executives and department heads
                equally?
         •      Have all policies being applied to me been clearly communicated and applied consistently across the
                organization?
         •      Where is the FMLA leave notification requirement policy? Does it clearly state why it is necessary and how it
                will be applied?
         •      What does the FMLA say about policies that hinder someone on FMLA's ability to perform their duties
                effectively?
        •       Are there other labor laws that could apply to a situation listed above or mentioned in other emails you were
                on?
        •       As a person who has been leading many of these communications, have you had unfiltered access to the
                employment attorney to ensure your communications align with the law and regulations?
        •       Are there any emails you have sent me that could violate the FMLA or other laws and regulations?
        •       What would be the outcome if the emails and communications you sent me were found to violate a law or
                regulation?
        •       Have any former team members of HR experienced a similar situation?
        •       Have any former team members of HR raised concerns about Rich?
        •       Does insubordination apply to situations where an order is not legitimate and reasonable? How about orders
                that are illegal or unethical?
        •       Are employers allowed to terminate, demote, or apply other adverse employment action in response to an
                employee's refusal to violate laws or regulatory standards?
        •       Can an employer use another reason for adverse action hours, days, or even the following weeks - possibly
                months or longer - when an employee escalates the issue and reports threats of adverse actions?
        •       Does PCI compliance fall under any whistleblower protections, such as Maryland MOSH, Federal SOX or Dodd-
                Frank or CPA, or common laws like wrongful discharge?
        •       Have you been advised by the attorney what qualifies as "good faith"?



    As per PCI Compliance,


        •       I asked for clarification as to what he needs to do so that the department can do it or provide a recommendation
                as to how it can be done.
        •       Offered to have a meeting with the head of corporate security to discuss my concerns.

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                   o   As long as they have all the relevant information and I can be part of that conversation, I do not
                       anticipate any issues with us following their approval.
                   o   This is the same process we have done for anything and everything else PCI compliance related.




    This message may include text created with the help of natural language processing.


    :J, Book time to meet with me

    From: Karen Debus <karen.debus@ohanagp.com>
    Sent: Thursday, May 23, 2024 4:55 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Cc: Rich Hartman <Rich.Hartman@ohanagp.com>
    Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS


    Hi Ryan,

    I just want to stress a couple of points regarding your mention of stress/anxiety. You are approved for
    FMLA which covers any time you need off for the medical reason you indicated when you applied. No
    one from HR has stated that you shouldn't be working, but if you need time off, it is available to you
    through FMLA protection. You just need to let us know that the time off is FMLA time.

    Thanks,

    Karen



       Karen Debus
       Sr. HR Generalist
       Ohana Growth Partners, LLC

                                  office 4 10-252 -8058 xl 17

      OH~NA
        Growth Partners
                                  212 W. Padonia Rd
                                  Timonium, MD 21093
                                  www.planetfitness.com



       "Culture eats strategy for breakfast"



    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:37 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin .Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS




                                                                               6


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   Certification of Health Care Provider for
   Employee's Serious Health Condition
   under the Family and Medical Leave Act
                                                                                      U.S. Department of Labor
                                                                                      Wage and Hour Division                             awHD
                                                                                                                                          WAGE Atl□ HOUR 01'11S1011


   DO NOT SEND COMPLETED FOR.'\I TO THE DEPARTMENT OF LABOR.                                                                   0MB Control Number 1235-0003
   RETURN TO TILE PATIENT.                                                                                                                 Expires 6/30/2023

    The Family and Medical Leave Act (FMLA) provides that an employer may require an employee seeking FMLA protections
    because of a need for leave due to a serious health condition to submit a medical certification issued by the employee's
    health care provider. 29 U.S.C. §§ 26\3, 2614(c)(3); 29 C.F.R. § 825.305. The employer must give the employee at least
    15 calendar days to provide the certification. lfthe employee fails to provide complete and sufficient medical certification.
    his or her FMLA leave request may be denied. 29 C.F.R. § 825.313. lnfonnation about the FMLA may be found on the
    WHD website at www.dol.!!.ov/auencies/whd/ fmla.

                                                            SECTION I- EMPLOYER
     Either the employee or the employer may complete Section l. While use of this form is optional, this form asks the health
     care provider for the infonnation necessary for a complete and sufficient medical certification, which is set out at 29 C.F.R.
     § 825.306. You may not ask the employee to provide more information than allowed under the FMLA regulations,
     29 C.F.R. §§ 825.306-825.308. Additionally, you may not request a certification for FMLA leave to bond with a healthy
     newborn child or a child placed for adoption or foster care.
     Employers must generally maintain records and documents relating to medical information. medical certifications,
     recertifications, or medical histories of employees created for FMLA purposes as confidential medical records in separate
     files/records from the usual personnel files and in accordance with 29 C.F.R. § \630.\4(c)(l), if the Americans with
     Disabilities Act applies, and in accordance with 29 C.F.R. § 1635.9, if the Genetic Information Nondiscrimination Act
     applies.
      (1) Employee name: ...:R~y~a~n'.....W::.::a~g~n.:::.e'.....r- - - - - - - - : - : : - - - - -- - - : - - -- - - - - -- - -
                                          First                              Middle                         Ln:sc

                                                                                                             Date: 01/08/24                          (mml ddlyyyy)
      (2) Employer name: Ohana Growth Partners
                                                                                                                   (list date certification requested)

                                                                                                                                                           d
      (3) The medical certification must be returned by 01/24/24                                              _                  . ..                r7,m/ (llyyyy)
               (Must allow at feast / 5 calendar days from the date requested. unless it is not feasible despite the employee s d,bgent. good fau/z efforts.)

      ( ) Employee's job title: Vice President of Information Technology        Job description (El is / Dis not) attached.
       4
          Em loyee's regular work schedule: 40+ hours per week                                                  _ .
          Sta:ment of the employee's essential job functions: Work w/execulive leadership to develop and ma1nta1n IT
            roadmap and oversee day-to-day operations.                                                        _.                              . _         ,       .,
                          · /fun ·        ·'th mplo=e'sposition are determined with reference to the pos11ton tire employee held at the wne tlze employee
              (Tire essentw     c 11011s 01   ee       r                                                         .               •
                                             notified the employer ofthe needfor leave or the lea,·e started. w!uche,·er Is car/1er.J


                                                  SE~TION U- IIEAL'I_H CARE PROVIDER
                    •              , · r,      f    complete all relevant parts of this Section. and sign the form. Your patient has
       Please provide your contact
                                h FMLA in orma ion,
                                             Th FMLA allows an employer to require that the employee sub m1t    • a ttme
                                                                                                                     • 1y. comp Ie te.
       requested _leave un~er t e.        . • :u ort a r uest for FMLA leave due to the serious health condition of the employee.
       and sufficient medical certi~calion tloh PPd. . ~ . an illness iniury impairment or physical or mental condition that
                           es a '"serious hca t con 1t1on means              , ,    '            '                     d fi • •    f
       For FMLA purpos •                 . .             b         ill care provider. For more infom1ation about the e m1uons o a
       involves inpatient care or contmumg treatment ya I1ea 1
       serious health condition under the FMLA, see the chart on page 4.
                                                  ·    h            ·ate medical facts including symptoms. diagnosis. or any regimen
        You may, but are not required to, provide ot e_r a_pp:pn .          t Please note that some state or local laws may not allow
        of continuing treatment such _as the u:e of speciahhze _eq~1pme_: ~ health condition, such as providing the diagnosis and/or
        disclosure of private medical mformat1on about t e patten s sen
        course of treatment.


                                                                                                                           form WH-380-E. Revised June 2020
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     Employee Name: _R_,y:....a_n_W_a....:g:!..n_e_r_ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __ _ __ _ _ _ _ __

     Health Care Provider's name: (Prim) _M_e_,g:c..a_n_R_o_b_is_o_n...c., _L_C_S_W_·_-_C_ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ __

     Health Care Provider's business address: _ _ _ _ __ _ _ _ _ _ _ __ __ _ _ _ _ _ _ __ __ __

     Type of practice / Medical specialty: _M_e_n_ta_l_H_e_a_lth
                                                             _ T_h_e_ra_p:_i_s..:..t,_L_C_S_W
                                                                                            _ C_ _ _ _ _ __ _ _ _ __ _ __

    Telephone:~ 814-9411                     Fax: L_) _ _ _ _ _ _ E-mail: meganrobisonlcswc@gmail.com


     PART A: Medical Information
    Limit your response to the medical condition(s) for which the employee is seeking FMLA leave. Your answers should be
    your best estimate based upon your medical knowledge, experience, and examination of the patient. After completing
    Part A, complete Part B to provide information about the a mount of leave needed. Note: For FMLA purposes,
    " incapacity" means the inability to work, attend school, or perform regular dai ly activities due to the condition, treatment
    of the condition, or recovery from the condition. Do not provide information about genetic tests, as defined in 29 C.F.R. §
    I 635.3(f), genetic services, as defined in 29 C. F.R. § 1635.J(e), or the manifestation ofdisease or disorder in the employee's
    family members, 29 C.F.R. § 1635.3(b).

    (I) State the approximate date the condition started or will start: _O_S_/1_5_/_1_3_ __ _ __ __ _ _ _ _ (mnitddfyyyy)

    (2) Provide your best estimate of how long the condition lasted or will last: _P_e_rm_a_n_e_n_t _ _ _ _ _ _ _ _ _ __ _
I
    (3) Check the box(es) for the questions below, as applicable. For all box(es) checked, the amount of leave needed must be
        provided in Part 8 .
             D Inpatient Care: The patient (0 has been / D is expected to be) admitted for an overnight stay in a hospital,
               hospice, or residential medical care facility on the following date(s): _ _ _ _ _ __ __ _ _ _ _ __

             0    lncapacitv plus Treatment: (e.g. outpatietll surgery. strep throat)
                  Due to the condition, the patient (D has been / D is expected to be) incapacitated for more than three
                  consecutive, full calendar days from _ _ _ _ _ _ (mmlddlyyyyJ to _ __ _ _ _ (mmlddlyyyyJ.

                  The patient (D was/ D will be) seen on the following date(s): _ _ __ _ _ _ _ _ _ __ _ _ __


                  The condition (D has / D has not) also resulted in a course of continuing treatment under the supervision of a
                  health care provider (e.g. prescription medica1ion (other than over-the-counter) or therapy requiring special equipmen/)

            D Pregnancy: The condition is pregnancy. List the expected delivery date: _ _ _ _ _ _ _ (mmfddlyyyy).

            ii Chronic Conditions: (e.g. asthma. migraine headaches) Due to the condition, it is medically necessary fo r the patient
                  to have treatment visits at least twice per year.

            ■     Permanent or Long Term Conditions: (e.g. AWreimers. terminal stages ofcancer) Due to the condition, incapacity
                  is permanent or long term and requires the continuing supervision of a health care provider (even if active
                  treatment is not being provided).

            ■     Conditions requiring Multiple Treatments: (e.g. chemotherapy trea1111ents, restora1ive surgef}1 Due to the condi tion.
                  it is medically necessary for the patient to receive multiple treatments.

            D None of the above: If none of the above condition(s) were checked. (i.e.. inpatient care, pregnancy)
              no additional information is needed. Go to page 4 to sign and date the form.

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           Employee Name: . .:.R. :.,yc..__
                                         :a n_W___;a~g~n_e__r_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __

           (4)      If needed, briefly describe other appropriate medical facts related to the condition(s) for which the employee seeks
   The patient  ~:~!h~~~.ii.g~~':~'.~£,!.aiAdia                                         lle.e qistms a.a pa,li:uldlly biJgelecl by spedlic viOilqJtlw suesso,s. od udh '9 dllecl w,,tact wid, ce, tai, , o,divduals
   at v.a1c. The ccndition varies in ~ and in!ensily. eading to inlemitEnt incapacilafia1 that~ lhe patient mn "Qm9 or perfocmng regufat daily actr~ties during episodes. n-e pa1ien1 undergoes
   ongoing psycmtt,erapy aoo rreoraJro e r a ~ as part d rte Jreal/reOI plan Qt e ID !be, IIV[Prfdable nafJra Qflbese f'IJSX1es lhQ patieo[s abmly ro wod< is i:Jtea:niltenli;' ilmided Of'Q"Ssi1at•ng pcnods of
   FMlA leaw !orreo:M!ry.
           PART B: Amount of Leave Needed
           For the medical condition(s) checked in Part A, complete all that apply. Several questions seek a response as to the frequency
           or duration of a condition, treatment, etc. Your answer should be your best estimate based upon your medical knowledge.
           experience, and examination of the patient. Be as specific as you can; terms such as "lifetime," "unknown," or '•indeterminate"
           may not be sufficient to determine FMLA coverage.

           (5)      Due to the condition, the patient (l!l had I ■ will have) planned medical treatment(s) (scheduled medical visits)
                (e.g. psychotherapy. prenatal appointments) on the following date(s): Twice Per Week: Monday and Wednesday
Ongoing psycrotherapy, mecfication management, and stress reduction sfrall!gies. Despite ifiese frealments, lhe pabenf expenences episixles of 111Capadlation Iha( are unpred,dable and
significantty impair his work ability. These episodes are par1irutarly exacelbated by 1he hosble interactions and environment in his workplace. The patienrs condition allows him to won< in a
limited capacity fro,,, I IOI, ,e or, nor i"OOC iseetrtj,,e da) s or ot1tside regtilal btlsil ~ hotJrs; 83 lhe ooc idi!ionil!lows:ffl!king lromhol, ,e is essential lo , , 0tigate ~ ~ l a c e
triggers and manage his panic attad<s and agoraphobia.
          (6)       Due to the condition., the patient (0 was/ □ will be) referred to other health care provider(s) for evaluation or
                    treatment(s).

                    State the nature of such treatments: (e.g. cardiologist. physical therapy) _ __ _ __ _ __ __ __ _ _ _ __
                    Provide your best estimate of the beginning date_0_1_/1_6_12_4_ _ _ _ (mmlddlyyyy) and end date                                                          ongoing
                    (mmlddlyyyy) for the treatment(s).

                    Provide your best estimate of the duration of the treatment(s), including any period(s) of recovery (e.g. J days/week)
                    Regular ongoing sessions, approximately twice per week, with potential for increased frequency during periods of
                    heightened stress or episodes.
          (7)       Due to the condition, it is medically necessary for the employee to work a reduced schedule.

                    Provide your best estimate of the reduced schedule the employee is able to work. From _0_1_/0_4_/2_4_ _ __ __
                    (mmlddlyyyy) to  Ongoing             (mmlddlyyyy) the employee is able to work: (e.g.. 5 hours/day. up to 25 hours a week)

                    The patient is able to work intermittently as his condition allows, which may vary week to week. Ability to work from
                    home is essential due to condition triggers linked to the hostile workplace environment
          (8)       Due to the condition., the patient(■ was/ [!} will be) incapacitated for a continuous period of time, including any
                    time for treatment(s) and/or recovery.
                   Provide YOW: best estimate of the beginning date                                                 12/21/23                                (mmldd/yyyy)        and end date
                   Origorng, as episoaes are             ti th    . d f.     .
                   unprecfldable.            (mmlddlyyyy) or e peno o incapacity.
Ryan experieoces episodic periods of incapaoly due to his ll)e("dal healh ccnfifiorL 'M'ii!e lhese periods are notcoolinuous in the lradilional sense. ihey occur intennittenUy ard ~ ictab~/- Each
episode can incapaci1ate Ryan for a variableduraoon. typicallylasling ITTXT1afewhousk>severalda-JS. Thee,cactfrequency and leng1h oflhesaepisodes vary. butlheyare recurrent and expected IO
continue given the nature of his conditioo.
          (9)      Due to the condition, it (■ was/ ■ is / I!! will be) medically necessary for the employee to be absent from work on
                   an intermittent basis (periodically), including for any episodes of incapacity i.e., episodic flare-ups. Provide your
                   best estimate of how often (frequency) and how long (duration) the episodes of incapacity will likely last.

                   Over the next 6 months, episodes of incapacity are estimated to occur_1_-3_ _ _ _ _ __ _ _ _ _ times per
                   (□ day / [:J week/ !:] month) and are likely to last approximately 1-2                                                             (El hours / El days) per episode.
                  The frequency and duration may vary based on WOl1<place stressors and effectiveness ofongoing treatmenl




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         Employee Name: _R....::y:....a_n_ W_a....::g::...n_e_r_ _ _ _ _ _ _ __ __ _ _ __ _ _ _ _ _ _ _ __ _ _ _ _ _ __

         PART C: Essential Job Functions
         If provided, the infonnation in Section [ question #4 may be used to answer this question. If the employer fai ls to provide a
         statement of the employee's essential functions or a job description, answer these questions based upon the employee's own
         description of the essential job functions. An employee who must be absent from work to receive medical treatmcnt(s). such
         as scheduled medical visits, for a serious health condition is considered to be not able to perform the essential job functions
         of the position during the absence for treatment(s).
         (10) Due to the condition, the employee(■ was not able/ l!l is not able/ I!] wi ll not be able) to perform one or more
              of the essential job function(s). ldentify at least one essential job function the employee is not able to perform:
The patient experiences panic attacks and agoraphobia which severely limit his ability to commute and function in a traditional office environment Essential job functions that
are impacted irid1 «de tasks tbat ceqi ,ire physical preseoce io tbe office, sr ,ct, as iOi)f'(SOo roeetiogs oo-si!e rnllabora!ioo and iroroedia!e Cace-!o-Cace respoose lo work
situations. During episodes of heightened agoraphobia, especiaDy when triggered by direct interaction with specific individuals in the worl<place, wor1<ing from home becomes
a necessaiy rea a                       ation    ri             •        th       • tis i         ·1a   and unab!e to rfo                fundio wh !her in the office or remotely,
necessitating intermittent FMLA leave.
         Signature of                               I 1
         Health Care Provider __:_-=-..:~ ~ ~--==---U.:....:.::~~~
                                                                .:..:..-~-=.-- - -- - Date 03/12/24                                                                   (mmlddlyyyy)


            ...                                                                                                                                          r   -
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                                                                                                                                                                 --
                                                                                lnpatient Care

                  •    An overnight stay in a hospital, hospice, or residential medical care facility .
                  •    Inpatient care includes any period of incapacity or any subsequent treatment in connection with the overnight stay.

                                 Continuing Treatment by a Health Care Provider (any one or more of the following)
          Incapacity Plus Treatment: A period ofincapacity of more than three consecutive, full calendar days, and any subsequent treatment
          or period of incapacity relating to the same condition, that a lso involves either:
                  0    Two or more in-person visits to a health care provider for treatment within 30 days of the first day of incapacity unless
                       extenuating circumstances exist The first visit must be within seven days ofthe first day of incapacity; or,
                  0    At least one in-person visit to a health care provider for treatment within seven days of the first day of incapacity, which
                       results in a regimen of continuing treatment under the supervision of the health care provider. For example, the health
                       provider might prescribe a course ofprescription medication or therapy requiring special equipment.

          Pregnanc1:: Any period of incapacity due to pregnancy or for prenatal care.
          C hronic Conditions: Any period of incapacity due to or treatment for a chronic serious health condition, such as diabetes, asthma,
          migraine headaches. A chronic serious health condition is one which requires visits to a health care provider (or nurse supervised by
          the provider) at least twice a year and recurs over an eil.'tended period of time. A chronic condition may cause episodic rather than a
          continuing period of incapacity.
         Permanent or Long-term Conditions: A period of incapacity which is permanent or long-term due to a condition for which
         treatment may not be effective, but which requires the continuing supervision of a health care provider, such as Alzheimer's disease
         or the terminal stages of cancer.
         Conditions Requiring Multiple Treatments: Restorative surgery after an accident or other injury; or, a condition that would likely
         result in a period of incapacity of more than three consecutive, full calendar days if the patient did not receive the treatment.

                                           PAPERWORK REDUCTlON ACT NOTlCE AND PUBLIC BURDEN STATEMENT
          If submilted. it is mandatory for employers 10 relain a copy of this disclosure in their n.'COrds for 1hrcc years. 29 U.S.C. § 2616: 2'1 C.F.R. § 825.500. Persons
          arc not required to respond to this collection of information unless it displays a currently valid OMO concrol number. ·n1c Department or Labor <.-stimn1cs
          that it will take an average of IS minutes for rcspoodents to complete this collection of information, including the Lio1c for reviewing i11sm1c11ons. searching
          existing data sources, gathering and maintaining the data needed, aod completing and reviewing the colkction of infomia1ion. If you have any comments
          regarding this burden estimate or any other aspect of this colkction information. including sugg.:stioos for reducing this burden. send them to the
          Administrator, Wage and Hour Division, U.S. Department of Labor, Room S-3502, 200 Constitution Avenue. N.W., Washingtun. D.C. 20210.

                          DO NOT SEND COMPLETED FORM TO THE DEPARTMENT 01• LABOR. RETURN TO THE PAHENT.

        Page 4 of 4                                                                                                       f.onn WH-380-E. Revised June 2020




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                Case 1:24-cv-03744-BAH                     Document 16-2                 Filed 01/03/25    Page 136 of 185



   Ryan Dillon-Capps

   From:                                     Ryan Wagner
   Sent:                                     Tuesday, May 21, 2024 5:02 PM
   To:                                       Glenn Norris
   Cc:                                       Justin Drummond; Rich Hartman; Karen Debus; Matt Norris
   Subject:                                  Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN
                                             BROOKS




   @Glenn Norri s

   Thank you for your prompt response . I understand the urgency of your request, but I must reiterate the compliance
   requirements and potential risks involved in reinstating Ryan Brooks' access without completing the necessary
   PCI DSS 4.0 training and processes.

   Reinstating his access without compliance would put our certification at risk and could have serious legal and
   security implications for the company. As the head of IT, I have a responsibility to ensure that we adhere to these
   standards.

   Given the gravity of the situation and your directive, I propose a meeting tomorrow morning with you, myself, and
   the head of corporate security to discuss how we can address this matter without compromising our compliance
   obligations. This will allow us to find a solution that meets your needs while safeguarding our compliance and
   security standards.

    Please confirm a suitable time for this meeting.

   Thank you for your understa nding.




   This message may include text created with the help of natural language processing.


    =•
    --     Book time to meet with me



      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC
                                 office 410-252-8058 x 109
                                 212 w. Padonia Rd
                                 Timonium , MD 2 1093
         Gro wt h Pa,tne r s
                                 www.p lanetfitness.com


      "Culture eats strategy for breakfast"




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                Case 1:24-cv-03744-BAH               Document 16-2         Filed 01/03/25     Page 137 of 185


   From: Glenn Norris <glenn@ohanagp.com>
   Sent: Tuesday, May 21, 2024 4:59 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Justin Drummond <Justin .Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
   <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
   Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

   If Ryan Brooks does not have access by tomorrow morning. you will be written up for insubordination. Is that
   clear? Glenn



      Glenn Norris
      Ch ief Fina n cial Officer
      Ohana Growth Pa rtners, LLC

                                office 410-252-8058 x108

      OH~NA
       G row t h Partn '.! rs
                                cell 410- 365 -2591
                                212 W. Padonia Rd
                                Timonium, MD 21093
                                www .planetfitness.com

      "Culture eats strategy for br eakfast"



    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 4:56 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS



    Thank you for your email. I understand your concerns and would like to clarify the situation regarding Ryan Brooks '
    access and our compliance requirements.

    Compliance and Access Issues:

    Yesterday, I consulted with PFHQ about how to handle situations where personnel had not completed required
    training. Before I could act on the conversation, Ryan Brooks informed me he didn't have time for a mandatory 15-
    minute meeting, and he had already stated he couldn't complete the required training or other tasks assigned to
    him. Consequently, I removed him to resolve the block to completing the SAQ, as instructed by PFHQ.

    Overnight Changes:

    The compliance issues did not change overnight. What changed was the final decision to remove Rya n after he
    explicitly refused to engage in critical compliance activities. Reinstating his access today would violate PCI DSS
    4 .0 standards, as I have already informed the head of corporate security that the compliance issue wa s resolved
    by t erminating his access.

    Performance Concerns:

    The issues identifi ed by Matt, as well as numerous concerns raised by the accounting depa rtm ent, reflect the
    quality of Ryan's work. While being responsive is important, it is more crit ical to ensure that work aligns with our

                                                                  2


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   Ryan Dillon-Capps

   From:                               Ryan Wagner
   Sent:                               Tuesday, May 21, 2024 5:13 PM
   To:                                 Glenn Norris
   Cc:                                 Justin Drummond; Rich Hartman; Karen Debus; Matt Norris
   Subject:                            Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN
                                       BROOKS


   I acknowledge your directive and understand the urgency of the situation. However, I must reiterate the
   compliance risks associated with reinstating Ryan Brooks' access without him completing the necessary PCI DSS
   4.0 training and processes.

   As the head of IT, my primary responsibility is to ensure that we maintain compliance with all regulatory standards.
   Restoring Ryan's access without meeting these requirements places our PCI DSS 4.0 certification and the
   company at significant risk. While I am prepared to follow your instructions, I must stress that this action is being
   undertaken under duress due to your explicit directive.

    I have reached out to Geoff VanMaastricht, our head of corporate security, to seek his assistance in finding a
    solution that balances our compliance obligations with your request. Here is the email I sentto him, which
    includes you and President Justin Drummond in the loop:


      Ryan Wagner
      Vice President of IT
      Chana Growth Partners, LLC

                             office 410-252-8058 x109
                             212 w. Padonia Rd

      OH~NA
         Grow t h Partners
                             Timonium, MD 21093


                             www. planetfitness .com


      "Culture eats strategy for breakfast "


    From: Ryan Wagner Ryan.Wagner@ohanagp.com
    Sent: Tuesday, May 21, 2024 5:09 PM
    To: Geoff VanMaastricht Geoff.VanMaastricht@pfhq.com
    Cc: Glenn Norris glenn@ohanagp.com; Justin Drummond Justin.Drummond@ohanagp.com
    Subject: SAQ - PCI Compliance: We need your assistance

    @Geoff VanMaastricht, Would you be available for a meeting tomorrow to discuss this and related PCI
    Compliance concerns? I am being told to reinstate the same person, but they refuse to do the training, take part in
    the code review, change control, or any other process to maintain compliance. I don't know what to do and could
    use your assistance to find a solution that works for our CFO as well as m eet the compliance requirements.

    To mitigate these risks and protect our compliance standing, I propose the following steps:

    Immediate Compliance Training: Expedite Ryan's PCI DSS 4.0 compliance training and ensure it is completed as a
    top priority.




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   Temporary Limited Access: Provide Ryan with limited access necessary for immediate tasks, under close
   monitoring, until he completes the required t raining and processes.
   Documented Agreement: Document this course of action, including the acknowledgment that this decision is
   made under duress, to protect both the company and ourselves, ensuring we have a record of our compliance
   efforts and the rationale behind these decisions.
   I am available to discuss this further and facilitate any immediate actions required to address your concerns while
   maintaining our compliance obligations.

    Please let me know how you would like to proceed.

    Best regards,


   This message may include text created with the help of natural language processing.


    7
    ......    Book time to meet with me


    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:05 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    Rich, please prepare a write up for me.



         Glenn Norris
         Chief Financial Officer
         Ohana Growth Partners, LLC

                                 office 410-252-8058 x 108

        OH~NAGrowt h Partner,
                                 cell 410-365-2591
                                 212 W. Padonia Rd
                                 Timonium, MD 21093
                                 w w w. p lanetfitness.com

         "Culture eats strategy f o r br eakfast"


    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:02 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS



    @Glenn Norris

    Thank you for your prompt response. I understand the urgency of your request, but I must reiterate the compliance
    requirements and potential risks involved in reinstating Ryan Brooks' access without completing the necessary
    PCI DSS 4.0 training and processes.
                                                                              2


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    Ryan Dillon-Capps

    From:                                     Ryan Wagner
   Sent:                                      Tuesday, May 21, 2024 5:10 PM
   To:                                        Geoff VanMaastricht; Glenn Norris
   Cc:                                        Justin Drummond
    Subject:                                  SAQ - PCI Compliance : We need your assistance




    @GeoffVanMaastricht , Would you be available for a meeting tomorrow to discuss this and related PCI
    Compliance concerns? I am being told to reinstate the same person , but they refuse to do the training, ta ke part in
    the code review, change control, or any other process to maint ain compliance . I don't know what to do and could
    use your assistance to find a solution t hat works for our CFO as well as meet the compliance

    This message may include text created with the help of natural language processing.



    --
    9      Book time to meet w ith me

      Ryan Wagner
      Vi ce Presiden t of IT
      O hana Gro wth Partners, LLC
                                   office 410 -252 -8058 xl09
                                   2 12 W. Padonia Rd
      OH ~ NA
         Gr o wt h P it rt n on,
                                   Timonium, MD 21093


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    Ryan Dillon-Capps

    From:                                    Ryan Wagner
   Sent:                                     Tuesday, May 21, 2024 5:22 PM
   To:                                       C. Victor Brick
   Subject:                                  Fw: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN
                                             BROOKS


    I wish we could have better reasons to communicate. You should know what I am being ordered to do under
    duress.


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    :'.:, Book time to meet with me


      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC
                                 office 410-252-8058 xl09
                                 212 W. Padonia Rd
      OH~NA
        G r o wth Pa r, ners
                                 nmonium, MD 21093


                                 www.planett;tness,com

      "Culture eats strategy for breakfast"



    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:12 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
    <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

    I acknowledge your directive and understand the urgency of the situation. However, I must reiterate the
    compliance risks associated with reinstating Ryan Brooks' access without him completing the necessary PCI DSS
    4.0 training and processes.

    As the head of IT, my primary responsibility is to ensure that we maintain compliance with all regulatory st andards.
    Restoring Ryan's access without meeting these requirements places our PCI DSS 4.0 certification and the
    company at significant risk. While I am prepared to follow your instructions, I must stress that this action is being
    undertaken under duress due to your explicit directive.

    I have reached out to Geoff VanMaastricht, our head of corporate security, to seek his assistance in finding a
    solution that balances our compliance obligations with your request. Here is the email I sent to him, which
    includes you and President Justin Drummond in the loop:




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                Case 1:24-cv-03744-BAH                      Document 16-2                 Filed 01/03/25    Page 142 of 185



    Ryan Dillon-Capps

    From:                                     Ryan Wagner
    Sent:                                     Tuesday, May 21 , 2024 5:37 PM
    To:                                       Glenn Norris
    Cc:                                       Justin Drummond; Rich Hartman; Karen Debus; Matt Norris
    Subject:                                  Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN
                                              BROOKS




    Thank you for your response. I will send Ryan Brooks the link to complete the PCI DSS 4.0 training and ensure he
    begins the required processes immediately. However, I must reiterate that reinstating his access without him
    having completed these steps will place us in violation of PCI DSS 4.0 compliance requirements.

    Immediate Actions:

          1.   Ryan Brooks can choose any available training program as long as we receive proof of completion.
               Previously, I offered to sit down with him to ensure he understands the necessary information, but under
               duress, I am not comfortable doing this because of the ongoing threats and pressure, which I am afraid will
               continue until I certify him regardless of his actual compliance.

          2.   Restore Access Under Duress: I will reinstate his access as per your directive. This action is being taken
               under duress and against my professional judgment due to the compliance risks involved.

    I must inform you that I am experiencing severe stress and anxiety due to this situation, including a panic attack
    and hyperventilation throughout this conversation. I am currently shaking badly and struggling to finish this email.
    If I am unable to complete this task by 9 am tomorrow, it is because I have gone catatonic from this experience.
    Please understand that I am doing my best under these circumstances.

    I strongly advise documenting this decision and the associated risks to protect the company and ourselves. I have
    also reached out to GeoffVanMaastricht to seek his assistance in finding a long-term solution that ensures
    compliance.

    Thank you for your understanding.




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    ~ Book time to meet w ith me

       Ryan Wagner
       Vice P r esident of IT
       Ohana Growth Pa rtners, LLC




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•.
                                  office 410-252-8058 x109
                                  212 W. Padonia Rd
           OH~NA
            Growth Pa,rtnen,
                                  Timonium, MD 2 1093


                                  www .pla netfitness .com


           "Culture eats strategy for breakfast"




        From: Glenn Norris <glenn@ohanagp.com>
        Sent: Tuesday, May 21, 2024 5:28 PM
        To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
        Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich .Hartman@ohanagp.com>; Karen Debus
         <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
         Subject: RE: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

         Send Ryan Brooks the Link to complete the PCI DSS 4.0 training and processes. I still want his access returned
         immediately.

         Glenn



           Glenn Norris
           Chief F inancial Officer
           Ohana Growth Partners, LLC

                                  office 410-252-8058 xl0S

           OH~NA
            G r o wt h Partners
                                  cell 410-365-2591
                                  212 w. Padonia Rd
                                  Timonium, MD 21093
                                  w w w.planetfitness.com

           "Culture eats strategy for breakfast"



         From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
         Sent: Tuesday, May 21, 2024 5:13 PM
         To: Glenn Norris <glenn@ohanagp.com>
         Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
         <karen.debus@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
         Subject: Re: Ryan Brooks - REPLY TO YOU ALLEGATIONS & PERFORMANCE ISSUES OF RYAN BROOKS

         I acknowledge your directive and understand the urgency of the situation. However, I must reiterate the
         compliance risks associated with reinstating Ryan Brooks' access without him completing the necessary PCI DSS
         4.0 training and processes.

         As the head of IT, my primary responsibility is to ensure that we maintain compliance with all regulat ory standards.
         Restoring Ryan's access without meeting these requirements places our PCI DSS 4.0 certification and the
         company at significant risk. While I am prepared to follow your instructions, I must stress that this action is being
         undertaken under duress due to your explicit directive.




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    I have reached out to Geoff VanMaastricht, our head of corporate security, to seek his assistance in finding a
    solution that balances our compliance obligations with your request. Here is the email I sent to him, which
    includes you and President Justin Drummond in the loop:


      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                 office 410-2 52 -8058 x l09

      OH~NA
         Gr o wth P a r tn ers
                                 212 W. Padonia Rd
                                 nmonium, MD 21093
                                 www .planetfitness.com



      "Culture eats strategy for breakfast"


    From: Ryan Wagner Ryan.Wagner@ohanagp.~ om
    Sent: Tuesday, May 21, 2024 5:09 PM
    To: Geoff VanMaastricht Geoff.VanMaastricht@pfhg.com
    Cc: Glenn Norris glenn@ohanagp.com; Justin Drummond Justin.Drummond~ohanagp.com
    Subject: SAQ- PCI Compliance: We need your assistance

    @Geoff VanMaastricht, Would you be available for a meeting tomorrow to discuss this and related PCI
    Compliance concerns? I am being told to reinstate the same person, but they refuse to do the training, take part in
    the code review, change control, or any other process to maintain compliance . I don't know what to do and could
    use your assistance to find a solution that works for our CFO as well as meet the compliance requirements.

    To mitigate these risks and protect our compliance standing, I propose the following steps:

    Immediate Compliance Training: Expedite Ryan's PCI DSS 4.0 compliance training and ensure it is completed as a
    top priority.
    Temporary Limited Access: Provide Ryan with limited access necessary for immediate tasks, under close
    monitoring, until he completes the required training and processes.
    Documented Agreement: Document this course of action, including the acknowledgment that this decision is
    made under duress, to protect both the company and ourselves, ensuring we have a record of our compliance
    efforts and the rationale behind these decisions.
    I am available to discuss this further and facilitate any immediate actions required to address your concerns while
    maintaining our compliance obligations.

    Please let me know how you would like to proceed.

    Best regards,


    This message may include text created with the help of natural language processing.




     -·
     9        Book time to meet w ith me


    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Tuesday, May 21, 2024 5:05 PM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>

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      "Culture eats strategy for breakfast"




   From: Glenn Norris <glenn@ohanagp.com>
   Sent: Tuesday, May 21, 2024 5:59 PM
   To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
   Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
   <karen.debus@ohanagp.com>; Glenn Norris <glenn@ohanagp.com>
   Subject: REPEAT QUESTION - PCI DSS 4 Compliance Training

    Ryan , I asked you this question yesterday with no response. Please answer this question. Did everyone listed
    below take their course except Ryan Brooks?




      Glenn Norris
      Chief Financial Officer
      Ohana Growth Partners, LLC

                                 office 410-252-8058 xl08

      OH~NA
        G r ow t h Par tn ers
                                 cell 410-365-2591
                                 212 W. Padonia Rd
                                 Timonium, MD 21093
                                 w ww.planetfitness.com

      "Culture eats strategy for breakfast"



    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Monday, May 20, 2024 3:05 PM
    To: Glenn Norris <glenn@ohanagp.com>
    Cc: Justin Drummond <Justin.Drummond@ohanagp.com>
    Subject: Re: PCI DSS 4 Compliance Training

    Yes - Geoff is the head of IT security at PFHQ. This set of questions applies to Ryan Brooks for the work he does for
    us with our custom software solutions.


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    E:, Boo_k time to meet w ith me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC

                                  office 410-252-8058 x109
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      OH~NA
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   Ryan Dillon-Capps

   From:                               Ryan Wagner
   Sent:                               Tuesday, May 21, 2024 6:27 PM
   To:                                 Glenn Norris
   Cc:                                 Justin Drummond; Rich Hartman; Karen Debus
   Subject:                            Re: REPEAT QUESTION - PCI DSS 4 Compliance Training




         1. Regarding Ryan Brooks:

                •   Role: Ryan is the only one creating custom software solutions for us.
                •   Attendance: He is not attending meetings or participating in the process.
                •   Actions: He is implementing changes without my knowledge that may not comply with the
                    requirements.
    When I assigned training to everyone, I told them that I would restrict their duties if necessary.
    Geoff contacted me yesterday as a follow-up to an email from last week.


   As with the first bullet point, here is the requirement. This is not the same requirement that the other people on
   the team have because no one else is building custom software for us, but if they were then they would need to
   meet this same requirement.


    I find it odd that you constantly disagree and do not believe me, and my reply is --- let's go ask an expert. An
    investigator, a lawyer, and the head of corporate security. If I am wrong, then they would be the ones to tell
    us, and there would not be any issues. I do not understand why we don't do this on any of these topics; it has to be
    easier than this. You might not be in physical pain right now because of this and suffering from today, but I am and
    I don't deserve this. You never disagree with me-you disagree with the data, the math, the analytics, the experts,
    the manufacturers, and the company who wrote the OS and software, and all I ever do is show you what they
    said. What the data says. What the math says. What the analysis says. Or even just asking the question - why is
    this number so low? Why did we submit a number to the bank that was half what the invoices showed when we
    went through them one by one. Why did Rich immediately tell you and the 2 Cs that I filed an HR complaint
    about? Why are my role and responsibilities being stripped away? Why can't you let me do my job? when do I get
    to do my job?


    Are you forcing me under duress to give Ryan Brooks access when the reason I could answer yes to this was
    because I removed him from the system and he can no longer make changes? I know that you said Yes do this or
    get written up.

    I showed you what it said ... you said you disagree -- with -- the PCI DSS 4 requirements? You don't disagree with
    me because I never said something to disagree with.


     I don't deserve this ... this is my opinion . I don't deserve to be treated like this. I don't deserve to be told that I use
    too many words and am too professional because I don't swear. I don't deserve to be made to feel like my greatest
    weakness is that I am not enough of "a man". well, I am not ---1 am non-binary. I don't talk like you because I am
                                                                  1


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.'..
          not like you . I do however believe that I embody everything this company says they stand for, and for months I
          have tried to convince you to listen to an expert before your actions are seen in a manner that causes you t o end
          up in an orange jump suit. The more I try to prevent you from making decisions with the pot ential for serious
          consequences you attack and attack and attack. I don't deserve this ... those are my opinions and you are f ree to
          disagree



           Software development personnel working on bespoke and custom software are
           trained at least once every 12 months as follows:

             • On software security relevant to their job function and development
               languages.
             • Including secure software design and secure coding techniques.
             • Including. if security testing tools are used. how to use the tools fOf
               detecting vulnerabilities in software.




                                                                  -Vi♦ -fr- +re
                  O Information
                      Note
                      For SAO c. requirements at 6.2 apply to merchants 1·,ith bespoke sof1ware
                      (developed to the en1I1y·s specif1cauons by a third party) or custom software
                      (develo~d by the enrny) If mercllant dOes not have such soflwa,e. ma•k these
                      requirements as Not Applicable and complete Ap~nd,x C: Explanalloo of
                      Requirements Noted as Not Applicable

                      Purpose
                      Having staftl<nowledgeable In secure coding methods. mcludtng techrnques defined
                      In Requirement 6 2 4, •✓di help mlnlmile the numrer of secur,r; vulnerablhties
                      introduced through poor coding pracuces.

                       Good Practice
                       Training for developers may be proVlde<f In-house or by tiurd pa1ties
                       Training should Include. but Is not hmned 10. development languages In use. secure
                       software des,gn. secure coding techrnoues. use of te<:11n1ques/melho<fs for fmd,ng
                       vulnerab,111,es m code. pr0<:esses 10 prevent rem1rodue1ng p1e•J1ously resolve<!
                       vulnerabllihes. and how to use any automated secur,ty testmg tools for detectmg
                       vulnerabll1tles in soft...-are
                       As lndus11y-accepted secure coding practices chan~. organizational co<hng
                       practices and developer tra,nmg may need to be updated to ad1iress new threats.




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           t":. Book time to meet w ith m e

              Ryan Wagner
              Vice President of IT
              Ohana Growth Partners, LLC
                                              office 4 10 -252-8058 x109
                                              212 W. Padonia Rd
              OH~NA
               Gr o wt h P a rt ners
                                              Timonium, MD 21093

                                              www, ola netfitness. com


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!,.



         From: Glenn Norris <glenn@ohanagp.com>
         Sent: Tuesday, May 21, 2024 7:42 PM
         To: Ryan Wagner <Ryan.Wagner@ohanagp.com>
         Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
         <karen.debus@ohanagp.com>
         Subject: RE: REPEAT QUESTION - PCI DSS 4 Compliance Training

         The questlon that I need answered Is: Does the software package that Baltimore Consulting Developed
         for AP Processing have any PCI Compliant relative information that falls under the PCI DSS 4 requirements?

         If the information in the AP Software application does not apply, then this requirement becomes mute.

         No checking account information is in the software.

         Glenn

            Glenn Norris
            Chief financial Officer
            Ohana Growth Partners, LLC

                                     office 410-252-8058 xl08

            OH ~ MA
             Gro wt h Partn e r s
                                     cell 410-365-2591
                                     212 W. Padonia Rd
                                     Tlmonlum, MD 21093
                                     www.planetfltness.com

            "Culture eats strategy for breakfast"


         From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
         Sent: Tuesday, May 21, 2024 6:27 PM
         To: Glenn Norris <glenn@ohanagp.com>
         Cc: Justin Drummond <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>; Karen Debus
         <karen.debus@ohanagp.com>
         Subject: Re: REPEAT QUESTION - PCI DSS 4 Compliance Training




              1. Regardlng Ryan Brooks:

                         o    Role: Ryan is the only one creating custom software solutions for us.
                         o    Attendance: He is not attending meetings or participating in the process.
                         o    Actions: He is implementing changes without my knowledge that may not comply with the
                               requirements.
          When I assigned training to everyone, I told them that I would restrict their duties if necessary.

          Geoff contacted me yesterday as a follow-up to an email from last week.




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                                                                                                                               Page

!,




            Subject: Re: Critical Concerns Regarding Ryan Brooks's Reinstatement and System Access
            From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
            To: CEO <CEO@ohanagp.com>, Earl Ihle <Earl.Ihle@ohanagp.com>, Earl Ihle
            <Earl.lhle@ohanagp.com>, Earl Ihle (AOL) <Eihlel@aol.com>, Ten-y Woods (Planet Fitness)
            <Terry.Woods@ohanagp.com>, Justin Dmmmond <Justin.Dmmmond@ohanagp.com>, Lynne Brick
            B.S.N. M.A.<lynne@ohanagp.com>, Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>
            Cc:
            Date: May 22, 2024 2: 11 :34 AM
            Attachments: Re: M365 Licenses.em!, Outlook-nnmw3ddd.png, ohanagrowthpartnersfinal logo_7fa8dba
            2-2909-40ee-839a- I 2ba06da3de6.png, Outlook-04aybcht.png


            I am adding an email from 2024, March 27, where training was discussed, as well as another topic that is critical.



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             ~ Book time to meet with me


               Ryan Wagner
               Vice President of IT
               Ohana Growth Partners, LLC

                                               office 410 - 252-8058 x109
                                               21 2 W. Padonia Rd
                                               Timonium, MD 21093
                                               www.planetfitness.com



               "Culture eats strategy for breakfast"



             From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
            Sent: Wednesday, May 22, 2024 2:05 AM
            To: CEO <CEO@ohanagp.com>; Earl Ihle <Earl.lhle@ohanagp.com>; Earl Ihle <Earl.lhle@ohanagp.com>; Earl Ihle
             (AOL) <Eihlel@aol.com>; Terry Woods (Planet Fitness) <Terry.Woods@ohanagp.com>; Justin Drummond
             <Justin.Drummond@ohanagp.com>; Lynne Brick B.S.N. M.A.<lynne@ohanagp.com>; Terry Woods (Planet
             Fitness) <Terry.Woods@ohanagp.com>
             Subject: Critical Concerns Regarding Ryan Brooks's Reinstatement and System Access


             I am writing to formally address a series of critical issues regarding the reinstatement of system access for Ryan
             Brooks, who was recently rehired by CFO Glenn Norris. Mr. Brooks's refusal to comply with essential security
             and compliance protocols poses significant risks to our organization's data security and PCI D5S compliance.

             Background

             Ryan Brooks, the developer of the Kiosk App used on our PO-compliant network, was previously terminated due
             to his failure to comply with PCI D55 Requirement 6.2.2, which mandates annual training on software security
             for all software development personnel. This app is designed for members and guests to sign up and input PCI -




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       protected data, making compliance with this requirement non-negotiable. Despite this, CFO Glenn Norris has
       rehired Mr. Brooks and now demands that global admin-level access be granted immediately.

       Current Issues

       Non-Compliance with PCI DSS Requirements:

       Training (Requirement 6.2.2): Mr. Brooks has not completed the required annual security training. This training
       is crucial to ensure secure software development practices and the protection of cardholder data. For Mr.
       Brooks to remain associated with Ohana, he must complete this training before being allowed to work with us.
       Code Validation (Requirement 6.2.3): Mr. Brooks is refusing to participate in code validation processes, which
       are essential to ensure that our software is free of vulnerabilities and compliant with PCI DSS standards.
       Change Management (Requirement 6.4.5): Mr. Brooks, who also functions as a systems admin, is refusing to
       participate in necessary change management processes. These processes are critical for maintaining control and
       oversight over system modifications.
       Violation of Least Privilege Principle:

       Global Admin Access (Requirements 7.2.2 and 7.2.4) : CFO Glenn Norris is insisting on granting Mr. Brooks global
       ad min access without providing a valid justification. This demand violates the principle of least privilege, which is
       fundamental to minimizing the risk of unauthorized access and potential security breaches. Furthermore, it
       violates Requirement 7.2.4, which mandates access controls to enforce least privilege and prevent users from
       exceeding their authorized privileges.
       Security Risks:

       Lack of Oversight: Providing global admin access to Mr. Brooks, who refuses to adhere to security protocols and
       processes, significantly increases the risk of introducing vulnerabilities into our systems.
       Potential for Unauthorized Changes: Without proper participation in change management and validation
       processes, there is a high risk of unauthorized or poorly managed changes that could compromise our systems
       and data.
       Unauthorized Changes and Impact on Operations:

       System Measures Compliance (Requirements 5.3.3, 5.3.4, 5.3.5, 5.2.1, 5.4.1): These requi rements involve
       maintaining secure configurations, protecting all systems from malicious software, and ensuring anti-malware
       mechanisms are active and up-to-date. Compliance with these standards is crucial for protecting our systems
       from vulnerabilities and attacks.
       Change Control and Development (Requirements 6.3.1, 6.3.3, 6.5.1, 6.5.2): These requirements focus on secure
       software development practices, managing changes to the system environment, and establishing a Change
       Control Board to review and approve changes. Unauthorized changes by Mr. Brooks have disrupted these
       processes, requiring extensive validation and correction efforts.
       Access Management (Requirements 8.2.1, 8.2 .2, 8.2.4, 8.2.5, 8.2.6, 8.2.7, 8.2.8, 8.3.4, 8.3.5, 8.3.6, 8.3.7, 8.3 .8,
       8.3.9): These requirements govern the management of user accounts and authentication methods, including
       multifactor authentication. Mr. Brooks's failure to complete these tasks has led to gaps in our access
       management processes.
       Account and Access Controls (Requirements 8.4.1, 8.4.3, 8.5.1, 8.6.1, 8.6.2, 8.6.3) : These involve ongoing
       management of user identities and authentication mechanisms. Due to a lack of personnel, I have had to
       manage these tasks, adding to my workload.
       Log Management (Requirements 10.1.1, 10.2.1.2, 10.2.1.4, 10.2.1.5, 10.3.1, 10.3.2): These requirements ensure
       that logging mechanisms are in place to track access and changes to the system. Mr. Brooks made several
       unauthorized changes that compromised our logging integrity, necessitating corrective actions on my part.
       Efforts to Resolve Issues:




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       I completed the SAQ as directed by Geoff VanMaastricht, the head of corporate security. Despite offering
       numerous solutions to Glenn Norris, including a meeting with Geoff to find a workable solution and alternative
       means to complete necessary tasks, Mr. Norris has refused to provide clarity on Mr. Brooks's work. This lack of
       transparency hampers our ability to adhere to the least privilege principle (Requirement 7.2.2).
       Recommendations

       To address these issues while ensuring the security and compliance of our systems, I recommend the following
       actions:

        Mandatory Training and Compliance (Requirement 6.2.2): Before granting any level of access, Mr. Brooks must
        complete the required PCI DSS training and agree to participate in all necessary security and compliance
        processes, including code validation and change management.

        Controlled Access (Requirement 7.2.2): Access should be limited and incrementally granted based on the
        successful completion of specific security training and compliance tasks. Global admin access should only be
        considered if absolutely necessary and justified.

        Regular Monitoring and Auditing (Requirement 10.6): Implement strict monitoring and auditing of Mr. Brooks's
        activities to ensure compliance with security policies and quickly detect any unauthorized actions.

        Conclusion

        My primary responsibility is to safeguard our company's data and ensure compliance with PCI DSS standards.
        Granting global admin-level access to Mr. Brooks without ensuring compliance with security training, code
        validation, and change management processes poses significant risks. I strongly urge the Board to support these
        recommendations to protect our systems and maintain compliance.

        I am available to discuss this more and provide additional information as needed.

        Thank you for your attention to this critical issue.

        This message may include text created with the help of natural language processing.


        ~ Book time to meet with me

           Ryan Wagner
           Vice President of IT
           Ohana Growth Partners, LLC

                                          office 4 10 -252-8058 x109
                                          212 W. Padonia Rd
                                          Timonium, MD 21 093
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                                       Review Discussion Form
   Discussion Details

   Discussion Type:                                        Initiated By:                               Creation Date:
   Write Up                                                DEBUS, KAREN E (kdebus)                     0512312024

   Employee Acknowledgment Date:                           Resolved Date:                              Resolved By:
    NIA                                                     NIA                                        NIA



   Employee Details
   Employee Name:
   DILLON-CAPPS, RYAN AURELIDS

   Position Title:                                                  Department:                        Position Status:
   Vice President of Information Technology                         Information Technology             Full Time

   Hire Date:                                                       Supervisor:
   0211012020                                                       GLENN NORRIS




   Written Warning (5. Insubordination)
   Date of Incident:

    0512212024
   Date of Previous Infraction:

    0010010000
   Date of Conversation:

    0512212024
    Description of Incident:

    Ryan Wagner, VP of IT, removed the IT administrative rights of Ryan Brooks of Baltimore Consulting without the
    knowledge or consent of his supervisor Glenn Norris, CFO. Mr. Wagner was instructed by Mr. Norris on several occasions
    to reinstate Mr. Brooks access. However, Mr. Wagner did not agree with the reinstatement. Mr. Norris explained to Mr.
    Wagner that his concerns were ill-founded and issued a directive that Mr. Wagner reinstate the access by 5 PM on May 22,
    2024. Mr. Wagner was also instructed that failure to do so would result in discipline.
    Supervisor Comments:

    Mr. Wagners refusal to carry out a directive by Mr. Norris is considered insubordination which is a violation of company
    policy. Mr. Wagner is being issued a written warning and must comply with the directives issued by his supervisor. Any
    future similar issues may result in further discipline up to an including termination.

    Please select one:




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   Employee Comments:

   Plan for Improvement:

   A list of actions that need to be taken by the individual to improve performance and how these will be assessed, include
   details of any further support or training offered including dates. Actions should be specific and achievable.
   Plan for Improvement:

   Mr. Wagner must comply with directives issued by his supervisor, adhere to deadlines, and ensure an open line of
   communication. Any future similar issues may result in further discipline up to an including termination.
   Witness Name (Please type the name of the witness present for the discussion):

    Justin Drummond, Rich Hartman, Matt Norris, Karen Debus - all via email discussion.




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              Re: Follow up on write up for insubordination and not
              following Glenn's Mandate from yesterday to restore Ryan
              Brooks' Admin rights

              C. Victor Brick <Victor@ohanagp.com >
              Thu 2024-05-23 11 :59 PM
              To:Ryan Wagner <Ryan.Wagner@ohanagp.com >
              Cc:Justin Drummond <Justin.Drummond@ohanagp.com >;Terry Woods
              <terrywoods4@comcast.net >;Earl Ihle <Earl.lhle@ohanagp.com >;Lynne Brick B.S.N.
              M .A. <lynne@ohanagp.com >;Stacey Wittelsberger (ESC)
              < srector@exeterstreetcapital.com >

               I am ordering you to restore Ryan Brooks Administrative Rights
               immediately. Failure to do so would be perceived by me as gross
               insubordination.

               I am with Vicki as she undergoes yet another round of chemo.
               Please restore Ryan's Administrative Rights by EOB tomorrow,
               Friday, 5/24. I will not be on email again until after the Memorial
               Day weekend. But I expect Ryan Brooks to have his administrative
               rights restored by EOB tomorrow.

                  C. Victor Brick
                  CEO
                  Ohana Growth Partners, LLC

                                                      cell 4 10-3 65- 1801
                                                      212 W. Padonia Rd
                    G r owt h P a rtn e r s
                                                      Timonium, MD 21093
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    Ryan Dillon-Capps

   From:                                      Ryan Wagner
   Sent:                                      Wednesday, June 5, 2024 10:51 AM
   To:                                        Glenn Norris; Justin Drummond
   Cc:                                        Rich Hartman; Matt Norris; Stacey Wittelsberger (ESC); C. Victor Brick; Lynne Brick B.S.N.
                                              M.A.; Terry Woods (Planet Fitness); Earl Ihle
   Subject:                                   Re: At a stand still since no admin rights have been returned to BC/RB


    @Glenn Norri s

   As you may recall, Geoff VanMaastericht from PFHQ and I both agree on the interpretation and application of PCI
   compliance regarding this issue. Previously, you attempted to coerce me into violating PCI compliance by labeling
   my refusal as insubordination and threatening to write me up if I did not comply with your demands. It's important
   to note that both accusations of insubordination and threats of write-ups are effectively viewed as coercive threats
   under the law.

    Unfortunately, I cannot comply with unlawful or unethical orders.

    Additionally, these coercive tactics have previously triggered severe panic attacks and other complications that
    negatively impact my PTSD, for which I am currently on FMLA leave. Such actions not only exacerbate my
    condition but also violate FMLA protections.

    During our meeting, you mentioned to Geoff, Justin, and myself that you would provide information about what
    tasks Ryan Brooks was assigned to work on. This information is crucial for adhering to the least privilege
    requirement under PCI DSS 4. I recommend we start with that, as Ryan Brooks has other unique disqualifications
    that we will also need to address.

    Knowing the specific tasks required may allow me to propose alternative solutions. If Ryan Brooks is the only
    person capable of performing these tasks, we will need to discuss options to address his other disqualifications as
    well.


    The email you responded to is what Ryan Brooks, or any
    developer, would prepare and provide when they are no
    longer supporting an application/website.

    This message may include text created with the help of natural language processing.


    '.:2 Book time to meet with me
      Ryan Wagner
      Vice President of IT
      Ohana Growth Partners, LLC




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                                 212 W. Padonia Rd
      OH~NA
        Growth Par t ners
                                 Timonium , MD 21093


                                 www.planetfitness.com


      "Culture eats strategy for breakfast"




    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Wednesday, June 5, 2024 10:26 AM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
    Cc: Rich Hartman <Rich.Hartman@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: At a stand still since no admin rights have been return ed to BC/RB


    Ryan, as your Executive Group in OGP has individually and in total made demands to you to give full
    admin rights back to BC/RB this request is not in line with our demands.

    You have received these email demands over the last 2-3 weeks from Glenn, Justin and Victor.

    You have not completed these demands.

    Please give the ad min rights back to Ryan Brooks/ BC.

    The below requests by you to Ryan Brooks will not occ ur.

    Our number one priority is to have you do what we demanded.

    Your refusal to follow through with the demands are documented as insubordination.

    Without you doing what we ask, we are currently not making any of the below changes.

    Glenn




      Glenn Norris
      Ch ief Fina ncial Officer
      Oha n a Growth Pa rtners, LLC

                                 office 410-252 -8058 x108

      OH~NA
        G r ow t h Part ner s.
                                 cell 410 -365- 2591
                                 2 12 W. Padonia Rd
                                 Timonium, MD 21093
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    From: Ryan Wagner <Ryan.Wagner@ohanagp.com>
    Sent: Wednesday, June 5, 2024 10:08 AM
    To: Ryan Brooks BC <rb@baltimoreconsulting.com>
    Cc: Glenn Norris <glenn@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>; Justin Drummond
    <Justin.Drummond@ohanagp.com>; Rich Hartman <Rich.Hartman@ohanagp.com>
    Subject: Transition Documents

    @Ryan Brooks BC Please provide us with the transition documents for the intra net and all other websites and
    applications that you previously handled.

    If possible, they should include
         • Codebase information: Details about the code repository, branch naming conventions, and commit
             history.
         • Architecture diagrams: Visual representations of the system architecture and how different components
             interact.
         • Deployment procedures: Step-by-step instructions on how to deploy the software or updates to the
             production environment.
         • Operational documentation: Information on monitoring systems, log file locations, and troubleshooting
             common issues.
             Contact information: Details of the previous maintainers or project managers for further queries.
    If these documents or their relative equivalents already exist - please direct me to their current location. No one is
    expecting perfection, we would appreciate to have what you can provide us to pass it forward to whomever takes
    over this responsibility.


    This message may include text created with the help of natural language processing.



     --
     7      Book t ime to meet w ith me


      Ryan Wagner
      Vice President of IT
      Ohana Growth Part n ers, LLC

                                 office 410-2 52-8058 xl09
                                 212 W. Padonia Rd
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                                 Timonium, MD 21093
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                              212 W. Padonia Rd
      OH~NA
        Growt h Partners
                              Timonium, MD 21093

                              www.planetfitness.com


      "Culture eats strategy for breakfast"



    From: Glenn Norris <glenn@ohanagp.com>
    Sent: Wednesday, June 5, 2024 10:26 AM
    To: Ryan Wagner <Ryan.Wagner@ohanagp.com>; Justin Drummond <Justin.Drummond@ohanagp.com>
    Cc: Rich Hartman <Rich.Hartman@ohanagp.com>; Matt Norris <Matt.Norris@ohanagp.com>
    Subject: At a stand still since no ad min rights have been returned to BC/RB


    Ryan, as your Executive Group in OGP has individually and in total made demands to you to give full
    ad min rights back to BC/RB this request is not in line with our demands.

    You have received these email demands over the last 2-3 weeks from Glenn, Justin and Victor.

    You have not completed these demands.

    Please give the ad min rights back to Ryan Brooks/BC.

    The below requests by you to Ryan Brooks will not occur.

    Our number one priority is to have you do what we demanded.

    Your refusal to follow through with the demands are documented as insubordination.

    Without you doing what we ask, we are currently not making any of the below changes.

    Glenn




      Glenn Norris
      Chief Financial Officer
      Ohana Growth Partners, LLC

                              office 410-252- 8058 x108
      OH ~ MA
        Gro wth Pa rtn e rs
                              cell 410- 365-2591
                              212 W. Padonia Rd
                              Timonium, MD 21093
                              www.planetfitness.com

      "Culture eats strategy for breakfast"




                                                                  2


July I @ 838AM: Origional Reconsider Exhibits Trimmed - No laws, Cases, Publications   Page # 158 of I 85   Exhibit 101-8
               Case 1:24-cv-03744-BAH                       Document 16-2                Filed 01/03/25    Page 159 of 185



    Ryan Dillon-Capps

    From:                                    Ryan Wagner
    Sent                                     Wednesday, June 5, 2024 10:51 AM
    To:                                      Glenn Norris; Justin Drummond
    Cc:                                      Rich Hartman; Matt Norris; Stacey Wrttelsberger (ESQ; C. Victor Brick; Lynne Brick B.S.N.
                                             MA; Terry Woods (Planet Fitness); Earl Ihle
    Subject:                                 Re: At a stand still since no admin rights have been returned to BC/RB


    @Gj enn Norris

    As you may recall, GeoffVanMaasterichtfrom PFHQ and I both agree on the interpretation and application of PCI
    compliance regarding this issue. Previously, you attempted to coerce me into violating PCI compliance by labeling
    my refusal as insubordination and threatening to write me up if I did not comply with your demands. It's important
    to note that both accusations of insubordination and threats of write-ups are effectively viewed as coercive threats
    under the law.

    Unfortunately, I cannot comply with unlawful or unethical orders.

    Additionally, these coercive tactics have previously triggered severe panic attacks and other complications that
    negatively impact my PTSD, for which I am currently on FMLA leave. Such actions not only exacerbate my
    condition but also violate FMLA protections.

    During our meeting, you mentioned to Geoff, Justin, and myself that you would provide information about what
    tasks Ryan Brooks was assigned to work on. This information is crucial for adhering to the least privilege
    requirement under PCI DSS 4. I recommend we start with that, as Ryan Brooks has other unique disqualifications
    that we will also need to address.

    Knowing the specific tasks required may allow me to propose alternative solutions. If Ryan Brooks is the only
    person capable of performing these tasks, we will need to discuss options to address his other disqualifications as
    well.


    The email you responded to is what Ryan Brooks, or any
    developer, would prepare and provide when they are no
    longer supporting an application/website.

    This message may include text aeated with the help of natural language processing.
    ;..;...,
    ._:, Book t ime to meet with me

        Ryan Wagner
        Vice President of IT
        Ohana Growth Partners, LLC




                                                                             1


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 6/18/24, 2:15 PM                                                   MXT3 Mail - PCI Compliance - Ohana



                                                                                                         Ryan Wagner <ryan@mxt3.com>



   PCI Compliance - Ohana
   Ryan Wagner <ryan@mxt3.com>                                                                                 Mon, Jun 17, 2024 at 7:22 PM
   Reply-To: ryan@mxt3.com
   To: geoff.vanmaastricht@pfhq.com, stephan.dalgar@pfhq.com

     1) I am using this email because I am suspended illegally because it was based on a demand that I work during my
     FM LA-protected leave time they knew about in writing 2 hours before issuing a 6 hour demand letter. They received a
     cease and desist and, 30 minutes later, retaliated against another person in my department. That is all I can say, but
     ownership was aware the entire time, and I was shocked when that person's actions were later authorized, and I was
     being suspended illegal. As of right now, because I said I would notify them when I am off FMLA time --- I am still on
     FMLA leave time. However, I am suspended until the court says otherwise which I apologize for this delay and email.
     2) PCI Compliance - to my knowledge is still in place.

     My lead attorney has a family emergency, or the paperwork would have already been filed, and if this email were
     needed, it would be from my Ohana email.

     There is a much longer version of this that has many more reasons. Still, I would like to establish this without any
     questions because if there is a situation where I can't take action because the suspension is still in place, then notifying
     you will be the only step. I don't want that moment to be delayed because you didn't need to confirm anything.



     1. Do the iPads qualify as CDE or otherwise incur PCI Compliance requirements under DSS v4?

     Reference: Scope of PCI DSS Requirements

          • Source: PCI DSS v4.0, Page 9
          • Quote: "PCI DSS requirements apply to: The cardholder data environment (COE). which is comprised of: System
            components, people, and processes that store, process, or transmit cardholder data and/or sensitive
            authentication data."
          • Explanation: Since the iPads are used to input payment information, they are considered part of the Cardholder
            Data Environment (COE). Therefore, they must comply with PCI DSS requirements because they handle
            cardholder data.

     2. Are the iPads managed by lntune subject to PCI DSS requirements?

     Reference: Requirement 2: Apply Secure Configurations to All System Components

          • Source: PCI DSS v4.0. Page 44
          • Quote: "Ensure that all system components are securely configured and maintained. This includes applying
            vendor-provided security patches, securely configuring system components, and maintaining secure configurations
            overtime."
          • Explanation: lntune, as the management platform for the iPads, must ensure that all devices are securely
            configured and managed according to PCI DSS standards. This includes enforcing strong passwords, applying
            security patches, and maintaining secure configurations.

     3. Is lntune managed by EntralD subject to PCI DSS requirements?

      Reference: Requirement 8: Identify Users and Authenticate Access to System Components

          • Source: PCI DSS v4.0, Page 161
          • Quote: "Assign a unique identification (ID) to each person with access and authenticate all users to system
            components."
          • Explanation: EntralD (Azure AD) manages identity and access. including authentication for lntune and other
            systems in the COE. Therefore, it must comply with PCI DSS requirements to ensure robust authentication
            methods, such as multi-factor authentication, and maintain audit logs of access to cardholder data.



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  • 4. Does the Kiosk Webpage and the management portal used to control what URLs the kiosk
    displays at the club fall under PCI DSS?

     Reference: Requirement 6: Develop and Maintain Secure Systems and Software

          • Source: PCI DSS v4.0, Page 119
          • Quote: "Develop internal and external software applications (including web-based administrative access to
            applications) securely."
          • Explanation: The kiosk webpage and management portal are in scope if they can impact the security of
            cardholder data, directly or indirectly. These systems must comply with PCI DSS requirements, including secure
            coding practices, regular vulnerability assessments, and ensuring that the URL control mechanisms do not
            introduce security vulnerabilities.

     Summary:

          1. iPads: Part of the COE, requiring PCI DSS compliance.
          2. lntune: Must be configured and managed per PCI DSS since it controls devices in the COE.
          3. EntralD (Azure AD): Must enforce PCI DSS controls for authentication and access management.
          4. Kiosk Webpage and Management Portal: Must comply with PCI DSS if they impact cardholder data security.


     They want to grant access to people without giving any information. This is immediately a problem:


     Requirement 7: Restrict Access to System Components and Cardholder Data by Business Need to Know

          • Source: PCI DSS v4.0, Page 161
          • Quote: "Restrict access to system components and cardholder data to only those individuals whose job requires
            such access. This principle ensures that access rights are granted based on the least privilege necessary to
            perform job responsibilities."
          • Explanation: Access should be granted based on a clear understanding of the individual's role and responsibilities
            to ensure they only have access to the data and systems necessary for their job.

     Requirement 8: Identify Users and Authenticate Access to System Components

          • Source: PCI DSS v4.0, Page 167
          • Quote: "Assign a unique identification (ID) to each person with access and authenticate all users to system
            components."
          • Explanation: Each user must have a unique ID, and access should be authenticated to ensure that actions are
            traceable to specific individuals. This requirement helps in maintaining accountability and ensuring that access is
            appropriate and justified.

     Explanation:

     Granting access without understanding the tasks or purpose would violate the principle of least privilege, which aims to
     minimize unnecessary access to sensitive data and systems. It is essential to:

          • Determine the specific needs and responsibilities of the individual.
          • Ensure that access is appropriate for their role.
          • Regularly review and update access rights based on changes in job roles or responsibilities.


     They claim that th eir position as executives or owners gives them the ability to decide who has access and what access
     they get.



     Relevant Requirements and References:

     Requirement 7: Restrict Access to System Components and Cardholder Data by Business Need to Know

          • Source: PCI DSS v4.0, Page 161
          • Quote: "Restrict access to system components and cardholder data to only those individuals whose job requires
            such access. This principle ensures that access rights are granted based on the least privilege necessary to
            perform job responsibilities."

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          • Explanation: Access must be granted based on job responsibilities and business need. Granting global access
            without justification undermines this requirement.

     Requirement 8: Identify Users and Authenticate Access to System Components

          • Source: PCI DSS v4.0, Page 167
          • Quote: "Assign a unique identification (ID) to each person with access and authenticate all users to system
            components."
          • Explanation: Each user must be uniquely identified and authenticated, ensuring accountability and traceability of
            access.

     Requirement 12: Support Information Security with Organizational Policies and Programs

          • Source: PCI DSS v4.0, Page 290
          • Quote: "Develop, implement, and maintain a security policy that addresses information security for all personnel.
            This includes establishing, documenting, and distributing security policies and procedures that clearly define
            information security responsibilities for all personnel."
          • Explanation: Policies and procedures must be established and followed, which includes defining who is
            authorized to grant access and under what circumstances.

     Explanation:

     Even company owners or executives are required to adhere to PCI DSS requirements. They cannot arbitrarily grant global
     access without justification and without following the established security policies and procedures. Here are the key
     points:

          1. Need to Know and Least Privilege: Access should be granted based on the specific needs of the job role. Global
             access should be justified and limited to individuals who absolutely require it.

          2. Documented Procedures: PCI DSS requires that security policies and procedures be documented. This includes
             specifying who has the authority to grant access and the process for doing so.

          3. Auditability and Accountability: All access control actions should be logged and auditable. Granting access
             without proper documentation and justification can lead to non-compliance.

     Who is Authorized to Grant Access:

     PCI DSS does not specify particular job titles or roles that are authorized to grant access. Instead, it requires that each
     organization define this within their security policies. Typically, this responsibility would fall to individuals in IT security
     roles or designated compliance officers, but it must be clearly defined in the organization's security policy.

     Conclusion:

     Granting global access without following proper procedures and without proper justification would violate PCI DSS
     requirements. Even if ordered by a company owner or executive, such actions must comply with established policies and
     procedures designed to ensure the security of cardholder data and the integrity of the cardholder data environment
     (COE). Compliance with PCI DSS is mandatory, and failure to adhere can result in penalties, security breaches, and loss
     of trust.



     Please note that I have consistently provided multiple options to address the access issue, and they won't even tell me
     what the access is for. I even found justification to grant Justin Drummon access to an emergency break glass admin
     account. He was scheduled to meet with me last Monday to demonstrate his working knowledge, after which I planned to
     contact Geoff to establish the PCI compliance portal account, officially making Justin responsible for our PCI Compliance.
     Given that this access is intended for emergencies, the duty requirement would be mitigated. I proactively found a solution
     and approached him.

     Additionally, I have been collaborating with the Director of Services at Cielo and attempting to schedule time with Karen
     Cepress to arrange for three emergency keys. I would hold the fourth key, and the system/cloud manager was planned to
     hold the fifth. Adhering to best practices, these five accounts would be separate from those used for daily tasks.

     I am unfortunately in the position of ethically and legally challenged to navigate this process delicately, but to the best of
     my knowledge, I am acting as a good steward of Ohana by protecting them from potentially causing damage to
     themselves and, in turn, potentially causing damage to the brand. That is all I can say. Please let me know if you would
     like to discuss the merits above.
 https://mail.google .com/mail/u/0/?ik=d737ef6dfe&view=pt&search=all&permmsgid=msg-a:r7200535901283904611 &simpl=msg-a:r720053590128390 ...     3/4
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     Gratefully,
     RDC




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               Case 1:24-cv-03744-BAH                   Document 16-2              Filed 01/03/25             Page 164 of 185
 6/18/24, 2:07 PM                                                 MXT3 Mail - Legal Analysis Consultation




                                                                                                            Ryan Wagner <ryan@mxt3.com>



   Legal Analysis Consultation
   Andrew Dansicker <adansicker@dansickerlaw.com>                                       Tue, Jun 18, 2024 at 12:00 AM
   To : Andrew Dansicker <adansicker@dansickerlaw.com>, Ryan Dillon-Capps <ryan@mxt3.com>

     Ryan,

     I started reviewing your paperwork, and frankly, with the death in my family and a national conference next
     week, I just don't have the time and ability to focus on assisting you with such a complicated and time·
     consuming matter. The fact that you've been served with papers for a tro and injunction is not something
     that I can handle at this time.

     I refunded your fee, and I wish you the best of luck moving forward.

     Andrew

     Law Office of Andrew M. Dansicker, LLC
     11350 McCormick Road
     Executive Plaza II, Suite 705
     Hunt Valley, Maryland 21031
     (410) 771-5668
     (443) 927-7390 (fax)
     dansickerlaw.com

      *Focusing on Maryland Employment Law Issues*

     From: Andrew Dansicker <amdansicker@hotmail.com> on behalf of Andrew Dansicker
     <adansicker@dansickerlaw.com>
     Sent: Monday, June 17, 2024 9:47 AM
     To: Andrew Dansicker <adansicker@dansickerlaw.com>; Ryan Dillon-Capps <ryan@mxt3.com>
     Subject: Re: Legal Analysis Consultation

     [Quoted text hidden]




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               Case 1:24-cv-03744-BAH                    Document 16-2               Filed 01/03/25            Page 165 of 185
 6118/24, 2:17 PM                                     MXT3 Mail - Fwd: Ohana Growth Partners, LLC v Ryan Dillon-Capps




                                                                                                          Ryan Wagner <ryan@mxt3.com>



   Fwd: Ohana Growth Partners, LLC v Ryan Dillon-Capps
   5 messages

   Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                                          Mon, Jun 17, 2024 at 10:28 PM
   To: "ryan@mxt3.com" <ryan@mxt3.com>


     Sent from my iPhone

     Begin forwarded message:


             From: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>
             Date: June 17, 2024 at 09:13:28 EDT
             To: Ryan.DillonCapps@ohanagp.com
             Subject: Re: Ohana Growth Partners, LLC v Ryan Dillon-Capps


              We have been advised by Judge DeSimone's Chambers that the Court will hear Ohana's Motion for a
             Temporary Restraining Order this morning as soon as possible after I arrive at the courthouse , which ought
             to be in about 35 minutes. If you have retained a lawyer to represent you in this matter you should have
             your lawyer contact Chambers to arrange to participate. If not you can contact Chambers and arrange to
             appear on your own behalf.

             Sent from my iPhone


                     On Jun 14, 2024, at 11:49, Brennen, Robert S. <RBRENNEN@milesstockbridge.com> wrote:




                     We have been retained by Ohana Growth Partners, LLC to represent it in connection with
                     your ongoing breaches of your contract with and duty of loyalty to the Company and your
                     continuing violation of M .. CODE ANN., CRIM. LA: ., §7-302(c) through your refusal to provide
                     Global Admin rights to Phil Leodore of Hartman Executive Advisors. Your continued refusal to
                     comply with Ohana's demands, and your action to lock VP of Human Resources Richard
                     Hartman out of the Company's MS 365 account has left the Company with no option but to
                     seek assistance of the courts.



                     Attached are copies of a Complaint that will be filed on Ohana's behalf against you in the
                     Circuit Court for Baltimore County. Also attached is a Motion for Entry of a Temporary
                     Restraining Order and Preliminary Injunction, Memorandum of Law in support of the motion
                     with exhibits, and a proposed Order that will be filed along with the Complaint. Our
                     transmitting these documents does not currently constitute service of process triggering your
                     duty to file a response to the Complaint, but it does place you on notice of the Motion for a
                     TRO.



                     Immediately after the documents are filed we will transmit courtesy copies of the filings to the
                     Hon. Michael J. Finifter, who is serving as today's Chambers Judge for the Court, and request
                     that we be given an opportunity to heard on the Motion for a TRO as soon as possible this
                     afternoon . I will advise you as to whether the Court sets an in-person or telephonic hearing on
                     the motion. If you are represented by an attorney, you should have your attorney contact me
                     as soon as possible.



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 6/18/24, 2:17 PM                                             MXT3 Mail - Fwd: Ohana Growth Partners, LLC v Ryan Dillon-Capps

                       Ohana will consider withdrawing the Motion for TRO provided that (1) you immediately
                       provide Global Admin rights to Phil Leodore of Hartman Executive Advisors,; (2) we receive
                       confirmation from Mr. Leodore that he has received and can exercise those rights ; and (3) you
                       confirm in writing that you will comply with the suspension letter sent to you yesterday by
                       Richard Hartman. Time is of the essence. Ohana is also open to a negotiated resolution to the
                       entire matter and any claims that you believe you may have, but will not entertain any
                       discussions until the issue of Global Admin rights is resolved. I am available by telephone to
                       discuss the matter with you and/or your attorney should you wish to do so.



                       Regards,




                       Robert Brennen
                       Pr,ndpal




                        100 Light Street I Baltimore. MD 21202


                       D: +1410.385.3653 I 0: +1410.727.6464 I F: +1 410.698.1352




                       W           MILES &
                       ~,'~        STOCKBRIDGE

                        bio I vCard I rbrennen@m ilesstockbridge.com




                       (m CJ
                       D

                     <Civil - Case Information Report1 .pdf>
                     <2024-06-14 Complaint Ohana v Dillon-Capps.pdf>
                     <2024-06-14 TRO Pl Cover Motion.pdf>
                     <2024-06-14 MOL in support ofTRO.pdf>
                     <Exhibit 1 to MOL - Hartman Affidavit.pdf>
                     <Exhibit 2 to MOL - Justin_Drummond Affidavit.pdf>
                     <Exhibit 3 to MOL.pdf>
                     <2024-06-14 Proposed TRO.pdf>
               <image001 .png>
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               <image003.jpg>
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      Confidentiality Notice:
      This e-mail, including any attachment(s), is intended for receipt and use by the intended addressee(s), and may contain confidential and privileged
      information. If you are not an intended recipient of this e-mail, you are hereby notified that any unauthorized use or distribution of this e-mail is strictly
      prohibited, and requested to delete this comm unication and its attachment(s) without making any copi es thereof and to contact the sender of this e-mail
      immediately. Nothing contained in the body and/or header of this e-mail is intended as a signature or intended to bind the addresser or any person
      represented by the addresser to the terms of any agreement that may be t he subject of this e-mail or its attachment(s), except where such intent is

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                 Case 1:24-cv-03744-BAH                          Document 16-2                 Filed 01/03/25               Page 167 of 185
 6118/24, 2:17 PM                                             MXT3 Mail - Fwd: Ohana Growth Partners, LLC v Ryan Dillon-Capps

  •    expressly indicated.

       Any federal tax advice provided in this communication is not intended or written by the author to be used, and cannot be used by the recipient, for the
       purpose of avoiding penalties which may be imposed on the recipient by the IRS. Please contact the author if you would like to receive written advice in a
       format which complies with IRS rules and may be relied upon to avoid penalties.




       Secure Upload/Download files click here.




      Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                                                    Mon, Jun 17, 2024 at 10:29 PM
      To: "ryan@mxt3.com" <ryan@mxt3.com>


       Sent from my iPhone

       Begin forwarded message:


                From: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>
                Date: June 17, 2024 at 10:07:28 EDT
                To: Ryan. DillonCapps@ohanagp.com
                Subject: Re: Ohana Growth Partners, LLC v Ryan Dillon-Capps


                I am in the Courtroom and about to be heard on the motion
                Sent from my iPhone


                         On Jun 17, 2024, at 09:1 3, Brennen, Robert S.<RBRENNEN@milesstockbridge.com> wrote:


                         We have been advised by Judge DeSimone's Chambers that the Court will hear Ohana's
                         Motion for a Temporary Restraining Order this morning as soon as possible after I arrive at the
                         courthouse, which ought to be in about 35 minutes. If you have retained a lawyer to represent
                         you in this matter you should have your lawyer contact Chambers to arrange to participate. If
                         not you can contact Chambers and arrange to appear on your own behalf.

                         Sent from my iPhone


                                  On Jun 14, 2024, at 11:49, Brennen, Robert S.
                                  <RBRENNEN@milesstockbridge.com> wrote:




                                  We have been retained by Ohana Growth Partners, LLC to represent it in
                                  connection with your ongoing breaches of your contract with and duty of loyalty
                                  to the Company and your continuing violation of M.. CODE ANN. , CRIM. LA .,
                                  §7-302(c) through your refusal to provide Global Admin rights to Phil Leodore of
                                  Hartman Executive Advisors. Your continued refusal to comply with Ohana's
                                  demands, and your action to lock VP of Human Resources Richard Hartman out
                                  of the Company's MS 365 account has left the Company with no option but to
                                  seek assistance of the courts.



                                  Attached are copies of a Complaint that will be filed on Ohana's behalf against
                                  you in the Circuit Court for Baltimore County. Also attached is a Motion for Entry
                                  of a Temporary Restraining Order and Preliminary Injunction, Memorandum of
                                  Law in support of the motion with exhibits, and a proposed Order that will be
                                  filed along with the Complaint. Our transmitting these documents does not

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               Case 1:24-cv-03744-BAH                     Document 16-2                   Filed 01/03/25     Page 168 of 185
 6118/24, 2:17 PM                                      MXT3 Mail - Fwd: Chana Growth Partners, LLC v Ryan Dillon-Capps
                           currently constitute service of process triggering your duty to file a response to
                           the Complaint, but it does place you on notice of the Motion for a TRO.



                            Immediately after the documents are filed we will transmit courtesy copies of the
                            filings to the Hon. Michael J. Finifter, who is serving as today's Chambers Judge
                            for the Court, and request that we be given an opportunity to heard on the
                            Motion for a TRO as soon as possible this afternoon. I will advise you as to
                            whether the Court sets an in-person or telephonic hearing on the motion. If you
                            are represented by an attorney, you should have your attorney contact me as
                            soon as possible.



                            Ohana will consider withdrawing the Motion for TRO provided that (1) you
                            immediately provide Global Admin rights to Phil Leodore of Hartman Executive
                            Advisors,; (2) we receive confirmation from Mr. Leadore that he has received
                            and can exercise those rights; and (3) you confirm in writing that you will comply
                            with the suspension letter sent to you yesterday by Richard Hartman. Time is of
                            the essence. Ohana is also open to a negotiated resolution to the entire matter
                            and any claims that you believe you may have, but will not entertain any
                            discussions until the issue of Global Admin rights is resolved. I am available by
                            telephone to discuss the matter with you and/or your attorney should you wish
                            to do so.



                            Regards,




                            Robert Brennen
                            Pnncrpol




                            100 Light Street I Baltimore. MD 21202


                            D: +1410.385.3653 I 0: +1 410. 727.6464 I F: +1410.698.1352




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                          <2024-06-14 Complaint Ohana v Dillon-Capps.pdf>
                          <2024-06-14 TRO Pl Cover Motion .pdf>
                          <2024-06-14 MOL in support of TRO.pdf>
                          <Exhibit 1 to MOL - Hartman Affidavit.pdf>
                          <Exhibit 2 to MOL - Justin_Drummond Affidavit.pdf>
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July I @ 838AM: Origional Reconsider Exhibits Trimmed - No laws, Cases, Publications                 Page # 168 of 185         Exhibit IO 1-8
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   Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                                        Mon, Jun 17, 2024 at 10:29 PM
   To: "ryan@mxt3.com" <ryan@mxt3.com>


      Sent from my iPhone

      Begin forwarded message:


              From: "Brennen , Robert S." <RBRENN EN@milesstockbridge.com>
              Date: June 17, 2024 at 11:50:47 EDT
              To: Ryan.DillonCapps@ohanagp.com
              Subject: RE: Chana Growth Partners, LLC v Ryan Dillon-Capps




              The Circuit Court for Baltimore County has granted Ghana's Motion and entered the attached
              Temporary Restraining Order. Your failure to comply with the Order may subject you civil fines
              and civil contempt, as well as prosecution for criminal contempt. We trust that you will avoid
              those consequences by complying with the Order.




                 Robert Brennen I Principal



                 Miles & Stockbridge


                 direct: +1 (410) 385-3653

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   Brennen, Robert S. <RBRENNEN@milesstockbridge.com>                                                        Mon, Jun 17, 2024 at 10:28 PM
   To: "ryan@mxt3.com" <ryan@mxt3.com>


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      Begin forwarded message:




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             From: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>
             Date: June 14, 2024 at 11:49:15 EDT
             To: Ryan.DillonCapps@ohanagp.com
             Subject: Ohana Growth Partners, LLC v Ryan Dillon-Capps




             We have been retained by Ohana Growth Partners, LLC to represent it in connection with your ongoing
             breaches of your contract with and duty of loyalty to the Company and your continuing violation of M..
             CooE ANN., CRIM. LA- ., §7-302(c) through your refusal to provide Global Admin rights to Phil Leodore of
             Hartman Executive Advisors. Your continued refusal to comply with Ohana's demands, and your action to
             lock VP of Human Resources Richard Hartman out of the Company's MS 365 account has left the
             Company with no option but to seek assistance of the courts.



             Attached are copies of a Complaint that will be filed on Ohana's behalf against you in the Circuit Court for
             Baltimore County. Also attached is a Motion for Entry of a Temporary Restraining Order and Preliminary
             Injunction. Memorandum of Law in support of the motion with exhibits, and a proposed Order that will be
             filed along with the Complaint. Our transmitting these documents does not currently constitute service of
             process triggering your duty to file a response to the Complaint, but it does place you on notice of the
             Motion for a TRO.



             Immediately after the documents are filed we will transmit courtesy copies of the filings to the Hon. Michael
             J. Finifter, who is serving as today's Chambers Judge for the Court, and request that we be given an
             opportunity to heard on the Motion for a TRO as soon as possible this afternoon. I will advise you as to
             whether the Court sets an in-person or telephonic hearing on the motion. If you are represented by an
             attorney, you should have your attorney contact me as soon as possible.



             Ohana will consider withdrawing the Motion for TRO provided that (1) you immediately provide Global
             Admin rights to Phil Leodore of Hartman Executive Advisors,; (2) we receive confirmation from Mr. Leodore
             that he has received and can exercise those rights; and (3) you confirm in writing that you will comply with
             the suspension letter sent to you yesterday by Richard Hartman. Time is of the essence. Ohana is also
             open to a negotiated resolution to the entire matter and any claims that you believe you may have, but will
             not entertain any discussions until the issue of Global Admin rights is resolved. I am available by telephone
             to discuss the matter with you and/or your attorney should you wish to do so.



             Regards,




             Robert Brennen
             Pnnc,pnl




             100 Light Street I Baltimore. MD 21202


             D: +1410.385.3653 I 0: +1 410.727.6464 IF: +1 410.698.1352




             bio I vCard I rbrennen@milesstockbridge.com




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   Ryan Wagner <ryan@mxt3.com>                                                                               Mon. Jun 17. 2024 at 11 :OS PM
   Reply-To: rya n@mxt3.com
   To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>

     I don't know why they told you to use that email address. except to say they knew I would not get the email.
      Please do not continue to email ohanagp.com but direct your communications in writing to ryan@mxt3.com. You may
     also text 703-303-111 3.
     I believe your colleague Holly Butler has my contact information from our interactions earlier this year.

     When has the full court hearing been scheduled?

     A family emergency, not mine, has delayed our side. Thank you for providing the email.

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                                                                                                          Ryan Wagner <ryan@mxt3.com>



   Ohana Growth Partners LLC
   1 message

   Ryan Wagner <ryan@mxt3.com>                                                                                Mon, Jun 17, 2024 at 6:40 PM
   Reply-To: ryan@mxt3.com
   To: pleadore@hartmanadvisors.com


     Mr. Leadore,

     This is Ryan Dillon-Capps. I am reaching out from my personal email as I am currently unable to use my Ohanagp email.
     It has come to my attention that you may still be interested in working with Ohana Growth Partners. However, I have not
     received responses to my previous emails requesting assistance and information to facilitate your access and alignment
     with PCI Compliance. Ohana asserts that you are ready to be granted access, which I am authorized to provide. Please
     confirm your current status and interest in this relationship.

     To help you make an informed decision, I want to clarify my situation. I am currently suspended, and during my tenure, I
     have always acted in the company's best interest within the bounds of legality. My intent was to verify your qualifications
     due to recent questions and investigations. Although these investigations have closed, the findings were contradictory to
     the initial evidence. This caution is necessary to ensure your access does not pose any risk.

     Your introduction suggested you were qualified for a PCI DSS v4 assessment. While I hold no bias against you or your
     company, this assertion required verification. Had you introduced yourself simply as Phil Leadore from Hartman Executive
     Advisors wanting to review XYZ, I would have granted access for review purposes. Any request that did not raise flags
     about qualifications would have been fulfilled within my legal capacity.

     Previously, I denied Justin Drummond's request for Global Admin access due to difficult circumstances at the time.
     However, I later offered a solution, contingent on his understanding of the PCI DSS v4 standards and acceptance of
     responsibility for our PCI compliance. I have told everyone involved that agreement with me is not necessary, but they
     must be prepared to justify their decisions in alignment with PCI DSS v4 standards if questioned. Justin would have had
     access if he had been ready to confirm his knowledge last Monday as planned.

     On Thursday, I reached out to you due to an incident that occurred without the knowledge of ownership or Justin. It was
     shocking when the actions of the person I reported were later legitimized.

     If not for my attorney's family emergency, our paperwork would already be filed , and we would be having this conversation
     from my regular work email. My experience has shown that transparency often leads to the realignment of positions, and I
     believe you are legally and ethically inclined to do the same. This is why I reached out to you on Thursday, well before my
     suspension occurred.

     How familiar are you with PCI DSS v4? Please review it here. Once you are confident in your understanding, let's discuss
     this further. I need you to be knowledgeable and responsible for our PCI Compliance, which would justify granting you
     access to an emergency Global Administrator account. This will also establish you as Authorized Personnel, authorized to
     grant access and make access level decisions as I am, binding you to your decisions.

     Please confirm you are still interested and can meet with me for a recorded meeting or via written communication. This is
     to ensure both of us remain protected by what we say, discuss, and provide a legal basis for my decision to grant you
     access. I will need to ask you several questions to understand your overall knowledge of key concepts and common
     issues that could arise. This isn't a repeat of my decisions; you need to articulate your own thoughts and decisions.
     Demonstrate your ability to make decisions based on PCI Compliance using critical reasoning, showing your working
     knowledge. We can establish responsibility for our PCI compliance quickly - hopefully the same day. I will th en provide
     you with instructions on how to obtain your access key and related materials that allow you to access the Global
     Administrator account.

     The first question will be to explain authorized and unauthorized access, followed by one or more questions to assess
     your working knowledge. If you can answer these questions, you will also understand why no one can tell you to do
     something outside of their authority in other areas, and this includes those who you may have another contract or
     obligation with. You would have to consult someone to know if any thing you are bound to would conflict with this duty
     which would place PCI Compliance at risk. I will ask you to affirm you do not know or have reason to believe. Reminder,


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  •   this is PCI compliance for ALL of planet fitness. Not limited to Ghana and damage or impact is not the factor for PCI
      Compliance failure. Those mostly impact civil lawsuits that result from it.

      Best regards,

      Ryan Dillon-Capps




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              OHANA GROWTH PARTNERS. LLC                            IN THE

                                       PLANTIFF                     CIRCUIT COURT

                                                                    FOR

                                                                    BALTIMORE COUNTY
              RYAN DILLON-CAPPS

                                       DEFENDANT                    FILE NO: C-03-CV-24-002264

                           AFFIDAVIT OF CAROLINE DILLON-CAPPS
                1. Professional Background:
                     A. I am the wife of Ryan Dillon-Capps and a licensed Clinical Social Worker in
                        the state of Maryland, holding license number 23862, LCSW-C.
                     B. I received my LMSW in May 2018 and my LCSW-C in July 2023.
                     C. Ryan and I have known each other since 2021.
                2. Observations of Decline in Mental Health:
                     A. Since the end of December 2023, I have closely observed a significant
                        decline in Ryan's mental health condition. He has been diagnosed with
                        Post-Traumatic Stress Disorder (PTSD) and has experienced numerous
                        panic attacks, ranging from a few minutes to several hours. These panic
                        attacks are frequently accompanied by:
                             i. Dissociative Behaviors: Ryan experiences flashbacks, distressing
                                dreams (including talking in his sleep), recurring intrusive
                                memories, time loops, and episodes of losing track of time.
                            ii. Hyperventilation: During panic attacks, Ryan often
                                hyperventilates, struggling to regain normal breathing patterns.
                           iii. Catatonia: Since May 2024, I have witnessed Ryan go catatonic
                                multiple times, becoming unresponsive for varying periods.
                           iv. Memory Issues: Ryan frequently struggles with memory lapses
                                and confusion, often unable to recall recent events or information.
                                For instance, Ryan has been driving less, and on one occasion,
                                after we had lunch, Ryan could not remember where he parked.
                                     We had arrived in separate vehicles and parked separately, so I
                                    drove Ryan around to help him locate his car, which was found in
                                    an adjacent parking lot.
                                v. Emotional Dysregulation: Ryan exhibits extreme emotional
                                    dysregulation. He can be happy and optimistic one moment and
                                    then show signs of depression the next. Conversely, he may
                                    express excitement and optimism immediately after receiving
                                    adverse information.
                                vi. Agoraphobia: Since April 2024, I have observed Ryan's
                                    agoraphobia symptoms, where he feels uncomfortable and anxious




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                                 being away from home. After our wedding, we planned a few days
                                 away but had to return early because Ryan was extremely
                                 uncomfortable being away from home.
                3. Escalation of Symptoms:
                     A. Since May 21, 2024, Ryan's symptoms have progressively worsened.
                         Between May 21 and June 13, 2024, a series of events significantly
                         heightened my concern for his well-being. We had multiple conversations
                         about the possibility of hospitalization if his condition continued to
                         deteriorate.
                     B. Since June 13, 2024, Ryan's PTSD symptoms have become significantly
                         more severe, with longer durations and increased frequency. He has been
                         unable to complete basic tasks and has required my assistance to meet
                         his basic needs.
                     C. On June 17, 2024, I found Ryan hiding under a table in a dissociated
                        state, repeatedly saying that they were safe under there and expressing
                         confusion about whether this was real or a dream, and if I was a ghost.
                         During this event, Ryan kept asking me the same questions, and then
                         would ask why I kept saying the same thing.
                4. Courtroom Observations:
                     A. On June 26 and 27, 2024, I attended a hearing at the Baltimore Circuit
                         Court, Courtroom 8, where I observed Ryan Dillon-Capps.
                              i. I entered the courtroom around 9:15-9:20 AM while the court was
                                 in session. Upon entering, I noticed Ryan's table was cluttered with
                                 disorganized papers.
                             ii. While Ryan was speaking in court, he exhibited pressured speech
                                 and struggled to answer questions appropriately. He had trouble
                                 recalling information, which impacted his ability to respond
                                 accurately.
                            iii. On the night of June 26th, Ryan's account of looking for the key
                                 fob was portrayed as casually looking through his office. The
                                 search began by Ryan in his office and me downstairs to search the
                                 finished areas of the basement. When I came back upstairs, he had
                                 pulled bins and drawers and appeared to be going through them
                                 item by item. I joined Ryan, and we then had to go through
                                 everything again as he put things away item by item. Ryan
                                 mentioned that he went through the unfinished portion of the
                                 basement but forgot to mention how we went through the entire
                                 contents of the living room, dining room, upstairs guest bedroom,
                                 our bedroom, and our bathroom before I went to bed. When I
                                 woke up in the morning, the office was in disarray suggesting that
                                 he had gone through it again and had spent the entire night
                                 continuing to search the house.
                            iv. Ryan also mentioned that he contacted a lawyer from another state
                                 but failed to recall that he had also asked me to contact attorneys




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                                      with a letter and a list of conflicts he wrote. He also told me about
                                 a scheduled meeting to speak with an attorney on June 24, 2024,
                                 and has told me about other instances where he contacted other
                                 attorneys in the weeks prior to June 13, including three other
                                 attorneys that Ryan told me he had started talking with before they
                                 found a conflict of interest. These are further examples of his
                                 memory issues.
                5. Personal Impact:
                      A. Rescheduling Client Appointments: Since June 13, 2024, I have had
                         to reschedule client appointments on multiple days in order to help Ryan
                         systematically.
                      B. Birthday Incident: On a personal note, my birthday is January 4, 1987.
                         On January 2, 2024, my mother arrived in Baltimore to visit us for my
                         birthday and to assist with our wedding planning, as our wedding was
                         scheduled for April 4, 2024. Unfortunately, Ryan was unable to participate
                         in birthday celebrations on January 4, 2024, due to experiencing
                         numerous panic attacks. His concern about my mother witnessing these
                         episodes added to his distress, leaving me torn between attending to my
                         mother and caring for Ryan.
                      C. Wedding Planning: During the wedding planning process, we
                         envisioned certain elements that were ultimately unattainable due to
                         ongoing harassment from Ohana Growth Partners, LLC. This harassment
                         severely hindered Ryan's ability to engage in the planning process, which
                         he had been looking forward to.




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            DATE: JULY 29, 2024




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                                                                               Caroline Dillon-Capps




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            Gilbert Employ ment Law
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            Shawe Rosenthal LLP
            One South Street
            Suite I XOO
            Bal ti more, MD 2 1202
            Phone: 4 10-752- I 040
             Fax : 410- 752- XX6 I
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            The Spencer Firm
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                                                                              Microsoft 365 admin center help

                                                                              Assign admin roles the Microsoft 365 adm in
                                                                              center - Microsoft 365 admin
                                                                              Add users and grant permissions - Microsoft
                                                                              lntune
                                                                              Administrative units in Microsoft Entra ID -
                                                                              Microsoft Entra ID
                                                                              Add users to an environment automaticall y or
                                                                              manually - Power Platform




       https://learn.microsoft.com/en-us/microsoft-365/admin/add-users/about-adminroles?view=o365-worldwide                                        1/1
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               , I
                                                                  RYAN WAGNER
             .- · ~
                                                   VICE PRESIDENT OF lNFORMATION TECHNOLOGY
          planet                                           COMPENSATION A DDEN D UM
           fitness                                                              7/6/2022




                     Base Salary:                         $ 124, 120.00 / per year


                     Monthly Bonus:                       Up to S 1,000.00 / per month if monthly financial and operational goals
                                                          arc mel. (/'Ian and dollar amo11111s s11hjeu l<J change ol all}" lime)


                     Annual Bonus:                        Up to $6.000.00, based on meeting KPI ·s and operational go:ils
                                                          of the company. The amount is at the discretion of the company.


                     Phone/Internet
                     Reimbu rsement:                      Up to S 150.00 / per month


                     Benefits:
                                             •            Company benefits as described in the associate handbook.
                                             •            Health club membership.
                                             •            Participatory 40 I K plan based on plan requirements.
                                             •            Conventions and professional education-on agreed upon basis.
                                             •            Approved business expense reimbursements for club promotion.


                 Start Date:                 Your first day of this agreement is 7/6/2022


                 AGREED UPON BY:


                           Ryan Wagner
                            Associate: Print Name                                            Date

                           ft~te~ffi.1of!:i,oo
                            Associate: Signature
                                                   EDT)                                      Jul20,2022
                                                                                             Date

                                                                                             Jul20,2022
                            Supervisor Signature                                             Date




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              Case 1:24-cv-03744-BAH                          Document 16-2     Filed 01/03/25      Page 184 of 185


                                                                                 RYAN WAGNER

        OH~NA
            Growth Partners
                                                                  VICE PRESIDENT OF INFORMATION TECHNOLOGY
                                                                             COMPENSATION ADDENDUM
                                                                                       7/6/2023




             Base Pay:                     $ I 36,532 / Year ($5,688.83 / Pay Period)


             Monthly Bonus:                Up to $I , I 00.00 / Month paid as a percentage based on KP! score.
                                           (Plan and dollar amounts subject 10 change al any lime)


            Annual Bonus:                  Up to $12,000 based on meeting KPI 's and operational goals of the company. The
                                           amount is at the discretion of the company.

             Phone / Internet
             Reimbursement:                Up to $150.00 / Month. Reimbursement request must be made via reimbursement
                                           portal with receipt.


            Benefits:
                                           •           Company benefits as described in the associate handbook.
                                           •           Health club membership.
                                           •           Participatory 40 I K plan based on plan requirements.
                                           •           Conventions and professional education-on agreed upon basis.
                                           •           Approved business expense reimbursements.



            Start Date:                    Your first day of this agreement is 7/6/2023.




            AGREED UPON BY:


                           Ryan Wagner                                                     Jul26,2023
                            Associate: Print Name                                          Date

                                                                                           Jul26,2023
                           Associate: Signature                                            Date
                            GteMM Notti£
                          Glenn Norris (Jul 26, 2023 17:50 EDT)
                                                                                           Jul26,2023
                            Supervisor                                                     Date




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                Case 1:24-cv-03744-BAH                  Document 16-2          Filed 01/03/25    Page 185 of 185



       000 Wagner, Ryan VP of IT 7-6-2023 - Comp
       Addendum
       Final Audit Report                                                                 2023-07-26

          Created:               2023-07-25

          By:                    Richard Hartman (Rich.hartman@ohanagp.com)

          Status:                Signed

          Transaction ID:        CBJCHBCAABAAoQsmQSjiMODsYLVv1 FuspNECAs6hlqeO




       "000 Wagner, Ryan VP of IT 7-6-2023 - Comp Addendum" Histo
       ry
       ~ Document created by Richard Hartman (Rich.hartman@ohanagp.com)
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       O'o Signer glenn@ohanagp.com entered name at signing as Glenn Norris
           2023-07-26 - 9:50:37 PM GMT


       O'o Document e-signed by Glenn Norris (glenn@ohanagp.com)
           Signature Date: 2023-07-26- 9:50:39 PM GMT - Time Source: server


       ~► Document emailed to ryan.wagner@ohanagp.com for signature
           2023-07-26 - 9:50:40 PM GMT


       ~ Email viewed by ryan.wagner@ohanagp.com
           2023-07-26 - 10:01 :32 PM GMT


       O'o, Signer ryan.wagner@ohanagp.com entered name at signing as Ryan Wagner
           2023-07-26- 10:02:19 PM GMT


       O'o Document e-signed by Ryan Wagner (ryan.wagner@ohanagp.com)
           Signature Date: 2023-07-26 - 10:02:21 PM GMT - nme Source: server


       ~ Agreement completed.
           2023-07-26-10:02:21 PM GMT




     II Adobe Acrobat Sign
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